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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
                                    www.flsb.uscourts.gov


IN RE:                                                             Chapter 11 Case

VITAL PHARMACEUTICALS, INC., et al.,1                              Case No.: 22-17842-PDR

      Debtors.                                                     (Jointly Administered)
_______________________________________/

       DEBTORS’ ELEVENTH OMNIBUS MOTION FOR ENTRY OF AN ORDER
          AUTHORIZING THE REJECTION OF CERTAIN EXECUTORY
                   CONTRACTS AND UNEXPIRED LEASES

                PARTIES RECEIVING THIS MOTION SHOULD LOCATE
                THEIR RESPECTIVE NAMES AND CONTRACTS ON THE
                LIST OF REJECTED AGREEMENTS IN THE EXHIBITS TO
                THE PROPOSED ORDER ATTACHED HERETO.

         Vital Pharmaceuticals, Inc., Bang Energy Canada, Inc., JHO Intellectual Property

Holdings, LLC, JHO Real Estate Investment, LLC, Quash Seltzer, LLC, Rainbow Unicorn Bev

LLC and Vital Pharmaceuticals International Sales, Inc. (collectively, the “Debtors”), by and

through their undersigned counsel, file this motion (this “Motion”), seeking an order in

substantially the form attached hereto as Exhibit “A” (i) authorizing the Debtors to reject certain

executory contracts and unexpired leases with rejection of such executory contracts and unexpired

leases to be effective as of July 31, 2023 (the “Rejection Date”). In support of this Motion, the

Debtors respectfully represent as follows:




1
 The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’
federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc.
(5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC
(9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital
Pharmaceuticals International Sales, Inc. (8019).
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                                       I.      Jurisdiction

       1.       This Court has jurisdiction over these cases pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is proper in this District

pursuant to 28 U.S.C. § 1408. The statutory predicates for the relief sought herein are 11 U.S.C.

§ 365(a) and Bankruptcy Rule 6006.

                                       II.     Background

       2.       On October 10, 2022 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under Chapter 11 of the Bankruptcy Code.

       3.       The Debtors are operating their businesses and managing their affairs as debtors

in possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

       4.       For a detailed description of the Debtors and their operations, the Debtors

respectfully refer the Court and parties in interest to the Declaration of John C. DiDonato in

Support of Chapter 11 Petitions and First Day Pleadings [ECF No. 12] (the “First Day

Declaration”)

       5.       On October 11, 2022, the Court entered an order jointly administering the Debtors’

chapter 11 cases [ECF No. 43].

       6.       On November 1, 2022, the Office of the United States Trustee appointed an Official

Committee of Unsecured Creditors (the “Committee”) in these chapter 11 cases [ECF No. 245].

       7.       On January 27, 2023, filed their Motion for An Order (I) Approving (A) Bidding

Procedures for the Sale of Substantially all of the Debtors' Assets, (B) Procedures for the Debtors'

Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, (C) the Form

and Manner of Notice of the Sale Hearing, Assumption Procedures, and Auction Results, (D) Dates

for an Auction and Sale Hearing, (E) the Sale of Substantially all off the Debtors' Assets Free and

Clear of all Claims, Liens, Liabilities, Rights, Interests and Encumbrances, and (F) the Debtors'
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Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, (II)

Authorizing The Debtors to Provide Bid Protections, and (III) Granting Related Relief Filed by

Debtor Vital Pharmaceuticals, Inc. [ECF No. 707] (the “Sale Motion”).

           8.       On June 28, 2023, the Debtors filed a Notice of Auction Cancellation and Successful

Bidder [ECF No. 1546], announcing that the Debtors entered into an Asset Purchase Agreement

(“APA”) by and between certain of the Debtors and Blast Asset Acquisition, LLC, an acquisition

vehicle that is a subsidiary of Monster Beverage Corporation (the “Buyer”) and scheduled a

hearing to approve the APA on July 12, 2023 (the “Sale Hearing”).2

           9.       On July 12, 2023, the Court conducted the Sale Hearing and approved the APA,

which was memorialized by the entry of the Order (I) Authorizing and Approving (A) the Sale of

Substantially All of The Debtors’ Assets Free and Clear of All Liens, Claims, And Encumbrances

And (B) The Assumption And Assignment Of Certain Executory Contracts and Unexpired Leases

in Connection Therewith, And (II) Granting Related Relief [ECF No. 1654].3

           10.      The transaction contemplated by the APA closed on July 31, 2023.4

           11.      As permitted by the APA and the Sale Order, the Buyer delivered notice to the

Debtors that it will not acquire, via assumption and assignment, in connection with the APA, the

Rejected Agreements (as defined below).

                               III.       Relief Requested and Basis Therefor

           12.      The Debtors seek to reject the executory contracts set forth on Exhibit “B” to this

Motion (the “Rejected Contracts”) and the unexpired leases set forth on Exhibit “C” to this


2
 On June 30, 2023, the Debtors filed the Amended Notice of Auction Cancellation and Successful Bidder [ECF No.
1556] to disclose the date and time of the Sale Hearing.
3
 The Court subsequently entered the Amended Order (I) Authorizing and Approving (A) the Sale of Substantially All
of The Debtors’ Assets Free and Clear of All Liens, Claims, And Encumbrances And (B) The Assumption And
Assignment Of Certain Executory Contracts and Unexpired Leases in Connection Therewith, And (II) Granting
Related Relief [ECF No. 1658], which amended Exhibit B thereto.
4
    See Notice Sale Closing [ECF No. 1750] filed on July 31, 2023.
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Motion (the “Rejected Leases” and together with the Rejected Contracts, the “Rejected

Agreements”) as of the Rejection Date. As noted above, the Buyer notified the Debtors that it

does not intend to acquire the Rejected Agreements in connection with the APA. Because all of

the Debtors’ ongoing business operations have been sold to the Buyer in connection with the APA,

the Debtors have no need for the Rejected Agreements. The Rejected Contracts generally include

vendor, supplier, service, and employment contracts. The Debtors have stopped performing on

those contracts and have stopped accepting performance from the applicable counterparty to those

contracts.

       13.     With respect to the Rejected Leases, the Debtors no longer need the applicable

leased premises as the Debtors have sold their ongoing business operations to the Buyer.

       14.     Accordingly, the Debtors believe that the Rejected Agreements should be rejected,

effective as of the Rejection Date, in order to avoid potentially incurring additional expenses

related to agreements and leases that provide no material benefit to the Debtors and their estates.

       15.     Section 365(a) of the Bankruptcy Code allows a debtor, subject to approval of the

bankruptcy court, to assume or reject any unexpired lease or executory contract. See Stewart Title

Guar. Co. v. Old Republic Nat’l Title Ins. Co., 83 F.3d 735, 741 (5th Cir. 1996); In re TOUSA,

Inc., 14-12067, 2015 WL 1346098, at *5 n. 3 (11th Cir. Mar. 26, 2015) (in dicta). “‘This provision

allows a [debtor] to relieve the bankruptcy estate of burdensome agreements which have not been

completely performed.’” Stewart Title, 83 F.3d at 741 (quoting In re Murexco Petrol., Inc., 15

F.3d 60, 62 (5th Cir. 1994)). A debtor’s decision to assume or reject an unexpired lease or

executory contract is subject to the “business judgment” test. Byrd v. Gardiner, Inc. (In re

Gardinier, Inc.), 831 F.2d 974, 976 n.2 (11th Cir. 1987); In re Surfside Resort and Suites, Inc., 325

B.R. 465, 469 (Bankr. M.D. Fla. 2005); In re Weaver Oil Co., Inc., 2008 WL 8202063 (Bankr.

N.D. Fla. 2008); In re Colony Beach & Tennis Club Ass’n, Inc., 2010 WL 746708, at *3 (M.D.
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Fla. Mar. 2, 2010). The sole inquiry is whether assumption or rejection will benefit this estate. See

Id.

        16.     In applying the “business judgment” test, courts show great deference to a debtor’s

decision to assume or reject an unexpired lease or executory contract. See In re Colony Beach &

Tennis Club Ass’n, Inc., 2010 WL 746708, at *3 (“A court may not substitute its judgment for that

of a debtor unless the debtor’s decision that ‘rejection will be advantageous is so manifestly

unreasonable that it could not be based on sound business judgment, but only on bad faith, whim,

or caprice.’”) (quoting Surfside Resort and Suites, 325 B.R. at 469 (internal citations omitted);

Summit Land Co. v. Allen (In re Summit Land Co.), 13 B.R. 310, 315 (Bankr. D. Utah 1981) (absent

extraordinary circumstances, court approval of debtor’s decision to assume or reject an unexpired

lease “should be granted as a matter of course”). As long as the decision to assume or reject is a

reasonable exercise of business judgment, courts should approve the assumption or rejection of an

unexpired lease or executory contract. See, e.g., NLRB v. Bildisco and Bildisco, 465 U.S. 513, 523

(1984); Group of Institutional Investors v. Chicago M. St. P. & P. R. R. Co., 318 U.S. 523 (1943).

        17.     The Debtors, with the assistance of their advisors and at the direction of the Buyer,

have determined that there is no net benefit that is likely to be realized from the Rejected

Agreements. Absent rejection, the Debtors believe that the Rejected Agreements will continue to

burden the Debtors’ estates with substantial administrative expenses at a critical time when the

Debtors are making concerted efforts to preserve liquidity and wind-down following the sale of

the Debtors’ business through the consummation of the APA and proposal of a chapter 11 plan.

Rejecting the Rejected Agreements will help ease the Debtors’ cash burn and increase the Debtors’

liquidity as the Debtors winddown and transfer their remaining operations pursuant to the APA.

Indeed, the Debtors believe that rejecting the Rejected Agreements will result in meaningful

savings to their estates.
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        18.     For all of the foregoing reasons, the Debtors have decided, in the exercise of their

sound business judgment, to reject the Rejected Agreements.                Accordingly, the Debtors

respectfully request that the Bankruptcy Court authorize the rejection of the Rejected Agreements

pursuant to section 365(a) of the Bankruptcy Code effective as of the date of this Motion.

                                    Request For Waiver of Stay

        19.     To implement the foregoing, the Debtors seek a waiver of any stay of the

effectiveness of the order approving this Motion. Pursuant to Bankruptcy Rule 6004(h), any “order

authorizing the use, sale, or lease of property other than cash collateral is stayed until the expiration

of 14 days after entry of the order, unless the court orders otherwise.” The Debtors submit that the

relief requested in this Motion is necessary to avoid immediate and irreparable harm to the Debtors.

Accordingly, for the reasons set forth herein, the Debtors submit that ample cause exists to justify

a waiver of the 14-day stay imposed by Bankruptcy Rule 6004(h), to the extent applicable.

        20.     To implement the foregoing immediately, the Debtor respectfully requests a

waiver of the notice requirements of Bankruptcy Rule 6004(a) to the extent that they are deemed

applicable.

                                  Debtors’ Reservation of Rights

        21.     The Debtors may have claims against the counterparties to the Rejected

Agreements arising under, or independently of the Rejected Agreements. The Debtors do not

waive such claims by the filing of this Motion or by the rejection of the Rejected Agreements.

        22.     Nothing contained herein is intended or should be construed as an admission of the

validity of any claim against the Debtors; a waiver of Debtors’ rights to dispute any claim; or an

approval, assumption, or rejection of any agreement, contract, lease, or sublease under section 365

of the Bankruptcy Code except as expressly set forth herein.

        WHEREFORE, the Debtors respectfully request entry of an Order in the form attached
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hereto as Exhibit “A” (i) approving the rejection of the Rejected Agreements effective as of the

Rejection Date; and (ii) granting such other relief as is just and proper.

 Dated: July 31, 2023                                    Respectfully submitted,
        Miami, Florida
                                                         /s/ Michael J. Niles
 George A. Davis (admitted pro hac vice)                 Jordi Guso
 Tianjiao (“TJ”) Li (admitted pro hac vice)              Florida Bar No. 863580
 Brian S. Rosen (admitted pro hac vice)                  Michael J. Niles
 Jonathan J. Weichselbaum (admitted pro hac vice)        Florida Bar No. 107203
 LATHAM & WATKINS LLP                                    BERGER SINGERMAN LLP
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 – and –

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                                     Co-Counsel for the Debtors
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                      EXHIBIT A
                    Proposed Order
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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                                      www.flsb.uscourts.gov

IN RE:                                                                Chapter 11 Cases

VITAL PHARMACEUTICALS, INC., et al.,1                                 Case No.: 22-17842-PDR

      Debtors.                                                        (Jointly Administered)
__________________________________________/

    ORDER GRANTING DEBTORS’ ELEVENTH OMNIBUS MOTION FOR ENTRY OF
      AN ORDER AUTHORIZING THE REJECTION OF CERTAIN EXECUTORY
                  CONTRACTS AND UNEXPIRED LEASES

         THIS MATTER came before the Court on _________________, 2023 at __________

a.m./p.m., in Fort Lauderdale, Florida, upon the Debtors’ Eleventh Omnibus Motion for Entry of

an Order Authorizing the Rejection of Certain Executory Contracts and Unexpired Leases (the

“Motion”) [ECF No. ____] filed by the above-captioned debtors and debtors-in-possession

1
  The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii)
JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash Seltzer,
LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc.
(8019).

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(collectively, the “Debtors”). The Motion seeks authority to reject certain executory contracts

and unexpired leases with rejection of such executory contracts and unexpired leases to be

effective as of July 31, 2023. The Court has jurisdiction over the matters raised in the Motion

pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. §

157(b)(2)(A). The relief requested in the Motion is in the best interests of the Debtors, their

estates, and their creditors. Proper and adequate notice of the Motion and the hearing thereon

has been given and no other or further notice is necessary. Accordingly, based on the entire

record of the hearing on the Motion, it is

          ORDERED that:

          1.        The Motion is GRANTED as provided herein.

          2.        The Debtors’ rejection of the Rejected Contracts2 set forth on Exhibit "B" of the

Motion is APPROVED, effective as of July 31, 2023, pursuant to 11 U.S.C. § 365(a).

          3.        The Debtors’ rejection of the Rejected Leases set forth on Exhibit "C" of the

Motion is APPROVED, effective as of July 31, 2023, pursuant to 11 U.S.C. § 365(a).

          4.        ANY PROOF OF CLAIM FOR DAMAGES ARISING FROM THE

REJECTION MUST BE FILED WITH THE COURT ON OR BEFORE THE LATEST

OF: (I) THE TIME FOR FILING A PROOF OF CLAIM PURSUANT TO

BANKRUPTCY RULE 3003(c)(3); (II) 30 DAYS AFTER THE ENTRY OF THE ORDER

COMPELLING OR APPROVING THE REJECTION OF THE CONTRACT OR

LEASE; OR (III) 30 DAYS AFTER THE EFFECTIVE DATE OF THE REJECTION OF

THE CONTRACT OR LEASE.

          5.        The Court retains jurisdiction over any matter or dispute arising from or relating

to the implementation of this Order.

2
    All capitalized terms used herein shall have the same meaning ascribed to them in the Motion.
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                                           # # #

Submitted by:
Jordi Guso, Esq.
Michael J. Niles, Esq.
BERGER SINGERMAN LLP
1450 Brickell Avenue, Ste. 1900
Miami, FL 33131
Telephone: (305) 755-9500
Facsimile: (305) 714-4340
Email: jguso@bergersingerman.com
Email: mniles@bergersingerman.com

(Attorney Guso is directed to serve this order upon all non-registered users who have yet to
appear electronically in this case and file a conforming certificate of service.)




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                       EXHIBIT B
                    Rejected Contracts
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                                        Exhibit “B”

                                  Rejected Contracts

Counterparty
                   Counterparty Address          Debtor                 Description
   Name
Penske Truck     2675 Morgantown Rd         Vital               Confidentiality and Non-
Leasing          Reading PA 19607           Pharmaceuticals,    Disclosure Agreement, dated
                                            Inc., d/b/a Bang    July 29, 2021
                                            Energy
14 West, LLC     1701 Pearl St Ste 4        Vital               Confidentiality & Non-
                 Waukesha WI 53186-         Pharmaceuticals,    Disclosure Agreement, dated
                 5600                       Inc., d/b/a Bang    November 12, 2020
                                            Energy
A.L. George      Austin George 1 Link       Vital               Non-Exclusive Distribution
LLC              Drive Binghampton NY       Pharmaceuticals,    Agreement, dated February
                 13904                      Inc.                04, 2021
AB InBev UK      Bureau 90 Fetter Ln        Vital               Confidentiality & Non-
Limited          London EC4A 1EN            Pharmaceuticals,    Disclosure Agreement, dated
                                            Inc., d/b/a Bang    October 22, 2019
                                            Energy
Ace Tools Co.,   R.235 Building A Mingxi    Vital               Confidentiality and Non-
Ltd.             Industrial Park Huaide     Pharmaceuticals,    Disclosure Agreement, dated
                 South Road Fuyong          Inc., d/b/a Bang    July 10, 2020
                 Town Shenzhen City         Energy
                 Bao'an District 518103
                 China
ACIBG, Corp.     5 Victoria Hts East        Vital               Confidentiality & Non-
                 Aurora NY 14052            Pharmaceuticals,    Disclosure Agreement, dated
                                            Inc., d/b/a Bang    July 26, 2021
                                            Energy
Active Threat    info@atresponse.org        Vital               Vistor Non-Disclosure
Response,                                   Pharmaceuticals,    Agreement, dated October
LLC - Michael                               Inc.                18, 2019
Mcbride
Adept            4590 E Thousand Oaks       Vital               Confidentiality & Non-
Payments, Inc.   Blvd # 215 West Lake       Pharmaceuticals,    Disclosure Agreement, dated
                 Vlg CA 91362               Inc., d/b/a Bang    February 18, 2019
                                            Energy
Advance          2/120 Bang Lamung          Vital               Confidentiality & Non-
Aesthetic        Nong Prue Chonburi         Pharmaceuticals,    Circumvention Agreement,
                 20150 Thailand             Inc., d/b/a VPX     dated August 01, 2016
                                            Sports
Agora Lab,       2804 Mission College       Vital               Confidentiality & Non-
Inc.             Blvd Santa Clara CA        Pharmaceuticals,    Disclosure Agreement, dated
                 95054                      Inc., d/b/a Bang    November 06, 2020
                                            Energy
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 Counterparty
                     Counterparty Address             Debtor                   Description
    Name
Airgas USA,        3737 Worsham Avenue          Vital                Confidentiality & Non-
LLC                Long Beach CA 90808          Pharmaceuticals,     Disclosure Agreement, dated
                                                Inc., d/b/a Bang     August 31, 2019
                                                Energy
Aker BioMarine     707 So. Grady Way Suite      Vital                Confidentiality & Non-
Antarctic US       600 Renton WA 98057          Pharmaceuticals,     Disclosure Agreement, dated
LLC                                             Inc., d/b/a Bang     October 28, 2020
                                                Energy
Alabama Crown      1330 Corporate Woods         Vital                Confidentiality & Non-
Distributing Co.   Drive Alabaster AL 35007     Pharmaceuticals,     Disclosure Agreement, dated
                                                Inc., d/b/a Bang     October 18, 2019
                                                Energy
Alanic             8730 Wilshire Blvd           Vital                CONFIDENTIALITY AND
International      Penthouse Beverly Hills CA   Pharmaceuticals,     NON-DISCLOSURE
Corp.              90211                        Inc., d/b/a Bang     AGREEMENT, dated July 07,
                                                Energy ("Bang")      2020
Albertsons         251 E Parkcenter Blvd        Vital                Mutual Nondisclosure
Companies,         Boise ID 83706               Pharmaceuticals,     Agreement, dated October 11,
LLC                                             Inc. d/b/a Bang      2018
                                                Energy
Albreco, Inc.      1040 Technecenter Dr.        Vital                Confidentiality & Non-
                   Millford OH 45150            Pharmaceuticals,     Disclosure Agreement, dated
                                                Inc., d/b/a Bang     July 08, 2020
                                                Energy
ALD Group          ALD Building No. 2           Vital                Confidentiality and
Limited            Industrial 3rd Road Shiyan   Pharmaceuticals,     Nondisclosure Agreement,
                   Town Bao'an District         Inc. d/b/a Bang      dated June 22, 2021
                   Shenzen China                Energy
Alexandra Belli    alexandra.belli_v@bangene    Vital                Confidentiality and Non-
                   rgy.com                      Pharmaceuticals,     Disclosure Agreement, dated
                                                Inc.                 December 22, 2021
Alexandra Soto     7224 SW 101 Ct Miami FL      Vital                Letter re: Notice of Violation of
                   33173                        Pharmaceuticals,     Non Disclosure, Non-Compete,
                                                Inc. dba             Confidentiality Agreement,
                                                VPX/REDLINE          dated October 26, 2022
Alexia Admor       1385 Broadway Suite 310      Vital                Confidentiality and
French Designer    New York NY 10018            Pharmaceuticals,     Nondisclosure Agreement
Group LTD                                       Inc. d/b/a Bang
                                                Energy
Allen Lund         4529 Angeles Crest           Vital                Confidentiality and
Company LLC        Highway Suite 300 La         Pharmaceuticals,     Nondisclosure Agreement,
                   Canada CA 91011              Inc. d/b/a Bang      dated July 29, 2021
                                                Energy
Allied Waste       4811 W Lower Buckeye         Vital                Confidentiality and
Transportation     Phoenix AZ 85043             Pharmaceuticals,     Nondisclosure Agreement,
(Republic                                       Inc. d/b/a Bang      dated November 18, 2019
Services)                                       Energy




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 Counterparty
                     Counterparty Address              Debtor                  Description
     Name
Ally Financial     500 Woodward Ave Detroit     Vital                 Confidentiality Agreement,
                   MI 48226                     Pharmaceuticals,      dated June 20, 2017
                                                Inc.
ALNA               12922 115 Avenue Surrey      Vital                 Confidentiality and
Packaging Co.,     BC V3R 0E2                   Pharmaceuticals,      Nondisclosure Agreement,
Ltd.                                            Inc. d/b/a Bang       dated March 02, 2022
                                                Energy
Alnost             10 Aveninda 12-60 Zona 14    Vital                 Confidentiality and
Guatemala S.A.     Edificio Avita Apartmento    Pharmaceuticals,      Nondisclosure Agreement,
                   3C Torre Sur Guatemala       Inc. d/b/a Bang       dated August 11, 2021
                                                Energy
Altius Logística   Avenida Jorge Chavez No      Vital                 Confidentiality and
Internacional      631 Piso 4 Miraflores Lima   Pharmaceuticals,      Nondisclosure Agreement,
Peru S.A.C.        15074 Peru                   Inc. d/b/a Bang       dated September 30, 2021
                                                Energy
Alturna-Tech       2300 Glades Road, Suite      Vital                 Mutual Non-Disclosure
Inc                302E Boca Raton FL 33431     Pharmaceuticals,      Agreement, dated January 01,
                                                Inc. dba Bang         2020
                                                Energy
American           2424 N Federal Highway       Vital                 Confidentiality and
Clinical           Suite 455 Boca Raton FL      Pharmaceuticals,      Nondisclosure Agreement,
Solutions, LLC     33431                        Inc. d/b/a Bang       dated November 20, 2019
                                                Energy
American Soy       1474 North Woodland          Vital                 Non-Disclosure &
Products, Inc.     Drive Saline MI 48176        Pharmaceuticals,      Confidentiality Agreement,
                                                Inc. dba              dated November 01, 2017
                                                VPX/Redline
Aminolabs          Research Campus 6 Hasselt    Vital                 Confidentiality and
Group NV           3500 Belgium                 Pharmaceuticals,      Nondisclosure Agreement,
                                                Inc. d/b/a Bang       dated November 19, 2018
                                                Energy
AnaBio             11 Herbert Street Dublin     Vital                 Confidentiality & Non-
Technologies       CO D02RW27 Ireland           Pharmaceuticals,      Circumvention Agreement,
LTD                                             Inc. dba VPX          dated May 07, 2018
Andler             6630 NW 16th Terrace Fort    Vital                 Confidentiality and
Packaging          Lauderdale FL 33309          Pharmaceuticals,      Nondisclosure Agreement,
Corporation                                     Inc. d/b/a Bang       dated December 12, 2019
                                                Energy
Andrew Richard     3 Bancroft Lane Kings Hill   Vital                 Confidentiality and
Blakely            West Malling Kent ME19       Pharmaceuticals,      Nondisclosure Agreement,
                   4BQ United Kingdom           Inc. d/b/a Bang       dated February 15, 2019
                                                Energy
Anheuser-          One Busch Pl St Louis MO     Vital                 Confidentiality Agreement,
Busch, LLC         63118                        Pharmaceuticals,      dated 2018
                                                Inc., d/b/a Bang
                                                Energy
Anheuser-Busch     One Busch Place St. Louis    Vital                 Confidentiality and
LLC                MO 63118                     Pharmaceuticals,      Nondisclosure Agreement,
                                                                      dated December 03, 2020



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 Counterparty
                     Counterparty Address             Debtor                  Description
    Name
                                                Inc. d/b/a Bang
                                                Energy
Anthony            c/o Insight Global 4170      Vital                Vistor Non-Disclosure
Ombrellaro         Ashford Dunwoody Rd NE,      Pharmaceuticals,     Agreement, dated October 16,
(Insight Global)   Suite 250 Brookhaven GA      Inc.                 2019
                   30319
AP Sound, Inc.,    Attn: David Fanugao 806      Vital                CONFIDENTIALITY AND
d/b/a All Pro      Beverly Parkway Pensacola    Pharmaceuticals,     NON-DISCLOSURE
Integrated         FL 32505                     Inc., DBA Bang       AGREEMENT, dated January
Systems ("All                                   Energy               20, 2020
Pro")
Applied Food       Attn: Brian Happel           Vital                Visit Non-Disclosure
Sciences           8708 S. Congress Ave STE     Pharmaceuticals,     Agreement, dated October 10,
                   B290                         Inc., d/b/a VPX      2019
                   Austin, TX 78745
Aproz Sources      Routes des Riddes 327        Vital                Confidentiality and
Minerales SA       Aproz CH-1994                Pharmaceuticals,     Nondisclosure Agreement,
                   Switzerland                  Inc. d/b/a Bang      dated September 17, 2021
                                                Energy
Arcs Network       5639 Old Chapel Hill Rd.     Vital                Confidentiality and
Cabling, LLC       Durham, NC 27707             Pharmaceuticals,     Nondisclosure Agreement,
                                                Inc. d/b/a Bang      dated September 18, 2020
                                                Energy
Ark                17830 Englewood dr. #23      Vital                CONFIDENTIALITY AND
Transportation     Cleveland OH 44130           Pharmaceuticals,     NON-DISCLOSURE
Ltd.                                            Inc., d/b/a Bang     AGREEMENT, dated
                                                Energy ("Bang")      September 21, 2021
Armada             4637 Port Royal Road         Vital                Confidentiality & Non-
Nutrition LLC      Spring Hills TN 37174        Pharmaceuticals,     Circumvention Agreement,
                                                Inc. dba VPX         dated September 05, 2017
Arochi &           Insurgentes Sur 1605-Floor   Vital                CONFIDENTIALITY & NON-
Lindner S.C.       20 Mexico City San José,     Pharmaceuticals,     DISCLOSURE
("A&L")            Insurgentes 3900 Mexico      Inc., DBA Bang       AGREEMENT, dated October
                                                Energy               03, 2018
Arthur J.          2850 Golf Road, Rolling      Vital                CONFIDENTIALITY AND
Gallagher Risk     Meadows IL 63008             Pharmaceuticals,     NON-DISCLOSURE
Management                                      Inc., d/b/a Bang     AGREEMENT, dated January
Services, Inc.                                  Energy ("Bang")      31, 2019
Artisan            291 West Wolf Street         Vital                Confidential Disclosure
Packaging          Harrisonburg VA 22802        Pharmaceuticals,     Agrement, dated December 20,
Company LP                                      Inc.                 2019
Assemblies         141 Covington Dr.            Vital                CONFIDENTIALITY AND
Unlimited Inc.     Bloomingdale IL 60108        Pharmaceuticals,     NON-DISCLOSURE
                                                Inc., d/b/a Bang     AGREEMENT, dated July 28,
                                                Energy ("Bang")      2020
ASSTRA             100 COREY AVE ST             Vital                CONFIDENTIALITY AND
TRANS INC          PETE BEACH NY 33706          Pharmaceuticals,     NON-DISCLOSURE
                                                Inc., d/b/a Bang     AGREEMENT, dated August
                                                Energy ("Bang")      04, 2021


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 Counterparty
                    Counterparty Address              Debtor                  Description
     Name
Atlantic          806 N. 23rd Street            Vital                CONFIDENTIALITY AND
Packaging, Inc.   Wilmington NC 28405           Pharmaceuticals,     NON-DISCLOSURE
                                                Inc., d/b/a Bang     AGREEMENT, dated
                                                Energy ("Bang")      December 06, 2019
Attitude Sports   Jammer Road, Talwara          Vital                CONFIDENTIALITY AND
Wear              Mughlan, Saialkot, Pakistan   Pharmaceuticals,     NON-DISCLOSURE
                  51311                         Inc., d/b/a Bang     AGREEMENT, dated July 07,
                  info@attitude-                Energy ("Bang")      2021
                  sportswear.com
                  attitudesportswear04@gmai
                  l.com
Avanti            14050 Palmetto Frontage       Vital                Non-Disclosure &
Nutritional       Road Miami Lakes FL           Pharmaceuticals,     Confidentiality Agreement,
Laboratories,     33016                         Inc. dba             dated July 26, 2017
LLC                                             VPX/Redline
AZPack            7255 S. Kyrene Road Suite     Vital                CONFIDENTIALITY AND
Property, LLC     104 Tempe AZ 85283            Pharmaceuticals,     NON-DISCLOSURE
                                                Inc., d/b/a Bang     AGREEMENT, dated July 01,
                                                Energy ("Bang")      2018
Baker             395 N Shrewsbury Rd, N        Vital                Non-Exclusive Distribution
Distributing      Clarendon, VT, 05759-9412     Pharmaceuticals,     Agreement, dated June 11,
Corporation       130 Orion Dr, Colchester,     Inc.                 2021
                  VT, 05446
Bamko, LLC        Matthew Whiteley, Head of     Vital                Confidentiality and Non-
                  Sales 11620 Wilshire Blvd.    Pharmaceuticals,     Disclosure Agreement, dated
                  Suite 610 Los Angeles CA      Inc., d/b/a Bang     October 09, 2019
                  90025                         Energy
Bank of           100 North Tryon Street        Vital                Confidentiality and Non-
America           Charlotte NC 28255            Pharmaceuticals,     Disclosure Agreement
Company                                         Inc., d/b/a Bang
                                                Energy
Banning NV        Statenlaan 55 5223 LA         Vital                Non-Disclosure &
                  Hertogenbosch Netherlands     Pharmaceuticals,     Confidentiality Agreement,
                                                Inc. dba             dated July 13, 2017
                                                VPX/Redline
Banuba            Irina Abramova, Director      Vital                Confidentiality and Non-
("Cyprus")        2nd Flat/Office 202 Nicosia   Pharmaceuticals,     Disclosure Agreement, dated
Limited           2003 Cyprus                   Inc., d/b/a Bang     November 04, 2020
                                                Energy
Barry-            8235 Forsyth Boulevard        Vital                Non-Disclosure Agreement,
Wehmiller         Clayton MO 63105              Pharmaceuticals,     dated November 06, 2018
Design Group,                                   Inc., d/b/a VPX
Inc.                                            Sports
Bavaria S.A.      Carrera 53 A No. 127-35       Vital                Non-Disclosure Agreement,
                  Bogota DC Columbia            Pharmaceuticals,     dated November 11, 2019
                                                Inc., d/b/a Bang
                                                Energy




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 Counterparty
                     Counterparty Address             Debtor                  Description
    Name
BDO USA, LLP       515 E Las Olas Blvd 5th      Vital                Confidentiality and Non-
                   Floor Ft. Lauderdale FL      Pharmaceuticals,     Disclosure Agreement, dated
                   33301                        Inc., d/b/a Bang     July 28, 2020
                                                Energy
BearField B.V.     Herengracht 514 1017 CC      Vital                Confidentiality and Non-
                   Amsterdam Netherlands        Pharmaceuticals,     Disclosure Agreement, dated
                                                Inc., d/b/a Bang     October 01, 2019
                                                Energy
Bebidas Poty       Rodovia Abel Pinho Maia,     Vital                Confidentiality and Non-
Ltda.              Km 12,5 Potirendaba          Pharmaceuticals,     Disclosure Agreement, dated
                   Distrito Industrial 15105    Inc., d/b/a Bang     December 16, 2021
                   000 Brasil                   Energy
Becknell           4242 1st Avenue Suite D      Vital                Non-Disclosure Agreement,
Properties         Lyons IL 60534               Pharmaceuticals,     dated November 06, 2018
                                                Inc., d/b/a VPX
                                                Sports
Belvac             Tony Lacey, Executive        Vital                Confidentiality and Non-
Production         Strat. Growth 237 Graves     Pharmaceuticals,     Disclosure Agreement, dated
Machinery, Inc.    Mills Road Lynchburg VA      Inc., d/b/a Bang     June 12, 2019
                   24502                        Energy
Ben Beckmann       ben.beckmann_v@bangener      Vital                CONFIDENTIALITY AND
                   gy.com                       Pharmaceuticals,     NON-DISCLOSURE
                                                Inc.                 AGREEMENT, dated October
                                                                     28, 2021
Berlin             Attn: CFO & General          Vital                Mutual Confidentiality
Packaging          Counsel 525 West Monroe      Pharmaceuticals,     Agreement, dated March 08,
L.L.C.             Street Chicago IL 60661      d.b.a. VPX Sports    2017
Berry Global       800 E Horizon Dr.            Vital                Confidentiality and Non-
                   Henderson NV 89015           Pharmaceuticals,     Disclosure Agreement, dated
                                                Inc., d/b/a Bang     September 09, 2021
                                                Energy
Bevpac NZ          PO Box 58348 Botany          Vital                Confidentiality and Non-
(1996) Limited     Aukland New Zealand          Pharmaceuticals,     Disclosure Agreement, dated
                                                Inc. d/b/a Bang      January 23, 2019
                                                Energy
Bigger than Life   9380 Activity Rd Ste H San   Vital                Confidentiality and Non-
Advertising Inc.   Diego CA 92126               Pharmaceuticals,     Disclosure Agreement
                                                Inc., d/b/a Bang
                                                Energy
BioNeutra North 9608- 25th Ave Edmonton         Vital                Confidentiality and Non-
America Inc.    Alberta T6N 1J4 Canada          Pharmaceuticals,     Disclosure Agreement, dated
                                                Inc., d/b/a Bang     June 25, 2020
                                                Energy
Bioneutra North    9608- 25th Ave Edmonton      Vital                Non-Disclosure Agreement,
America Inc.       Alberta T6N 1J4 Canada       Pharmaceuticals,     dated June 10, 2016
                                                Inc., d/b/a VPX
                                                Sport




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 Counterparty
                       Counterparty Address              Debtor                  Description
    Name
BioTrillion, Inc.    Savan Devani, CEO and         Vital                Confidentiality and Non-
                     Founder 338 Spear Street      Pharmaceuticals,     Disclosure Agreement, dated
                     #29C San Francisco CA         Inc., d/b/a Bang     November 12, 2021
                     94105                         Energy
Blake                Griffins Court, 24 - 32       Vital                Confidentiality and Non-
Consultants,         London Road Newbury           Pharmaceuticals,     Disclosure Agreement, dated
Ltd.                 Berks RG14 1JX United         Inc., d/b/a Bang     July 09, 2020
                     Kingdom                       Energy
Board of             1401 Asp Avenue Room          Vital                Confidentiality Agreement
Regents of the       109 Norman OK 73019           Pharmaceuticals,
University of                                      Inc. d/b/a VPX
Oklahoma                                           Sports
BofA Securities,     100 North Tryon Street        Vital                Confidentiality and Non-
Inc.                 Charlotte NC 28255            Pharmaceuticals,     Disclosure Agreement
                                                   Inc., d/b/a Bang
                                                   Energy
Boosin Craft         Room 606, Building 10,        Vital                Confidentiality and Non-
co., LTD.            Hejing Industrial Park, No.   Pharmaceuticals,     Disclosure Agreement
                     895, Asian Games Avenue       Inc., d/b/a Bang
                     Shiji Town, Panyu District    Energy
                     Guangzhou Guangdong
                     China
Bradley M.           2816 E Robinson St.           Vital                Confidentiality Agreement
Braun, PH.D          Orlando FL 33326              Pharmaceuticals,
                                                   Inc., DBA
                                                   VPX/Redline
Branch Banking       P.O. Box 1290 Whiteville      Vital                Confidentiality Agreement,
& Trust              NC 28472                      Pharmaceuticals,     dated November 01, 2018
                                                   Inc.
Brand                85 Price Parkway              Vital                Confidentiality and Non-
Packaging            Farmingdale NY 11735          Pharmaceuticals,     Disclosure Agreement, dated
Group                                              Inc., d/b/a Bang     August 20, 2020
                                                   Energy
Brian W.             7611 Coventry Woods           Vital                Confidentiality and Non-
Armstrong            Drive Dublin OH 43017         Pharmaceuticals,     Solicitation Agreement, dated
                                                   Inc., d/b/a VPX      August 06, 2015
                                                   Sports
Briem &              4134 Rider Trail North        Vital                Confidentiality and Non-
Associates,          Earth City MO 63045           Pharmaceuticals,     Disclosure Agreement, dated
LLC, d/b/a                                         Inc., d/b/a Bang     September 23, 2019
Briem                                              Energy
Engineering
BrightFractl         601 N. Congress Ave. Suite    Vital                CONFIDENTIALITY AND
Inc., d/b/a Fractl   206 Delray Beach FL 33445     Pharmaceuticals,     NON-DISCLOSURE
                                                   Inc., d/b/a Bang     AGREEMENT, dated
                                                   Energy ("Bang")      December 03, 2019
British              Francisco I Madero 2750       Vital                Confidentiality and Non-
American             Col Centro Monterrey          Pharmaceuticals,     Disclosure Agreement, dated
Tobacco                                                                 August 28, 2020



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 Counterparty
                    Counterparty Address              Debtor                  Description
     Name
Servicios SA de   Nuevo Leon Mexico CP          Inc., d/b/a Bang
CV                64000                         Energy

Britvic Soft      Trystan Farnworth, Director   Vital                Confidentiality and Non-
Drinks Limited    of Convenience and            Pharmaceuticals,     Disclosure Agreement, dated
                  Impulse Breakspear Park,      Inc., d/b/a Bang     March 06, 2019
                  Breakspear Way Hemel          Energy
                  Hempstead Hertfordshire
                  HP2 4TZ Great Britain
Brooklyn          643 South Road Milton NY      Vital                CONFIDENTIALITY AND
Bottling of       12547                         Pharmaceuticals,     NON-DISCLOSURE
Milton NY, Inc.                                 Inc., d/b/a Bang     AGREEMENT, dated October
                                                Energy ("Bang")      29, 2018
Broward Paper     1201 NE 45th Street Fort      Vital                Confidentiality and Non-
& Packaging,      Lauderdale FL 33334           Pharmaceuticals,     Disclosure Agreement, dated
Inc.                                            Inc., d/b/a Bang     June 26, 2020
                                                Energy
BTG Spedition     Siegfried Braun, Head of      Vital                Confidentiality and Non-
und Logistik      Road IZ NO Sud, Strasse 14    Pharmaceuticals,     Disclosure Agreement, dated
GmbH              Objekt 32 2355 Wiener         Inc., d/b/a Bang     January 04, 2022
                  Neudorf Austria               Energy
Buske Lines,      #7 West Gateway               Vital                Non- Disclosure Agreement,
Inc. aka Buske    Commerce Center Drive         Pharmaceuticals,     dated October 22, 2018
Logistics         Edwardsville IL 62025         Inc. dba Bang
                                                Energy
Buzzfeed, Inc.    111 East 18th Street New      Vital                Confidentiality and Non-
                  York NY 10003                 Pharmaceuticals,     Disclosure Agreement, dated
                                                Inc., d/b/a Bang     November 03, 2020
                                                Energy
C.H Robinson      14701 Charlson Road Eden      Vital                CONFIDENTIALITY AND
Worldwide, Inc.   Prairie MN 55347              Pharmaceuticals,     NON-DISCLOSURE
                                                Inc., d/b/a Bang     AGREEMENT, dated June 17,
                                                Energy ("Bang")      2021
California       1250 East Lathrop Road         Vital                Mutual Confidentiality
Natural Products Lathrop CA 95330               Pharmaceuticals,     Agreement, dated March 30,
                                                Inc dba VPX          2017
CANDY CO          64 N. 1550 W. Lindon UT       Vital                CONFIDENTIALITY AND
                  84042                         Pharmaceuticals,     NON-DISCLOSURE
                                                Inc., d/b/a Bang     AGREEMENT, dated August
                                                Energy ("Bang")      20, 2021
Canon Solutions   One Canon Park Melville       Vital                CONFIDENTIALITY AND
America, Inc.     NY 11747                      Pharmaceuticals,     NON-DISCLOSURE
                                                Inc., d/b/a Bang     AGREEMENT, dated July 18,
                                                Energy ("Bang")      2019
Capsuline Inc     3236 sw 30th Dania Beach      Vital                CONFIDENTIALITY AND
                  FL 33312                      Pharmaceuticals,     NON-DISCLOSURE
                                                Inc., d/b/a Bang     AGREEMENT, dated
                                                Energy ("Bang")      November 08, 2021



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 Counterparty
                    Counterparty Address              Debtor                  Description
    Name
Capsuline inc     3236 sw 30th Dania Beach     Vital                 CONFIDENTIALITY AND
DBA Ajix,         FL 33312                     Pharmaceuticals,      NON-DISCLOSURE
Capscanada                                     Inc., d/b/a Bang      AGREEMENT, dated August
                                               Energy ("Bang")       30, 2021
Captive-8 Inc.    421 7th Ave Suite 800 New    Vital                 CONFIDENTIALITY AND
                  York NY 10001                Pharmaceuticals,      NON-DISCLOSURE
                                               Inc., d/b/a Bang      AGREEMENT, dated July 07,
                                               Energy ("Bang")       2021
Cargill,          15407 McGinty Road West      Vital                 Material Transfer and Mutual
Incorporated      Wayzata MN 55391             Pharmaceuticals,      Confidentiality Agreement,
                                               Inc.                  dated September 14, 2018
Carolina          110 Barley Park Lane         Vital                 CONFIDENTIALITY AND
Beverage          Mooresville NC 28115         Pharmaceuticals,      NON-DISCLOSURE
Group, LLC                                     Inc., d/b/a Bang      AGREEMENT, dated July 19,
                                               Energy ("Bang")       2021
Castle Crow &     101 Mission Street Suite     Vital                 Confidentiality & Non-
Company, LLC      500 San Francisco CA         Pharmaceuticals,      Circumvention Agreement,
                  94105                        Inc., d/b/a VPX       dated October 19, 2017
Catalent, Inc.    14 Schoolhouse Road          Vital                 CONFIDENTIALITY AND
                  Somerset NJ 08873            Pharmaceuticals,      NON-DISCLOSURE
                                               Inc., d/b/a Bang      AGREEMENT, dated
                                               Energy ("Bang")       November 16, 2021
CCC NV, LLC       937 Tahoe Boulevard, Suite   Vital                 Non-Disclosure Agreement,
                  100 Incline Village NV       Pharmaceuticals,      dated February 14, 2017
                  89451                        Inc.
CCRS              201 Second Street            Vital                 NonDisclosure Agreement,
Warehousing &     Kewaskum WI 53040            Pharmaceuticals,      dated July 06, 2018
Logistics                                      Inc., d/b/a VPX
                                               Sports
CELEBRATIO        214 Spanish Town Road        Vital                 CONFIDENTIALITY AND
N BRANDS          Kingston JAM                 Pharmaceuticals,      NON-DISCLOSURE
LIMITED                                        Inc., d/b/a Bang      AGREEMENT, dated April 29,
                                               Energy ("Bang")       2019
Centennial Bank   Attn: David A. Druey 6300    Vital                 Confidentiality Agreement,
                  NE 1st Avenue Fort           Pharmaceuticals,      dated April 17, 2018
                  Lauderdale FL 33334          Inc. dba VPX
Centric Brands,   28 Liberty St. New York      Vital                 CONFIDENTIALITY AND
LLC               NY 10005                     Pharmaceuticals,      NON-DISCLOSURE
                                               Inc., d/b/a Bang      AGREEMENT, dated October
                                               Energy ("Bang")       29, 2020
Ceva Freight      1880 Matheson Blvd E         Vital                 CONFIDENTIALITY AND
Canada Corp.      Mississauga ON L4W 0C2       Pharmaceuticals,      NON-DISCLOSURE
                  CAN                          Inc., d/b/a Bang      AGREEMENT, dated 2020
                                               Energy ("Bang")
Chad M.           1401 Asp Avenue Room         Vital                 Confidentiality Agreement
Kersick, Ph.D.    109 Norman OK 73019          Pharmaceuticals,
                                               Inc. d/b/a VPX
                                               Sports




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 Counterparty
                     Counterparty Address               Debtor                   Description
     Name
Chas Seligman      10885 Clydesdale Way          Vital                 CONFIDENTIALITY AND
Distributing Co.   Walton KY 41094               Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated October
                                                 Energy ("Bang")       30, 2019
Chelsea F.C.       Fulham Rd London SW6          Vital                 CONFIDENTIALITY AND
                   1HS UK                        Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated
                                                 Energy ("Bang")       September 09, 2020
Chelsea FC PLC     Stamford Bridge Fulham        Vital                 Mutual Non-Disclosure
                   Road London SW6 1HS           Pharmaceuticals,      Agreement Commercial Terms,
                   England                       Inc., d/b/a Bang      dated September 11, 2020
                                                 Energy
Chestnut Hill      Attn: John D."Jack"           Vital                 MUTUAL NON-
Technologies       McCarthy 300 SE 2nd           Pharmaceuticals,      DISCLOSURE
                   Street Ft. Lauderdale FL      Inc., DBA Bang        AGREEMENT, dated
                   33301                         Energy                December 12, 2019
Christina Diaz     2586 NW 94th Ave Coral        Vital                 Letter re: Notice of Violation of
                   Springs FL 33065              Pharmaceuticals,      Non Disclosure, Non-Compete,
                                                 Inc. dba              Confidentiality Agreement,
                                                 VPX/REDLINE           dated October 26, 2022
Chrysler Capital   1601 Elm Street Suite 1400    Vital                 Non-Disclosure Agreement,
                   Dallas TX 75201               Pharmaceuticals,      dated September 21, 2018
                                                 Inc., d/b/a VPX
                                                 Sports
Cisco Systems,     170 West Tasman Drive         Vital                 Mutual Non-Disclosure
Inc.               San Jose CA 95134-1706        Pharmaceuticals,      Agreement, dated August 26,
                                                 Inc.                  2020
CITIBANK,N.A       388 Greenwich Street New      Vital                 CONFIDENTIALITY AND
.                  York NY                       Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated August
                                                 Energy ("Bang")       20, 2021
City Brewery       925 South Third Street La     Vital                 CONFIDENTIALITY AND
LLC                Crosse WI 54601               Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated January
                                                 Energy ("Bang")       21, 2022
City Brewing       5151 E Raines Road            Vital                 Confidentiality & Non-
Company LLC        Memphis TN 38118              Pharmaceuticals,      Circumvention Agreement,
                                                 Inc., d/b/a VPX       dated July 16, 2018
City National      Boca del Mar Banking          Vital                 Non-Disclosure &
Bank of Florida,   Center 7000 W Palmetto        Pharmaceuticals,      Confidentiality Agreement,
Inc.               Park Road Suite 100 Boca      Inc., d/b/a VPX       dated August 24, 2016
                   Raton FL 33433                Sports
CK Afton Ridge     301 S. College St Charlotte   Vital                 Non Disclosure Agreement,
II                 NC 28202                      Pharmaceuticals,      dated January 08, 2019
                                                 Inc. dba VPX
                                                 Sports
Cleveroad          2 Park Ave New York NY        Vital                 Confidentiality & Non-
                   10016                         Pharmaceuticals,      Disclosure Agreement, dated
                                                                       July 31, 2018



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 Counterparty
                      Counterparty Address              Debtor                 Description
    Name
                                                 Inc., d/b/a Bang
                                                 Energy
CliniExperts        Unit 325 City Centre Mall    Vital                 CONFIDENTIALITY AND
Services Private    Plot No 5 Dwarka Sector 12   Pharmaceuticals,      NON-DISCLOSURE
Limited             New Delhi 110075 India       Inc., d/b/a Bang      AGREEMENT, dated August
                                                 Energy ("Bang")       24, 2021
Closure Systems     7820 Innovation Boulevard    Vital                 CONFIDENTIALITY AND
International Inc   Suite 100 Indianapolis IN    Pharmaceuticals,      NON-DISCLOSURE
                    46278                        Inc., d/b/a Bang      AGREEMENT, dated
                                                 Energy ("Bang")       December 23, 2019
Cold Spring         219 Red River Avenue N.      Vital                 CONFIDENTIALITY & NON-
Brewery             Cold Spring MN 56320         Pharmaceuticals,      CIRCUMVENTION
Company                                          Inc., d/b/a VPX       AGREEMENT, dated July 09,
                                                                       2018
Cold Springs        219 Red River Avenue N       Vital                 CONFIDENTIALITY AND
Brewery             Cold Springs MN 56320        Pharmaceuticals,      NON-DISCLOSURE
Company                                          Inc., d/b/a Bang      AGREEMENT, dated July 20,
                                                 Energy ("Bang")       2021
Comcast Cable       1701 John F. Kennedy         Vital                 Mutual Confidentiality and
Communication       Boulevard Philadelphia PA    Pharmaceuticals,      Nondisclosure Agreement,
s Management,       19103-2838                   Inc.                  dated November 01, 2019
LLC
Comedpra,           Flormorado Empresarial       Vital                 CONFIDENTIALITY AND
LTDA.               Calle 117 #6a-60 Ofic 306    Pharmaceuticals,      NON-DISCLOSURE
                    Bogota Colombia              Inc., d/b/a Bang      AGREEMENT, dated August
                                                 Energy ("Bang")       11, 2021
Comercializador     Carretera Mexico-Pachuca     Vital                 CONFIDENTIALITY AND
a Eloro S.A.        Km. 12.5 Rustica Xalostoc    Pharmaceuticals,      NON-DISCLOSURE
                    Ecatepec de Morelos Estado   Inc., d/b/a Bang      AGREEMENT, dated
                    de Mexico 55340 Mexico       Energy ("Bang")       September 28, 2021
Commerce            1000 Walnut St Kansas City   Vital                 CONFIDENTIALITY AND
Bancshares, Inc.    MO 64106                     Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated October
                                                 Energy ("Bang")       21, 2021
Commerce Bank 209 E Main Street                  Vital                 CONFIDENTIALITY AND
              California MO 65018                Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated July 20,
                                                 Energy ("Bang")       2021
Conectys Serv       1 Preciziei Bvd District 6   Vital                 CONFIDENTIALITY AND
Telecom SRL         Bucharest 062202 Romania     Pharmaceuticals,      NON-DISCLOSURE
Corp.                                            Inc., d/b/a Bang      AGREEMENT, dated October
                                                 Energy ("Bang")       29, 2020
Connect             1734 Bluffview Lane          Vital                 CONFIDENTIALITY AND
Technology          Carrollton TX 75007          Pharmaceuticals,      NON-DISCLOSURE
Group                                            Inc., d/b/a Bang      AGREEMENT
                                                 Energy ("Bang")




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 Counterparty
                     Counterparty Address               Debtor                 Description
     Name
Contract           165 Oser Avenue               Vital                 CONFIDENTIALITY AND
Pharmacal Corp     Hauppauge NY 17788            Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated
                                                 Energy ("Bang")       September 21, 2020
Core-Mark          Suite 207, 3445-114th Ave.    Vital                 CONFIDENTIALITY AND
International,     SE Calgary Alberta T2Z        Pharmaceuticals,      NON-DISCLOSURE
Inc.               0K6                           Inc., d/b/a Bang      AGREEMENT
                                                 Energy ("Bang")
Cornerstone        3250 Players Club Parkway     Vital                 CONFIDENTIALITY AND
Systems, Inc.      Memphis TN 38125              Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated August
                                                 Energy ("Bang")       20, 2022
Costco             3-1-4 Ikegami-Shincho         Vital                 CONFIDENTIALITY AND
Wholesale          Kawasaki-ku Kawasaki-shi      Pharmaceuticals,      NON-DISCLOSURE
Japan, Ltd.        Kanagawa 210-0832 Japan       Inc., d/b/a Bang      AGREEMENT
                                                 Energy ("Bang")
Creative           600 Daugherty Street Scott    Vital                 CONFIDENTIALITY AND
Compounds,         City Missouri 63780           Pharmaceuticals,      NON-DISCLOSURE
LLC                                              Inc., d/b/a Bang      AGREEMENT, dated April 22,
                                                 Energy ("Bang")       2019
Creative           Moh Muslim Pura malkay        Vital                 CONFIDENTIALITY AND
International      kalan Sialkot Punjab 51310    Pharmaceuticals,      NON-DISCLOSURE
                   Pakistan                      Inc., d/b/a Bang      AGREEMENT, dated August
                                                 Energy ("Bang")       05, 2020
Credit Suisse      80 State Street Albany NY     Vital                 CONFIDENTIALITY AND
Securities         12207                         Pharmaceuticals,      NON-DISCLOSURE
(USA) LLC                                        Inc., d/b/a Bang      AGREEMENT
                                                 Energy ("Bang")
Crio Inversiones   Urban Industrial Plan De La   Vital                 CONFIDENTIALITY AND
S.A. de C.V.       Laguna #14 Antiguo            Pharmaceuticals,      NON-DISCLOSURE
                   Cuscatlan La Libertad El      Inc., d/b/a Bang      AGREEMENT, dated August
                   Salvador                      Energy ("Bang")       16, 2019
CROWN Cork         770 Township Line Rd          Vital                 Nondisclosure Agreement,
& Seal USA,        Yardley PA 19067              Pharmaceuticals,      dated December 13, 2018
Inc                                              Inc.
CSOFT              501 Boylston St 10th Floor    Vital                 CONFIDENTIALITY AND
International      Boston MA 02116               Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated July 16,
                                                 Energy ("Bang")       2021
Cumberland         165 Flanders Road             Vital                 CONFIDENTIALITY AND
Farms, Inc.        Westborough MA 01581          Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated May 19,
                                                 Energy ("Bang")       2021
Cushman &          Attn: Chris Metzger 225 NE    Vital                 Confidentiality Agreement,
Wakefield of       Mizner Blvd Ste 300 Boca      Pharmaceuticals,      dated May 31, 2018
Florida, Inc.      Raton FL 33432                Inc., d/b/a
                                                 VPX/Redline




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 Counterparty
                    Counterparty Address             Debtor                  Description
     Name
Cushman &         Attn: Chris Metzger 225 NE Vital                  Confidentiality Agreement,
Wakefield of      Mizner Blvd Suite 300 Boca Pharmaceuticals,       dated May 31, 2018
Florida, LLC      Raton FL 33432             Inc., d/b/a
                                             VPX/Redline
Cyxtera           2333 Ponce de Leon Blvd    Vital                  CONFIDENTIALITY AND
Cybersecurity     Suite 900 Coral Gables FL  Pharmaceuticals,       NON-DISCLOSURE
                  33134                      Inc., d/b/a Bang       AGREEMENT, dated July 01,
                                             Energy ("Bang")        2021
Cyxtera           2333 Ponce De Leon Blvd    Vital                  CONFIDENTIALITY AND
Cybersecurity     Suite 900 Coral Gables FL  Pharmaceuticals,       NON-DISCLOSURE
(AppGate)         33134                      Inc., d/b/a Bang       AGREEMENT, dated July 01,
                                             Energy ("Bang")        2021
Cyxtera           2333 Ponce de Leon Blvd    Vital                  CONFIDENTIALITY AND
Cybersecurity     Suite 900 Coral Gables FL  Pharmaceuticals,       NON-DISCLOSURE
Inc. dba          33134                      Inc., d/b/a Bang       AGREEMENT, dated July 20,
Appgate                                      Energy ("Bang")        2021
Danone de         Calle Mario Pani #400      Vital                  CONFIDENTIALITY AND
Mexico S.A. de    Colonia Santa Fe Alcaldia  Pharmaceuticals,       NON-DISCLOSURE
C.V.              Cuajimalpa De Morelos      Inc., d/b/a Bang       AGREEMENT, dated June 28,
                  Ciudad de Mexico 05348     Energy ("Bang")        2019
                  Mexico
Danyiel Evans     1121 Northwest 43 Terrace Vital                   CONFIDENTIALITY AND
                  Fort Lauderdale FL 33313   Pharmaceuticals,       NON-DISCLOSURE
                                             Inc.                   AGREEMENT, dated
                                                                    November 08, 2021
Deibel            1315A NW 53rd Ave           Vital                 CONFIDENTIALITY AND
Laboratories of   Gainesville FL 32609        Pharmaceuticals,      NON-DISCLOSURE
FL, Inc.                                      Inc., d/b/a Bang      AGREEMENT, dated August
                                              Energy ("Bang")       31, 2021
Deibel            1315A NW 53rd Avenue        Vital                 Confidentiality & Non-
Laboratories of   Gainesville FL 32609        Pharmaceuticals,      Circumvention Agreement,
Florida, Inc.                                 Inc., d/b/a VPX       dated January 09, 2018
Desert Sand       3773 Howard Hughes          Vital                 CONFIDENTIALITY AND
Ventures, LLC     Parkway Suite 500S Las      Pharmaceuticals,      NON-DISCLOSURE
                  Vegas NV 89169              Inc., d/b/a Bang      AGREEMENT, dated January
                                              Energy ("Bang")       25, 2022
Diamond           Ayritie 8 A Vanta Uusimaa   Vital                 CONFIDENTIALITY AND
Beverages Oy      01510 Finland               Pharmaceuticals,      NON-DISCLOSURE
                                              Inc., d/b/a Bang      AGREEMENT, dated August
                                              Energy ("Bang")       11, 2020
Dieck & Co.       PorschestraSe 4             Vital                 CONFIDENTIALITY AND
OHG               Huckelhoven 41836           Pharmaceuticals,      NON-DISCLOSURE
                  Germany                     Inc., d/b/a Bang      AGREEMENT, dated
                                              Energy ("Bang")       September 09, 2019
DigitizeYourBra   25255 Cabot Road Suite      Vital                 CONFIDENTIALITY AND
nd Inc.           116 Laguna Hills CA 92653   Pharmaceuticals,      NON-DISCLOSURE
                                              Inc., d/b/a Bang      AGREEMENT, dated October
                                              Energy ("Bang")       20, 2019




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 Counterparty
                        Counterparty Address             Debtor                  Description
     Name
Direct Connect        314 West Michigan St        Vital                 CONFIDENTIALITY AND
Logistics             Indianapolis IN 46202       Pharmaceuticals,      NON-DISCLOSURE
                                                  Inc., d/b/a Bang      AGREEMENT, dated July 16,
                                                  Energy ("Bang")       2021
Disruption Labs       8201 East Riverside Drive   Vital                 CONFIDENTIALITY AND
and its affiliates,   Suite 650 Austin TX 78744   Pharmaceuticals,      NON-DISCLOSURE
Inc                                               Inc., d/b/a Bang      AGREEMENT, dated August
                                                  Energy ("Bang")       24, 2021
Disruption Labs       8201 East Riverside Drive   Vital                 Confidentiality & Non-
and its affiliates,   Suite 650 Austin TX 78744   Pharmaceuticals,      Disclosure Agreement, dated
Inc.                                              Inc., d/b/a Bang      August 24, 2021
                                                  Energy
Dongguan         A615 Hongxi Center No. 2         Vital                 Confidentiality & Non-
Panther Sporting Nancheng Tai Yuk Road            Pharmaceuticals,      Disclosure Agreement
Goods Co., Ltd. Dongguan Guangdong                Inc., d/b/a Bang
                 China                            Energy
Dongguan         3rd Road of Xihu Shilong         Vital                 Confidentiality & Non-
Senlinbao        Town Dongguan City               Pharmaceuticals,      Disclosure Agreement
hat&cap          Guangdong Province China         Inc., d/b/a Bang
Industrial Co.,                                   Energy
Ltd.
Dove Wear        302 SW 4th Street Ct. Dania Vital                      Confidentiality Agreement
                 FL 33004                    Pharmaceuticals,
                                             Inc., DBA
                                             VPX/Redline
DPS Holdings,    5301 Legacy Drive Plano     Vital                      Confidentiality Agreement,
Inc.             TX 75024                    Pharmaceuticals,           dated August 04, 2017
                                             Inc., d/b/a
                                             Redline/VPX
Dr Signs         40 N.W. 3rd Street Suite    Vital                      Confidentiality & Non-
Express, LLC,    101 Miami FL 33128          Pharmaceuticals,           Disclosure Agreement, dated
d/b/a                                        Inc., d/b/a Bang           November 20, 2019
FASTSIGNS                                    Energy
DAVIE
Dr. Maurizio     DINOGMI University of       Vital                      CONFIDENTIALITY AND
Balestrino       Genova Largo Daneo 3        Pharmaceuticals,           NON-DISCLOSURE
                 Genova IT                   Inc., d/b/a Bang           AGREEMENT, dated January
                                             Energy                     01, 2019
Dr. Pepper       6301 Legacy Drive Plano     Vital                      Confidentiality Agreement,
Snapple Group    TX 75024                    Pharmaceuticals,           dated August 30, 2018
                                             Inc. dba
                                             VPX/Redline
Drinks Adviser   Officepods 19 Unit 1        Vital                      Confidentiality & Non-
Limited          Cranford Business Centre    Pharmaceuticals,           Disclosure Agreement, dated
                 Stillorgan Road Dublin 4    Inc., d/b/a Bang           February 14, 2019
                 D04X6H0 Ireland             Energy
Drudesk, LLC     34G Bozhenko Str. Lutsk     Vital                      Confidentiality & Non-
                 City 4301 Ukraine           Pharmaceuticals,           Disclosure Agreement, dated
                                                                        June 15, 2020



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 Counterparty
                      Counterparty Address              Debtor                  Description
    Name
                                                 Inc., d/b/a Bang
                                                 Energy
D-Trans LLC         5933 NE Win Sievers Dr       Vital                 CONFIDENTIALITY AND
                    #105 Portland OR 97220       Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT
                                                 Energy ("Bang")
D-Zingers           10701 Northwest 107th Ct     Vital                 CONFIDENTIALITY AND
Manufactures,       Medley FL 33178              Pharmaceuticals,      NON-DISCLOSURE
Inc.                                             Inc., d/b/a Bang      AGREEMENT, dated August
                                                 Energy ("Bang")       20, 2020
Ecolab Inc.         1 Ecolab Place St. Paul MN   Vital                 Confidentiality & Non-
                    55102                        Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      October 15, 2019
                                                 Energy
Econocomm           3733 NW 16th St.             Vital                 Confidentiality & Non-
Inc., d/b/a         Lauderhill FL 33316          Pharmaceuticals,      Disclosure Agreement
Mobile                                           Inc., d/b/a Bang
Communication                                    Energy
s
Edward Utley        P.O. Box 382 Henderson       Vital                 Confidentiality & Non-
Jr., Inc.           KY 42420                     Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      November 01, 2019
                                                 Energy
EFL Group           1975 Linden Blvd. Suite      Vital                 Confidentiality & Non-
                    200 Elmont NY 11003          Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      September 30, 2020
                                                 Energy
EGE Trading         Maltepe Turkey Litros        Vital                 Confidentiality & Non-
LLC., d/b/a         Yolu/yol Sok. No:3 D:1/C     Pharmaceuticals,      Disclosure Agreement, dated
1SOCK2SOCK          Istambul 34010 Turkey        Inc., d/b/a Bang      October 18, 2021
                                                 Energy
Engineered Tax      303 Evernia Street #300      Vital                 CONFIDENTIALITY AND
Services, Inc.      West Palm Beach FL 33401     Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated February
                                                 Energy                11, 2019
Entercom            8300 NE 2nd Ave Suite 200    Vital                 Event Sponsorship Agreement
Florida, LLC        Miami FL 33138               Pharmaceuticals,      (Food and Non-Alcoholic
d/b/a WKIS-FM                                    Inc., d/b/a Bang      Beverage Sampling), dated
                                                 Energy                December 17, 2019
Entertainment       14 Schoolhouse Road          Vital                 Confidentiality & Non-
Outfitters, LLC.,   Somerset NJ 08873            Pharmaceuticals,      Disclosure Agreement, dated
d/b/a E.O.I.                                     Inc., d/b/a Bang      December 15, 2021
                                                 Energy
EPAC Miami,         3600 NW 59th St Miami FL     Vital                 Confidentiality and Non-
LLC                 33142                        Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      2020
                                                 Energy




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 Counterparty
                      Counterparty Address               Debtor                  Description
    Name
EPAC Miami,         3600 NW 59th Street Miami Vital                     Confidentiality & Non-
LLC.                FL 33142                  Pharmaceuticals,          Disclosure Agreement
                                              Inc., d/b/a Bang
                                              Energy
EPIK Brands         Ste 306 30-36 Bay St      Vital                     Confidentiality and Non-
Pty Ltd.            Double Bay NSW 2028       Pharmaceuticals,          Disclosure Agreement, dated
                    Australia                 Inc., d/b/a Bang          May 19, 2019
                                              Energy
Esposito            750 3rd Ave 11th Fl New   Vital                     Confidentiality and Non-
Intellectual        York NY 10017             Pharmaceuticals,          Disclosure Agreement, dated
Enterprises LLC                               Inc., d/b/a Bang          2020
                                              Energy
Euler Hermes        100 Red Brook Blvd Owing Vital                      Confidentiality and Non-
                    Mills MD 21117            Pharmaceuticals,          Disclosure Agreement, dated
                                              Inc., d/b/a Bang          July 29, 2021
                                              Energy
Euler Hermes        800 Red Brook Blvd.       Vital                     CONFIDENTIALITY
North America       Owings Mills MD 21117     Pharmaceuticals,          AGREEMENT, dated June 13,
Insurance                                     Inc.                      2018
Company
Eurofins MET        914 W Patapsco Ave            Vital                 Confidentiality and Non-
Laboratories        Baltimore MD 21230            Pharmaceuticals,      Disclosure Agreement, dated
                                                  Inc., d/b/a Bang      2020
                                                  Energy
Eusere              Kitiniitynkatu 2 C 35 33850   Vital                 Confidentiality and Non-
Regulatory          Tampere Finland               Pharmaceuticals,      Disclosure Agreement, dated
Services                                          Inc., d/b/a Bang      September 15, 2020
                                                  Energy
Evans               21755 Gateway Rd              Vital                 Confidentiality and Non-
Transportation      Brookfield WI 53045           Pharmaceuticals,      Disclosure Agreement, dated
Services, Inc                                     Inc., d/b/a Bang      July 20, 2021
                                                  Energy
Everman Trade       5950 Berkshire Lane Suite     Vital                 Confidentiality and Non-
Center, L.P.        900 Dallas TX 75225           Pharmaceuticals,      Disclosure Agreement, dated
                                                  Inc., d/b/a Bang      May 01, 2019
                                                  Energy
EverWest Real       1099 18th Street Suite 2900   Vital                 Confidentiality & Non-
Estate Investors,   Denver CO 80202               Pharmaceuticals,      Disclosure Agreement, dated
LLC.                                              Inc., d/b/a Bang      November 30, 2021
                                                  Energy
EVOLUTION           9800 NW 100 Road Suite        Vital                 Confidentiality & Non-
LOGISTICS           #1 Medley FL 33178            Pharmaceuticals,      Disclosure Agreement, dated
CORP.                                             Inc., d/b/a Bang      July 02, 2021
                                                  Energy
Evoqua Water        210 Sixth Avenue Suite        Vital                 Confidentiality & Non-
Technologies        3300 Pittsburgh PA 15222      Pharmaceuticals,      Disclosure Agreement, dated
LLC                                               Inc., d/b/a Bang      January 07, 2022
                                                  Energy




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 Counterparty
                      Counterparty Address              Debtor                  Description
     Name
Extreme             14361 SW 120th St. Suite     Vital                 Confidentiality & Non-
Decorations,        104 Miami FL 33186           Pharmaceuticals,      Disclosure Agreement, dated
Corp.                                            Inc., d/b/a Bang      October 28, 2020
                                                 Energy
F.C.S. Industrial   6917 Narcoossee Road         Vital                 Confidentiality & Non-
Services, Inc.      Suite 708 Orlando FL         Pharmaceuticals,      Disclosure Agreement, dated
                    32822                        Inc., d/b/a Bang      July 01, 2020
                                                 Energy
Farah Group         Calle Pidagro No. 25 El      Vital                 Confidentiality & Non-
Company SRL         Millon Santo Domingo         Pharmaceuticals,      Disclosure Agreement, dated
                    Dominican Republic           Inc., d/b/a Bang      August 24, 2021
                                                 Energy
FARO IMP            Rua Cesar Augusto            Vital                 CONFIDENTIALITY AND
EXP DIST            Dalcoquio 5001 sala 7A       Pharmaceuticals,      NON-DISCLOSURE
LTDA.               Itajai SC 88311-500 Brazil   Inc., d/b/a Bang      AGREEMENT, dated August
                                                 Energy                01, 2021
Favour Sports       Bismillah Chowk Pasrur       Vital                 Confidentiality & Non-
                    Road Sialkot 51310           Pharmaceuticals,      Disclosure Agreement, dated
                    Pakistan                     Inc., d/b/a Bang      July 10, 2020
                                                 Energy
Film Source         3301 Gateway Centre Blvd.    Vital                 Confidentiality & Non-
International       Pinellas Park FL 33782       Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      October 14, 2020
                                                 Energy
Fish Collection     20340 NW 15 Ct. North        Vital                 Confidentiality & Non-
Inc.                Miami FL 33179               Pharmaceuticals,      Disclosure Agreement
                                                 Inc., d/b/a Bang
                                                 Energy
Florida             4722 N.W. Boca Raton         Vital                 Confidentiality and
Aquastore, Inc.     Blvd Suite C-102 Boca        Pharmaceuticals,      Nondisclosure Agreement,
                    Raton FL 33431               Inc. d/b/a Bang       dated October 27, 2020
                                                 Energy
Florida Drilling,   Matthew T. Davidson, Esq.,   Vital                 CONFIDENTIALITY AND
Inc.                7733 Hooper Road West        Pharmaceuticals,      NON-DISCLOSURE
                    Palm Beach FL 33411          Inc., d/b/a Bang      AGREEMENT
                                                 Energy
Florida Drilling,   Matthew T. Davidson, Esq.,   Vital                 CONFIDENTIALITY AND
Inc.                7733 Hooper Road West        Pharmaceuticals,      NON-DISCLOSURE
                    Palm Beach FL 33411          Inc., d/b/a Bang      AGREEMENT, dated October
                                                 Energy                08, 2020
Florida             10301 Commerce Parkway       Vital                 Confidentiality & Non-
Supplement,         Miramar FL 33025             Pharmaceuticals,      Circumvention Agreement,
L.L.C.                                           Inc., d/b/a VPX       dated October 14, 2017
FLP LLC             Matthew T. Davidson, Esq.,   Vital                 CONFIDENTIALITY AND
                    2405 S. Roosevelt Street     Pharmaceuticals,      NON-DISCLOSURE
                    Tempe AZ 85282               Inc., d/b/a Bang      AGREEMENT, dated
                                                 Energy                November 08, 2021




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 Counterparty
                     Counterparty Address               Debtor                  Description
     Name
Flush Fitness      288 Lorimer Street Port       Vital                 Confidentiality & Non-
Pty Ltd.           Melbourne VIC 3207            Pharmaceuticals,      Circumvention Agreement,
                   Australia                     Inc., d/b/a VPX       dated August 18, 2016
                                                 Sports
Fona               1900 Averill Road Geneva      Vital                 Mutual Confidentiality
International      IL 60134                      Pharmaceuticals,      Agreement, dated February 12,
Inc.                                             Inc. DBA VPX          2019
FORZA              Forza Technology Centre       Vital                 CONFIDENTIALITY AND
Industries Ltd.    4&5 Javelin Enterprise Park   Pharmaceuticals,      NON-DISCLOSURE
                   Ashford Kent TN248DE300       Inc., d/b/a Bang      AGREEMENT, dated
                   UK                            Energy                September 20, 2018
Freight            1830 S. Ocean Drive Unit      Vital                 CONFIDENTIALITY AND
Essentials         4808 Hallandale Beach FL      Pharmaceuticals,      NON-DISCLOSURE
LLC/CEO            33009                         Inc., d/b/a Bang      AGREEMENT, dated October
                                                 Energy                13, 2021
Freyr              150 College Rd W Ste 102      Vital                 Confidentiality & Non-
                   Princeton NJ 08540            Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      August 03, 2018
                                                 Energy
Freyr, Inc.        150 College Rd W Ste 102      Vital                 Confidentiality &
                   Princeton NJ 08540            Pharmaceuticals,      Nondisclosure Agreement,
                                                 Inc., d/b/a Bang      dated August 13, 2018
                                                 Energy
Friaaz AZ          CMS Sialkot Sialkot 51310     Vital                 CONFIDENTIALITY AND
                   Pakistan                      Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT , dated August
                                                 Energy                24, 2020
Frontier Equity,   5950 Berkshire Ln Ste 900     Vital                 NON-DISCLOSURE &
LLC                Dallas TX 75225               Pharmaceuticals,      CONFIDENTIALITY
                                                 Inc., DBA Bang        AGREEMENT, dated October
                                                 Energy                15, 2019
Future Perfect     Michael G. Levine 3315        Vital                 Non-Exclusive Right to
Worldwide, Inc.    Berkmar Drive Suite 2A        Pharmaceuticals,      Represent & Fee Agreement,
                   Charlottesvile VA 22901       Inc. d/b/a VPX        dated December 12, 2018
                                                 Sports
GDP Global         Marien Strasse 17 Munich      Vital                 CONFIDENTIALITY AND
Drinks             82319 Germany                 Pharmaceuticals,      NON-DISCLOSURE
Partnership                                      Inc., DBA Bang        AGREEMENT, dated February
GmbH (“GDP”)                                     Energy                26, 2019
Gelhlen Schols     Steenbergstraat 31 Kerkade    Vital                 Non-Disclosure Agreement,
Logistics          AB 6465 Netherlands           Pharmaceuticals,      dated January 01, 2018
                                                 Inc.
GEMCAP             7570 NW 14th Street, Suite    Vital                 Confidentiality And Non-
Investments,       106-B Miami FL 33126          Pharmaceuticals,      Disclosure Agreement, dated
LLC                                              Inc, d/b/a Bang       December 07, 2019
                                                 Energy
General            1100 Jenkins Blvd. Akron      Vital                 CONFIDENTIALITY AND
Transport, Inc.    OH 44306                      Pharmaceuticals,      NON-DISCLOSURE
                                                                       AGREEMENT



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 Counterparty
                      Counterparty Address              Debtor                Description
     Name
(“General                                        Inc., DBA Bang
Transport”)                                      Energy
General             1100 Jenkins Blvd. Akron     Vital                 CONFIDENTIALITY AND
Transport, Inc.     OH 44306                     Pharmaceuticals,      NON-DISCLOSURE
("General                                        Inc., DBA Bang        AGREEMENT, dated August
Transport")                                      Energy                25, 2020
General             1100 Jenkins Blvd. Akron     Vital                 CONFIDENTIALITY AND
Transport, Inc.     OH 44306                     Pharmaceuticals,      NON-DISCLOSURE
(“General                                        Inc., DBA Bang        AGREEMENT, dated August
Transport”)                                      Energy                25, 2020
Genesis Global      3000 Southwest 148           Vital                 CONFIDENTIALITY AND
Recruiting, Inc.    Avenue 116 Miramar FL        Pharmaceuticals,      NON-DISCLOSURE
("Genesis")         33027                        Inc., DBA Bang        AGREEMENT, dated July 01,
                                                 Energy                2020
Gintzler            100 Lawrence Bell Drive      Vital                 CONFIDENTIALITY AND
Graphics, Inc       Buffalo NY 14221             Pharmaceuticals,      NON-DISCLOSURE
("Gintzler                                       Inc., DBA Bang        AGREEMENT, dated
Graphics")                                       Energy                September 14, 2021
Givaudan            1199 Edison Drive,           Vital                 CONFIDENTIALITY AND
Flavors             Cincinnati OH 45216          Pharmaceuticals,      NON-DISCLOSURE
Corporation                                      Inc., DBA Bang        AGREEMENT , dated January
(“Givaudan                                       Energy                20, 2022
Flavors”)
Givaudan            1199 Edison Drive,           Vital                 CONFIDENTIALITY AND
Flavors             Cincinnati OH 45216          Pharmaceuticals,      NON-DISCLOSURE
Corporation                                      Inc., DBA Bang        AGREEMENT , dated
(“Givaudan                                       Energy                November 11, 2020
Flavors”)
Glanbia             5500 Nobel Drive Suite 250   Vital                 CONFIDENTIALITY AND
Nutritionals Inc.   Fitchburg WI 53711           Pharmaceuticals,      NON-DISCLOSURE
(“Glanbia”)                                      Inc., DBA Bang        AGREEMENT , dated May 20,
                                                 Energy                2019
Glazer Beer and     Attn: Phil Meacham 14911     Vital                 CONFIDENTIALITY AND
Beverage, LLC       Quorum Drive, Suite 200      Pharmaceuticals,      NON-DISCLOSURE
("Glazer")          Dallas, TX 75254             Inc., DBA Bang        AGREEMENT , dated October
                                                 Energy                18, 2019
Globalbev           Attn: Bernardo Lobato        Vital                 CONFIDENTIALITY AND
Bebidas e           Fernandes Rua Ministro       Pharmaceuticals,      NON-DISCLOSURE
Alimentos SA        Orozimbo Nonato 102, Vila    Inc., DBA Bang        AGREEMENT , dated
("Globalbev         da Serra Vila da Serra, ,    Energy                September 21, 2021
Bebidas")           MG, CNPJ 04175027/0001-
                    76
Globalbev           Attn: Bernardo Lobato        Vital                 CONFIDENTIALITY AND
Bebidas e           Fernandes Rua Ministro       Pharmaceuticals,      NON-DISCLOSURE
Alimentos SA        Orozimbo Nonato 102 Vila     Inc., DBA Bang        AGREEMENT , dated
(Globalbev          da Serra, , MG, CNPJ :       Energy                September 21, 2021
Bebidas)            04175027/0001-76 Nova
                    Lima



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 Counterparty
                   Counterparty Address               Debtor                  Description
     Name
GNC (Shanghai) c/o GNC Holdings, Inc.          Vital                 Mutual Nondisclosure
Trading Co. Ltd. 75 Hopper Pl, Pittsburgh,     Pharmaceuticals,      Agreement, dated November
                 PA 15222                      Inc.                  09, 2018
Golub            461 Nott Street Schenectady   Vital                 Confidential Service
Corporation      NY 12308                      Pharmeceuticals,      Agreement, dated September
                                               Inc., DBA VPX         03, 2019
                                               Sports
GoodCat, LLC.      1440 Rail Head Blvd. Suite Vital                  Confidentiality & Non-
                   5 Naples FL 34110           Pharmaceuticals,      Disclosure Agreement, dated
                                               Inc., d/b/a Bang      August 18, 2021
                                               Energy
Grant Thorton,     1301 International Pkwy     Vital                 Confidentiality & Non-
LLP                #300 Fort Lauderdale FL     Pharmaceuticals,      Disclosure Agreement
                   33323                       Inc., d/b/a Bang
                                               Energy
Graphic            1500 Riveredge Parkway      Vital                 Confidentiality & Non-
Packaging          Suite 100 Atlanta GA 30328 Pharmaceuticals,       Disclosure Agreement, dated
International,                                 Inc., d/b/a Bang      July 16, 2019
LLC                                            Energy
Great Lakes        910 Metzgar Ct NW           Vital                 Confidentiality & Non-
Label, LLC         Comstock Park MI 49321      Pharmaceuticals,      Disclosure Agreement, dated
                                               Inc., d/b/a Bang      November 16, 2021
                                               Energy
Green Bay          1700 North Webster Ct       Vital                 Confidentiality and Non-
Packaging Inc.     Green Bay WI                Pharmaceuticals,      Disclosure Agreement, dated
                                               Inc., d/b/a Bang      January 13, 2022
                                               Energy
Gregg B. Fields,   5353 Parkside Drive Jupiter Vital                 Non Disclosure and
Ph.D.              FL 33458                    Pharmaceuticals,      Confidentiality Agreement
                                               Inc.
Greyson            6350 N. Andrews Ave.        Vital                 CONFIDENTIALITY AND
Technologies,      Suite 200 Fort Lauderdale   Pharmaceuticals,      NON-DISCLOSURE
Inc.               FL 33309                    Inc., d/b/a Bang      AGREEMENT, dated July 17,
                                               Energy ("Bang")       2019
Grocery            22 Darley Road Suite 28     Vital                 CONFIDENTIALITY AND
Corporation Pty    Manly NSW 2095 AU           Pharmaceuticals,      NON-DISCLOSURE
Limited                                        Inc., d/b/a Bang      AGREEMENT, dated January
                                               Energy ("Bang")       17, 2019
GRUPO              Carretera Mexico-Pachuca    Vital                 Confidentiality and Non-
JUMEX, S.A.        Km. 12.5 Rustica Xalostoc   Pharmaceuticals,      Disclosure Agreement, dated
de C.V.            Ecatepec de Morelos Estado Inc., d/b/a Bang       September 28, 2021
                   de Mexico 55340 Mexico      Energy
GUANGDONG          No. 9 Baihesan Rd East area Vital                 Confidentiality and Non-
-HONG KONG         of the Economic             Pharmaceuticals,      Disclosure Agreement, dated
SMART              Technology Development      Inc., d/b/a Bang      June 21, 2021
PRINTING           Zone of Guangzhou China     Energy
(GZ)CO.,LTD




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 Counterparty
                     Counterparty Address              Debtor                  Description
     Name
H.B. Fuller        1200 Willow Lake Blvd        Vital                 Vistor Non-Disclosure
Company -          St. Paul, MN 55110-5146      Pharmaceuticals,      Agreement, dated September
Michael                                         Inc.                  26, 2019
Anderson
Harboes            Spegerborgvej 14 4230        Vital                 Confidentiality and Non-
Bryggeri A/S       Skaelkor Denmark             Pharmaceuticals,      Disclosure Agreement, dated
                                                Inc., d/b/a Bang      December 21, 2021
                                                Energy
Harboes            Spegerborgvej 14 Skaelskor   Vital                 Confidentiality and Non-
Bryggeri AS        4230 Denmark                 Pharmaceuticals,      Disclosure Agreement, dated
                                                Inc. dba Bang         April 01, 2019
                                                Energy
Hellay Australia   8/9 Monterey Rd              Vital                 Confidentiality & Non-
Pty Ltd.           Dandenong VIC 3175           Pharmaceuticals,      Circumvention Agreement,
                   Australia                    Inc., d/b/a VPX       dated May 07, 2018
Hemberga           Frihamnsgatan 28 115 56      Vital                 Confidentiality and Non-
Dryckesgrossist    Stockholm Sweden             Pharmaceuticals,      Disclosure Agreement, dated
en AB                                           Inc., d/b/a Bang      2020
                                                Energy
Hitachi Capital    251 Little Falls Dr          Vital                 Confidentiality and Non-
America Corp.      Wilmington DE 19808          Pharmaceuticals,      Disclosure Agreement, dated
                                                Inc., d/b/a Bang      November 03, 2020
                                                Energy
Hi-Tech            6015-B Unity Drive           Vital                 Non Disclosure and
Pharmaceuticals    Norcross GA 30071            Pharmaceuticals,      Confidentiality Agreement,
Inc.                                            Inc.                  dated January 20, 2015
HM Capital         200 Crescent Court Suite     Vital                 Non-Disclosure &
Partners           1600 Dallas TX 75201         Pharmaceuticals,      Confidentiality Agreement,
                                                Inc. dba              dated March 01, 2021
                                                VPX/Redline
Hormel Foods       c/o Century Foods            Vital                 Confidentiality & Non-
Corporation        International 400 Century    Pharmaceuticals,      Circumvention Agreement,
                   Court Sparta WI 54656        Inc., d/b/a VPX       dated March 29, 2018
Horseshoe          590 Enterprise Drive         Vital                 Confidentiality & Non-
Beverage Co.       Neenah WI 54956              Pharmaceuticals,      Circumvention Agreement,
                                                Inc., d/b/a VPX       dated July 17, 2018
Horseshoe          1101 Moasis Dr Little        Vital                 Confidentiality and Non-
Beverage           Chute WI 54140               Pharmaceuticals,      Disclosure Agreement, dated
Company                                         Inc., d/b/a Bang      January 06, 2020
("Horseshoe"),                                  Energy
LLC
Houchens           700 Church Street Bowling    Vital                 Confindentiality and Non-
Industries         Green KY 42101               Pharmaceuticals,      Disclosure Agreement, dated
                                                Inc., d/b/a Bang      August 25, 2021
                                                Energy
Hubei ORG          No. 69 of Guishan Road       Vital                 Confindentiality and Non-
Packaging Co.,     Yangtz River Industrial      Pharmaceuticals,      Disclosure Agreement, dated
Ltd                Park Xianning City Hubei     Inc., d/b/a Bang      October 27, 2020
                   Province China               Energy



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 Counterparty
                     Counterparty Address              Debtor                  Description
     Name
Hurley Sports      741 Street #2 Puran Nagar    Vital                 Confindentiality and Non-
                   Paris Road Sialkot Punjab    Pharmaceuticals,      Disclosure Agreement, dated
                   51310 Pakistan               Inc., d/b/a Bang      July 15, 2020
                                                Energy
Hybrid Shipping    11552 NW 87TH PL             Vital                 Confindentiality and Non-
and Logistics      Hialeah FL 33018             Pharmaceuticals,      Disclosure Agreement, dated
LLC                                             Inc., d/b/a Bang      December 07, 2021
                                                Energy
I.PALIOURIS        Vouliagmenis Ave 538         Vital                 Confidentiality and Non-
MON.EPE            Athens 17456 Greece          Pharmaceuticals,      Disclosure Agreement, dated
Trading as                                      Inc., d/b/a Bang      July 20, 2021
Premium Brands                                  Energy
Icon               Clarence V. Lee III One      Vital                 Confindentiality and Non-
International,     East Weaver Street           Pharmaceuticals,      Disclosure Agreement, dated
Inc.               Greenwich CT 06831           Inc., d/b/a Bang      November 18, 2020
                                                Energy
IGHTY              1509 W Hebron Pkwy Ste       Vital                 Confindentiality and Non-
SUPPORT,           120 Carrollton TX 75010      Pharmaceuticals,      Disclosure Agreement
LLC                                             Inc., d/b/a Bang
                                                Energy
ImagiNutrition,    Anthony L. Almada 32565      Vital                 Nunc Pro Tunc Confidentiality
Inc                Golden Lantern Ste B, PMB    Pharmaceuticals,      and Non-Disclosure
                   477 Dana Point CA 92629      Inc., d/b/a Bang      Agreement, dated September
                                                Energy                21, 2018
IMG                150 Alhambra Circle, Suite   Vital                 Confindentiality and Non-
Worldwide,         950 Coral Gables FL 33134    Pharmaceuticals,      Disclosure Agreement, dated
LLC                                             Inc., d/b/a Bang      September 15, 2020
                                                Energy
Industrial Power   Peter Cippari 712 N. Beach   Vital                 Confindentiality and Non-
Truck Leasing,     St. Fort Worth TX 76111      Pharmaceuticals,      Disclosure Agreement, dated
LLC, d/b/a                                      Inc., d/b/a Bang      November 14, 2019
Industrial Power                                Energy
Truck &
Equipment
Ingram Micro       3351 Michelson Drive Suite   Vital                 Non-Disclosure Agreement,
Inc.               100 Irvine CA 92612          Pharmaceuticals,      dated September 18, 2018
                                                Inc dba VPX
Integrated         4980 NW 165th St., Unit A-   Vital                 Confindentiality and Non-
Technology         7 Miami Gardens FL 33014     Pharmaceuticals,      Disclosure Agreement
Services                                        Inc., d/b/a Bang
                                                Energy
Intermountain      Candece Hadley 22 North      Vital                 Confindentiality and Non-
Business Forms,    1400 West Centerville UT     Pharmaceuticals,      Disclosure Agreement, dated
Inc.               84014                        Inc., d/b/a Bang      July 09, 2020
                                                Energy
International      Luis Rodriguez 150           Vital                 Confindentiality and Non-
Management         Alhambra Circle, Suite 950   Pharmaceuticals,      Disclosure Agreement
Group              Coral Gables FL 33134        Inc., d/b/a Bang
                                                Energy



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 Counterparty
                      Counterparty Address               Debtor                  Description
     Name
International       Veronica Salazar, Account     Vital                 Confidentiality and Non-
Paper Company       Manager 6400 Poplar Ave.      Pharmaceuticals,      Disclosure Agreement, dated
                    Memphis TN 38197              Inc., d/b/a Bang      January 06, 2020
                                                  Energy
Inversiónes         Calle Topater #1105 Urb       Vital                 Confindentiality and Non-
Reyes Pericon       Illampu El Alto Bolivia       Pharmaceuticals,      Disclosure Agreement, dated
                                                  Inc., d/b/a Bang      December 08, 2021
                                                  Energy
IQ                  Jay Cohen 10151 N.W. 67th     Vital                 Confindentiality and Non-
Formulations,       St. Tamarac FL 33321          Pharmaceuticals,      Disclosure Agreement, dated
LCC                                               Inc., d/b/a Bang      August 29, 2019
                                                  Energy
itelligence, Inc.   Timothy P. Breen, Chief       Vital                 Confindentiality and Non-
                    Financial Officer 10856       Pharmaceuticals,      Disclosure Agreement, dated
                    Reed Hartman Highway          Inc., d/b/a Bang      February 26, 2019
                    Cincinnati OH 45242           Energy
Ivanhoe Capital     4405 Three Oaks Road          Vital                 Confidentiality & Non-
Advisors, LLC       Suite B Crystal Lake IL       Pharmaceuticals,      Circumvention Agreement,
                    60014                         Inc., d/b/a VPX       dated July 21, 2015
                                                  Sports
J.B. Hunt           Melindsa Yeaman 615 J.B.      Vital                 Confindentiality and Non-
Transport, Inc.     Hunt Corporate Drive          Pharmaceuticals,      Disclosure Agreement, dated
                    Lowell AK 72745               Inc., d/b/a Bang      December 01, 2020
                                                  Energy
James               1441 Southwest 97th Ave       Vital                 Marketing Project X
Dominique           Pembroke Pines FL 33025       Pharmaceuticals,      Confidentiality and Non-
                                                  Inc.                  Disclosure Agreement, dated
                                                                        September 22, 2021
Jason Aparcana      9459 SW 18th St               Vital                 Marketing Project X
                    Miramar, FL 33025             Pharmaceuticals,      Confidentiality and Non-
                                                  Inc.                  Disclosure Agreement, dated
                                                                        September 30, 2021
Jason Ellis         32 Gingerwood Irvine CA       Vital                 Confidentiality Agreement,
                    92603                         Pharmaceuticals,      dated October 05, 2017
                                                  Inc., d/b/a VPX
                                                  Sports
Jasper Products,    3877 E 27th Street Joplin     Vital                 Non-Disclosure &
LLC                 MO 64804                      Pharmaceuticals,      Confidentiality Agreement,
                                                  Inc., d/b/a VPX       dated April 08, 2016
                                                  Sports
Javier D. Perez     1018 Grove Park Circle        Vital                 Invention, Non-Disclosure,
                    Boynton Beach FL 33436        Pharmaceuticals,      Non-Competition,
                                                  Inc., d/b/a VPX       And Non-Solicitation
                                                  Sports                Agreement, dated October 09,
                                                                        2017
JB                  Robert Spiteri, Imports and   Vital                 Confidentiality and Non-
METROPOLIT          Exports Manager 368-370       Pharmaceuticals,      Disclosure Agreement, dated
AN                  Newbridge Rd Moorebank        Inc., d/b/a Bang      December 10, 2018
DISTRIBUTOR         NSW 2170 Australia            Energy



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 Counterparty
                     Counterparty Address               Debtor                  Description
    Name
S PTY
LIMITED

JDA Software       15059 North Scottsdale        Vital                 Confidentiality and Non-
Group Inc.         Road Suite 400 Scottsdale     Pharmaceuticals,      Disclosure Agreement, dated
                   AZ 85254                      Inc. dba Bang         February 06, 2019
                                                 Energy
JDA Software       Reema Omeri 15059 North       Vital                 Confindentiality and Non-
Group, Inc.        Scottsdale Road, Suite 400    Pharmaceuticals,      Disclosure Agreement, dated
                   Scottsdale AZ 85254           Inc., d/b/a Bang      February 06, 2019
                                                 Energy
Jeff Bloom         3708 Somerset Drive Apt. 1    Vital                 Confidentiality Agreement
                   Seaford NY 11783              Pharmaceuticals,
                                                 Inc., DBA
                                                 VPX/Redline
Jinan Erjin        Jinan Erjin Import & Export   Vital                 Confindentiality and Non-
Import & Export    Co., Ltd. Licheng District    Pharmaceuticals,      Disclosure Agreement, dated
Co., Ltd           Jinan City, Shandong          Inc., d/b/a Bang      June 06, 2019
                   Province China                Energy
JinJiang Simple    No.230, Haibin Rd., Haibin    Vital                 CONFIDENTIALITY AND
Imp. & Exp.        Community, Xibin Town,        Pharmaceuticals,      NON-DISCLOSURE
Co., Ltd.          Jinjiang City Jinjiang,       Inc., d/b/a Bang      AGREEMENT, dated July 10,
                   Fujian, 362200 China          Energy ("Bang")       2020
Jon Muir           3665 Plum Creek Drive St.     Vital                 Non Disclosure and
                   Cloud MN 56301                Pharmaceuticals,      Confidentiality Agreement
                                                 Inc.
JuanCarlos         215 Castro Place Erie CO      Vital                 CONFIDENTIALITY AND
Wong II            80516                         Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated August
                                                 Energy ("Bang")       16, 2019
Kaufman,           2699 S. Bayshore Drive        Vital                 CONFIDENTIALITY AND
Rossin & Co.       Miami FL 33133                Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated February
                                                 Energy ("Bang")       26, 2019
Keller Logistics   24862 Elliott Rd. Defiance    Vital                 CONFIDENTIALITY AND
Group Inc.         OH 43512                      Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated
                                                 Energy ("Bang")       September 09, 2021
Kentucky Eagle,    2440 Innovation Drive         Vital                 CONFIDENTIALITY AND
Inc.               Lexington KY 40511            Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated October
                                                 Energy ("Bang")       30, 2019
Ketone Labs,       2157 Lincoln Street Salt      Vital                 CONFIDENTIALITY AND
LLC                Lake City UT 84106            Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated August
                                                 Energy ("Bang")       04, 2021




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 Counterparty
                    Counterparty Address              Debtor                  Description
     Name
Kevin Anderson    1115 Broadway Floor 10       Vital                 CONFIDENTIALITY AND
& Associates      New York NY 10010            Pharmaceuticals,      NON-DISCLOSURE
Inc.                                           Inc., d/b/a Bang      AGREEMENT, dated July 01,
                                               Energy ("Bang")       2021
Khalsa            13371 South Fowler Ave       Vital                 CONFIDENTIALITY AND
Transportation    Selma CA 93662               Pharmaceuticals,      NON-DISCLOSURE
Inc.                                           Inc., d/b/a Bang      AGREEMENT, dated
                                               Energy ("Bang")       September 18, 2020
KK Integrated     501 4th Avenue PO Box        Vital                 Confidential Stipulation and
Logistics, Inc.   396 Menominee MI 49858       Pharmaceuticals,      Order for Dismissal, dated June
                                               Inc.                  08, 2015
KMR               10424 W State Road 84        Vital                 CONFIDENTIALITY AND
Construction      Suite 10 Davie FL 33324      Pharmaceuticals,      NON-DISCLOSURE
Management,                                    Inc., d/b/a Bang      AGREEMENT, dated June 30,
Inc.                                           Energy ("Bang")       2020
Kolay Tun,        40 Exchange Place Suite      Vital                 Confidential Finder's Fee
d/b/a D.I.,       2010 New York NY 10005       Pharmaceuticals,      Agreement, dated January 24,
Brokerage                                      Inc., d/b/a VPX       2017
Konsey Tekstil    1. Sk.Sariana Marmaris       Vital                 CONFIDENTIALITY AND
ITH.IHR.SAN.T     Mugla 48700 TR               Pharmaceuticals,      NON-DISCLOSURE
IC.LTD.STI                                     Inc., d/b/a Bang      AGREEMENT, dated 2020
                                               Energy ("Bang")
Krista Ali        11737 West Atlantic Blvd     Vital                 Confidentiality and Non-
                  Apt 6 Coral Springs FL       Pharmaceuticals,      Disclosure Agreement, dated
                  33071                        Inc.                  November 03, 2021
Kwangdong         85 Seochojungangro Seoul     Vital                 CONFIDENTIALITY AND
Pharmaceutical    SK                           Pharmaceuticals,      NON-DISCLOSURE
Ltd.                                           Inc., d/b/a Bang      AGREEMENT, dated
                                               Energy ("Bang")       November 19, 2021
L Catterton       599 West Putnam Ave.         Vital                 Confidentiality & Non-
Growth            Greenwich CT 06830           Pharmaceuticals,      Disclosure Agreement, dated
Managing                                       Inc., d/b/a Bang      November 30, 2021
Partner IV,                                    Energy ("Bang")
Limited
Partnership
L Catterton       599 W Putnam Ave             Vital                 Confidentiality & Non-
Management        Greenwich CT 06830           Pharmaceuticals,      Disclosure Agreement, dated
Limited                                        Inc., d/b/a Bang      December 01, 2021
                                               Energy
Laurel A.         Attn: Laurel A. Decker 519   Vital                 Independent Contractor Non-
Decker, P.A.      N D Street Lake Worth FL     Pharmaceuticals,      Disclosure and Confidentiality
                  33460                        Inc. DBA              Agreement
                                               VPX/Redline
Layne             1209 N Orange St             Vital                 Confidentiality and Non-
Christensen       Wilmington DE 19801          Pharmaceuticals,      Disclosure Agreement, dated
Company                                        Inc., d/b/a Bang      August 24, 2020
                                               Energy




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 Counterparty
                     Counterparty Address               Debtor                  Description
     Name
Lazaro Diaz        c/o Fedex, 942 South Shady    Vital                 Voter Non-Disclosure
                   Grove Road, Memphis, TN       Pharmaceuticals,      Agreement, dated October 30,
                   38120                         Inc. dba VPX          2019
Lebolo             2100 Corporate Drive          Vital                 Confidentiality & Non-
Construction       Boynton Beach FL 33426        Pharmaceuticals,      Disclosure Agreement, dated
Management,                                      Inc., d/b/a Bang      December 05, 2019
Inc.                                             Energy ("Bang")
Liangxi Li         10871 NW 12th Place           Vital                 Confidential Employee Loan
                   Weston FL 33322               Pharmaceuticals,      Agreement, dated April 06,
                                                 Inc.                  2018
Linal, Inc.        900-C River Street Windsor    Vital                 Nondisclosure & Non-
                   CT 06095                      Pharmaceuticals,      circumvention Agreement,
                                                 Inc.                  dated May 05, 2016
Link Logistics     3400 NE 192 St. Suite 107     Vital                 Confidentiality & Non-
                   Aventura FL 33180             Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      August 01, 2021
                                                 Energy ("Bang")
Lithia Springs     5 International Drive Suite   Vital                 Confidentiality & Non-
Holdings, LLC      125 Rye Brook NY 10573        Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      November 07, 2019
                                                 Energy ("Bang")
LiveWorld, Inc.    2105 South Bascom Ave         Vital                 Confidentiality & Non-
                   #195 Campbell CA 95008        Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      November 02, 2020
                                                 Energy ("Bang")
Livingston         425 South Financial Place     Vital                 Confidentiality and Non-
International,     Gateway Plaza Suite 3200      Pharmaceuticals,      Disclosure Agreement, dated
Inc.               Chicago IL 60605              Inc. dba Bang         February 26, 2019
                                                 Energy
Lloyd-James        Suite 203-2780 Granville      Vital                 Confidentiality & Non-
Plant Based        Street Vancouver BC V6H-      Pharmaceuticals,      Disclosure Agreement, dated
Sales &            3J3 Canada                    Inc., d/b/a Bang      November 12, 2018
Marketing                                        Energy ("Bang")
LMI Tech           4860 N. Royal Atlanta         Vital                 Confidentiality & Non-
Systems, LLC       Drive Tucker GA 30084         Pharmaceuticals,      Disclosure Agreement
                                                 Inc., d/b/a Bang
                                                 Energy ("Bang")
Lone Star Cable    2340 E. Trinity Mills Ste.    Vital                 Confidentiality & Non-
                   300 Carrollton TX 75006       Pharmaceuticals,      Disclosure Agreement
                                                 Inc., d/b/a Bang
                                                 Energy ("Bang")
Longbow            555 Briarwood Circle Suite    Vital                 Confidentiality & Non-
Advantage          118 Ann Arbor MI 48108        Pharmaceuticals,      Disclosure Agreement, dated
USA, Inc.                                        Inc., d/b/a Bang      January 30, 2019
                                                 Energy ("Bang")
LSQ Funding        2600 Lucien Way Ste 100       Vital                 Confidentiality & Non-
Group, LLC         Maitland FL 32751             Pharmaceuticals,      Circumvention Agreement,
                                                 Inc.                  dated April 06, 2015




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 Counterparty
                     Counterparty Address             Debtor                  Description
     Name
Lucozade           2 Longwalk Road Stockley    Vital                 Confidentiality & Non-
Ribena Suntory     Park Uxbrideg UB11 1BA      Pharmaceuticals,      Disclosure Agreement
Limited            UK                          Inc., d/b/a Bang
                                               Energy ("Bang")
Luis Caro          luis.caro_v@bangenergy.co   Vital                 CONFIDENTIALITY AND
                   m                           Pharmaceuticals,      NON-DISCLOSURE
                                               Inc.                  AGREEMENT, dated October
                                                                     28, 2021
Lunchbox           1216 Broadway New York      Vital                 Confidentiality & Non-
Technologies       NY 10001                    Pharmaceuticals,      Disclosure Agreement, dated
Inc.                                           Inc., d/b/a Bang      September 27, 2021
                                               Energy ("Bang")
Maceoo, LLC        3722 S Las Vegas Blvd       Vital                 Confidentiality and Non-
                   #2302 Las Vegas NV 89103    Pharmaceuticals,      Disclosure Agreement, dated
                                               Inc. dba Bang         September 23, 2020
                                               Energy
Magic Leap,        7500 West Sunrise           Vital                 Confidentiality & Non-
Inc.               Boulevard Plantation FL     Pharmaceuticals,      Disclosure Agreement, dated
                   33322                       Inc., d/b/a Bang      October 26, 2021
                                               Energy ("Bang")
Main Street        2340 Enterprise Avenue La   Vital                 Non Disclosure and
Ingredients        Crosse WI 54603             Pharmaceuticals,      Confidentiality Agreement
                                               Inc.
Main Street        2340 Enterprise Avenue La   Vital                 Manufacturing, Confidentiality,
Ingredients        Crosse WI 54603             Pharmaceuticals,      and Non-Compete Agreement
                                               Inc. d/b/a VPX
                                               Sports
Makers             315 Oser Ave Hauppauge      Vital                 CONFIDENTIALITY AND
Nutrition          NY 11788                    Pharmaceuticals,      NON-DISCLOSURE
                                               Inc, d/b/a Bang       AGREEMENT, dated October
                                               Energy ("Bang")       05, 2021
Manchester         Sir Matt Busby Way Old      Vital                 CONFIDENTIALITY AND
United Football    Trafford Manchester M16     Pharmaceuticals,      NON-DISCLOSURE
Club Limited       0RA UK                      Inc, d/b/a Bang       AGREEMENT, dated
                                               Energy ("Bang")       November 09, 2021
Mane Inc.          2501 Henkle Dr. Lebanon     Vital                 CONFIDENTIALITY AND
                   OH 45036                    Pharmaceuticals,      NON-DISCLOSURE
                                               Inc, d/b/a Bang       AGREEMENT, dated July 29,
                                               Energy ("Bang")       2021
Manhattan          Bruce Richards, SVP and     Vital                 Confidentiality and Non-
Associates, Inc.   Chief Legal Officer 2300    Pharmaceuticals,      Disclosure Agreement, dated
                   Windy Ridge Parkway, 10th   Inc., d/b/a Bang      February 11, 2019
                   Floor, Atlanta, Georgia     Energy
                   30339
ManTech            2251 Corporate Park Drive   Vital                 CONFIDENTIALITY AND
Advanced           Herndon VA 20171            Pharmaceuticals,      NON-DISCLOSURE
Systems                                        Inc, d/b/a Bang       AGREEMENT, dated August
International                                  Energy ("Bang")       01, 2021
Incorporated



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Counterparty
                     Counterparty Address             Debtor                 Description
    Name
Marcum, LLP        450 East Las Olas           Vital                 CONFIDENTIALITY AND
                   Boulevard Ninth Floor Ft.   Pharmaceuticals,      NON-DISCLOSURE
                   Lauderdale FL 33301         Inc, d/b/a Bang       AGREEMENT, dated August
                                               Energy ("Bang")       11, 2020
Marden-Kate,       575 Underhill Blvd. Suite   Vital                 CONFIDENTIALITY AND
Inc.               222 Syosset NY 11791        Pharmaceuticals,      NON-DISCLOSURE
                                               Inc, d/b/a Bang       AGREEMENT, dated October
                                               Energy ("Bang")       09, 2020
Mark Caporale      21278 Calistoga Road        Vital                 Confidentiality & Non-
                   Middletown CA 95461         Pharmaceuticals,      Circumvention Agreement,
                                               Inc., d/b/a VPX       dated October 18, 2017
Marsh &            9171 Towne Centre Drive     Vital                 Mutual Non-Disclosure
McLennan           Suite 500 San Diego CA      Pharmaceuticals,      Agreement, dated January 08,
Agency LLC,        92122                       Inc.                  2019
d/b/a Marsh &
McLennan
Insurance
Agency LLC
Matchbox           10695 Dean Martin Drive     Vital                 CONFIDENTIALITY AND
Mobile, Inc.       USA Unit 1201 Las Vegas     Pharmaceuticals,      NON-DISCLOSURE
                   NV 89141                    Inc, d/b/a Bang       AGREEMENT, dated
                                               Energy ("Bang")       November 02, 2020
Mathias            5571 Bleaux Ave. Suite A    Vital                 CONFIDENTIALITY AND
Properties, Inc.   Springdale AR 72764         Pharmaceuticals,      NON-DISCLOSURE
                                               Inc, d/b/a Bang       AGREEMENT, dated
                                               Energy ("Bang")       September 09, 2020
Matt Dunwoody      4418 Shrewbury Pl           Vital                 Marketing Project X
                   Land O' Lakes, FL 34638     Pharmaceuticals,      Confidentiality and Non-
                                               Inc.                  Disclosure Agreement, dated
                                                                     October 13, 2021
Medisca Inc        661 Route 3 Unit C          Vital                 CONFIDENTIALITY AND
                   Plattsburgh NY 12901        Pharmaceuticals,      NON-DISCLOSURE
                                               Inc, d/b/a Bang       AGREEMENT, dated October
                                               Energy ("Bang")       26, 2021
Merieux            111 East Wacker Drive       Vital                 Confidentiality and Non-
NutriSciences      #2300 Chicago IL 60601-     Pharmaceuticals,      Disclosure Agreement, dated
Corporation        4214                        Inc. dba Bang         April 23, 2019
                                               Energy
Miami Apparel      8533 Franjo Rd Cutler Bay   Vital                 CONFIDENTIALITY AND
Group LLC          FL 33189                    Pharmaceuticals,      NON-DISCLOSURE
                                               Inc, d/b/a Bang       AGREEMENT
                                               Energy ("Bang")
Miami Flower       5846 S Flamingo Rd          Vital                 CONFIDENTIALITY AND
Walls, LLC         Cooper City FL 33330        Pharmaceuticals,      NON-DISCLOSURE
                                               Inc, d/b/a Bang       AGREEMENT, dated
                                               Energy ("Bang")       November 06, 2020
Michael Watson     3848 Aspen Leaf Dr          Vital                 CONFIDENTIALITY AND
                   Boynton Beach, FL 33436     Pharmaceuticals,      NON-DISCLOSURE
                                               Inc.



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 Counterparty
                     Counterparty Address              Debtor                  Description
    Name
                                                                      AGREEMENT, dated
                                                                      November 16, 2021
Micro Printing     2571 Northwest 4th Court     Vital                 CONFIDENTIALITY AND
Inc.               Fort Lauderdale FL 33311     Pharmaceuticals,      NON-DISCLOSURE
                                                Inc, d/b/a Bang       AGREEMENT, dated August
                                                Energy ("Bang")       03, 2020
Midwest            5001 S River Road West       Vital                 NonDisclosure Agreement,
Assembly,          Bend WI 53095                Pharmaceuticals,      dated July 06, 2018
Warehouse, &                                    Inc., d/b/a VPX
Distribution                                    Sports
LLC
Mike Schoeman      320 Via Villagio             Vital                 Vistor Non-Disclosure
                   Hypoluxo, FL 33462           Pharmaceuticals,      Agreement, dated October 31,
                                                Inc.                  2019
Milan              Via Aldo Rossi 8 Milan       Vital                 CONFIDENTIALITY AND
Entertainment      Milan 20149 Italy            Pharmaceuticals,      NON-DISCLOSURE
S.R.L                                           Inc, d/b/a Bang       AGREEMENT, dated January
                                                Energy ("Bang")       10, 2022
Milk Specialties   Flying Cloud Drive Suite     Vital                 Mutal Confidentiality and Non-
Company dba        500 Eden Prairie MN 55344    Pharmaceuticals,      Disclosure Agreement, dated
Milk Specialties                                Inc. dba VPX          June 03, 2016
Global                                          Sports
Mini               6332 Galleon Dr              Vital                 CONFIDENTIALITY AND
Investments        Mechanicsburg PA             Pharmaceuticals,      NON-DISCLOSURE
LLC                                             Inc, d/b/a Bang       AGREEMENT, dated January
                                                Energy ("Bang")       10, 2022
MKA Quadrat        Attn: Alexandrea Schlosser   Vital                 Confidentiality and Non-
GMBN               Nibelungenweg                Pharmaceuticals,      Disclosure Agreement , dated
                   11-13, D-50996 Koln          Inc., DBA Bang        March 03, 2019
                   Germany                      Energy
Molson Coors       137 High Street Burton       Vital                 CONFIDENTIALITY AND
Brewing            Upon Trent Staffordshire     Pharmaceuticals,      NON-DISCLOSURE
Company UK         DE14 1JZ, England            Inc, d/b/a Bang       AGREEMENT, dated
Limited D/B/A                                   Energy ("Bang")       November 11, 2020
Molson Coors
Beverage
Company
Monarq B.V.        Stargardlaan 1 1404          Vital                 CONFIDENTIALITY AND
                   Bussum The Netherlands       Pharmaceuticals,      NON-DISCLOSURE
                                                Inc, d/b/a Bang       AGREEMENT, dated
                                                Energy ("Bang")       September 14, 2021
Murray Market      6415 64th Street Delta BC    Vital                 CONFIDENTIALITY AND
Development        V4K4E2 Canada                Pharmaceuticals,      NON-DISCLOSURE
Inc.                                            Inc, d/b/a Bang       AGREEMENT, dated
                                                Energy ("Bang")       December 07, 2018
Muxie              Attn: Jeff Paolina 5120      Vital                 Confidentiality and Non-
Distributing Co.   Guernsey St. Bellaire OH     Pharmaceuticals,      Disclosure Agreement, dated
                   43906                        Inc., DBA             December 14, 2018
                                                VPX/Redline


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 Counterparty
                    Counterparty Address               Debtor                  Description
    Name
Najah Textile &   158 South Khailkur            Vital                 CONFIDENTIALITY AND
Garments Ltd.     National University Gazipur   Pharmaceuticals,      NON-DISCLOSURE
                  Bangladesh,                   Inc, d/b/a Bang       AGREEMENT
                                                Energy ("Bang")
National Dry      30 Arrow Road Toronto         Vital                 CONFIDENTIALITY AND
Company LTd.      Ontario M9M 2L7               Pharmaceuticals,      NON-DISCLOSURE
                                                Inc, d/b/a Bang       AGREEMENT, dated
                                                Energy ("Bang")       September 09, 2019
Nature's Way      164 Commerce Road             Vital                 CONFIDENTIALITY AND
Purewater         Pittson PA 18640              Pharmaceuticals,      NON-DISCLOSURE
Systems Inc.                                    Inc, d/b/a Bang       AGREEMENT, dated
d/b/a US                                        Energy ("Bang")       November 20, 2018
Hydrations
Nemont            Tim Jennings, President 174   Vital                 Non-Exclusive Distribution
Beverage          Mt Hwy 24 N Glasgow MT        Pharmaceuticals,      Agreement, dated September
Corporation       59230                         Inc.                  30, 2021
NFP Property &    500 West Madison Street       VItal                 Mutual Nondisclosure
Casualty          Suite 2710 Chicago, IL        Pharmaceuticals,      Agreement, dated January 07,
Services, Inc.    60661                         Inc. dba VPX          2016
Sports
Nor-Cal           2286 Stone Blvd. West         Vital                 Confidentiality Agreement,
Beverage Co.,     Sacramento CA 95691           Pharmaceuticals,      dated May 06, 2016
Inc.                                            Inc.
Novembal USA      8606 W Ludlow Dr Peoria       Vital                 CONFIDENTIALITY AND
Inc.              AZ 85381                      Pharmaceuticals,      NON-DISCLOSURE
                                                Inc, d/b/a Bang       AGREEMENT, dated January
                                                Energy ("Bang")       27, 2022
NutraSource,      6309 Morning Dew Court        Vital                 Confidentiality & Non-
Inc.              Clarksville MD 21029          Pharmaceuticals,      Circumvention Agreement,
                                                Inc., d/b/a VPX       dated December 03, 2015
Nutraveris        Siege Social 18C Rue du       Vital                 Non- Disclosure &
Consulting        Sabot Ploufragan 22440        Pharmaceuticals,      Confidentiality Agreement,
                  France                        Inc. dba VPX          dated March 31, 2016
Nutrition         Attn: Adolfo Graubard         Vital                 Addendum to Manufacturing,
Formulators,      14700 NW 60th                 Pharmaceuticals,      Confidentiality, and Non-
Inc.              Avenue Miami Lakes FL         Inc. d/b/a VPX        Compete Agreement
                  33014                         Sports
Nutritional       2151 Logan Street             Vital                 Non-Disclosure/Confidentiality
Laboratories,     Clearwater FL 33765           Pharmaceuticals,      Agreement, dated July 19, 2017
Inc.                                            Inc., d/b/a/
                                                VPX/REDLINE
Nutroganics,      6701 Democracy Boulevard      Vital                 Non Disclosure and
Inc.              Suite 300 Bethesda MD         Pharmaceuticals,      Confidentiality Agreement
                  20817                         Inc.
Nuveen Global     333 W. Wacker Drive           Vital                 NON-DISCLOSURE &
Investments,      Chicago IL 60606              Pharmaceuticals,      CONFIDENTIALITY
LLC                                             Inc., DBA Bang        AGREEMENT, dated October
                                                Energy                21, 2019




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 Counterparty
                     Counterparty Address              Debtor                  Description
     Name
Nuveen Global      333 W. Wacker Drive          Vital                 Confidentiality and Non-
Investments,       Chicago IL 60606             Pharmaceuticals,      Disclosure Agreement, dated
LLC                                             Inc., d/b/a Bang      October 14, 2019
                                                Energy
NV, LLC            417 Batesville Rd            Vital                 Subordination, Non-
                   Simpsonville SC 29681        Pharmaceuticals,      Disturbance and Attornment
                                                Inc. dba VPX          Agreement and Estoppel
                                                Sports                Certificate, dated March 14,
                                                                      2019
Oettinger          Brauhausstr. 8 Dettingen     Vital                 Confidentiality And Non-
Brauerei GmbH      86732 Germany                Pharmaceuticals,      Disclosure Agreement, dated
                                                Inc, d/b/a Bang       July 10, 2019
                                                Energy
One A LLC          2100 Corporate Drive         Vital                 CONFIDENTIALITY AND
d/b/a One A        Boynton Beach FL 33426       Pharmaceuticals,      NON-DISCLOSURE
Architechure                                    Inc, d/b/a Bang       AGREEMENT, dated
                                                Energy ("Bang")       December 04, 2019
OnHaskell I, LP    14093 Balboa Blvd Sylmar     Vital                 Non-Disclosure Agreement,
                   CA 91342                     Pharmaceuticals,      dated January 17, 2019
                                                Inc., d/b/a VPX
                                                Sports
Oril, Inc.         1850 82 Street Apartment     Vital                 CONFIDENTIALITY AND
                   3H Brooklyn NY 11214         Pharmaceuticals,      NON-DISCLOSURE
                                                Inc, d/b/a Bang       AGREEMENT, dated June 15,
                                                Energy ("Bang")       2020
Ortho-Nutra,       103 Meirs Road Cream         Vital                 Confidentiality and Material
LLC                Ridge NJ 08514               Pharmaceuticals,      Transfer Agreement, dated
                                                Inc., d/b/a VPX       June 14, 2017
                                                Sports
Osborne            Calle Salvatierra 6 Madrid   Vital                 Confidentiality and Non-
Distribuidora      28034 Spain                  Pharmaceuticals,      Disclosure Agreement, dated
SA                                              Inc., d/b/a Bang      June 15, 2020
                                                Energy
Oy Kopparberg      Tiilenpolttajankuja 5 A      Vital                 Confidentiality and Non-
Finland Ab         Vantaa 1720 Finland          Pharmaceuticals,      Disclosure Agreement, dated
                                                Inc., d/b/a Bang      2020
                                                Energy
Paca Foods,        5212 Cone Road Tampa FL      Vital                 Non-Disclosure &
LLC                3610-5302                    Pharmaceuticals,      Confidentiality Agreement,
                                                Inc. dba              dated February 02, 2016
                                                VPX/Redline
Pacific Western    2980 Enterprise St Brea CA   Vital                 Confidentiality and Non-
Sales              92821                        Pharmaceuticals,      Disclosure Agreement, dated
                                                Inc., d/b/a Bang      June 15, 2020
                                                Energy
Pan American       Puerto Rica 9 Claudia St     Vital                 Confidentiality and Non-
Properties Corp.   Amelia Industrial Park       Pharmaceuticals,      Disclosure Agreement, dated
                   Guaynabo 00968 Puerto        Inc., d/b/a Bang      2021
                   Rico                         Energy



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 Counterparty
                    Counterparty Address                Debtor                  Description
    Name
PanTheryx, Inc    2235 South Central Ave         Vital                 Confidentiality and Non-
                  Phoenix AZ 85004               Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      August 01, 2021
                                                 Energy
Panway            Unit 622, Bldg 4 No. 142       Vital                 Confidentiality and Non-
International     Gaozhai Rd Fuuzhou Fujian      Pharmaceuticals,      Disclosure Agreement, dated
Limited           China                          Inc., d/b/a Bang      2020
                                                 Energy
Patken Corp.      2600 NW 55th Ct #237 Fort      Vital                 Confidentiality and Non-
DBA               Lauderdale FL 33309            Pharmaceuticals,      Disclosure Agreement, dated
Everlasting                                      Inc., d/b/a Bang      September 14, 2021
Embroidery                                       Energy
Patrick Doliny    14531 SW 24th St               Vital                 Marketing Project X
                  Davie, FL 33325                Pharmaceuticals,      Confidentiality and Non-
                                                 Inc.                  Disclosure Agreement, dated
                                                                       June 17, 2021
Patrick J. Doliny 14531 SW 24th St Davie FL      Vital                 Confidentiality and Non-
                  33325                          Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc.                  November 03, 2021
Penske Truck      2675 Morgantown Rd             Vital                 Confidentiality and Non-
Leasing Co.,      Reading PA 19607               Pharmaceuticals,      Disclosure Agreement, dated
L.P.                                             Inc., d/b/a Bang      August 04, 2021
                                                 Energy
Pepsi Northwest   3003 Rw Johnson                Vital                 Non-Disclosure/Confidentiality
Beverages, LLC    Boulevard Turnwater WA         Pharmaceuticals,      Agreement, dated June 30,
                  98512                          Inc., d/b/a/          2017
                                                 VPX/REDLINE
Perfect Shaker,   919 North Market Street        Vital                 CONFIDENTIALITY AND
Inc.              Suite 950 Wilmington DE        Pharmaceuticals,      NON-DISCLOSURE
                  19801                          Inc., d/b/a Bang      AGREEMENT, dated July 10,
                                                 Energy ("Bang")       2020
Peter Cinieri     8069 Clear Shores Circle       Vital                 Vistor Non-Disclosure
                  Delray Beach, FL 33446         Pharmaceuticals,      Agreement, dated September
                                                 Inc.                  19, 2019
Pharmacenter      15851 SW 41st St Davie FL      Vital                 CONFIDENTIALITY AND
LLC               33331                          Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated
                                                 Energy ("Bang")       September 04, 2020
PHD               37 Bentley Street Wetherill    Vital                 Confidentiality and Non-
Corporation Ptd   Park New South Wales           Pharmaceuticals,      Disclosure Agreement, dated
Ltd t/a           2164 Australia                 Inc. dba Bang         July 16, 2019
Performance                                      Energy
Health
Distribution
PoliteMail        Attn Legal Notice 300          Vital                 Confidentiality Agreement,
Software          Constitution Ave., Suite 200   Pharmaceuticals,      dated November 04, 2020
                  Portsmouth NH 03801            Inc.




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 Counterparty
                    Counterparty Address               Debtor                  Description
      Name
PR Lewis          c/o PGIM Real Estate Attn:    Vital                 Mutual Non-Disclosure
Business Center   PRISA Asset Manager 4         Pharmaceuticals,      Agreement, dated January 18,
II, LLC           Embarcadero Center Suite      Inc., d/b/a VPX       2019
                  2700 San Francisco CA         Sports
                  94111
Premier           3900 Produce Rd.              Vital                 CONFIDENTIALITY AND
Packaging LLC     Louisville KY 40218           Pharmaceuticals,      NON-DISCLOSURE
                                                Inc., d/b/a Bang      AGREEMENT, dated October
                                                Energy ("Bang")       26, 2021
Presidio           12100 Sunset Hills Road,     Vital                 Visit Non-Disclosure
                  Suite 300,                    Pharmaceuticals,      Agreement, dated October 31,
                  Reston, VA 20190-3295         Inc., d/b/a VPX       2019
Presidio          12100 Sunset Hills Road       Vital                 CONFIDENTIALITY AND
Networked         Suite 300 Reston VA           Pharmaceuticals,      NON-DISCLOSURE
Solutions LLC     20190-3295                    Inc., d/b/a Bang      AGREEMENT, dated
                                                Energy ("Bang")       November 05, 2019
Prinova           No.5, LingXiang Road          Vital                 CONFIDENTIALITY AND
(Changzhou)       Wujin Economic Zone           Pharmaceuticals,      NON-DISCLOSURE
Solutions Co.,    Changzhou Jiangsu 213149      Inc., d/b/a Bang      AGREEMENT, dated October
Ltd               CN                            Energy ("Bang")       26, 2021
Prinova Europe    10 Aldersgate Street          Vital                 Confidentiality & Non-
Limited           London EC1A 4HJ England       Pharmaceuticals,      Circumvention Agreement,
                                                Inc., d/b/a VPX       dated September 21, 2017
Prinova US        285 E Fullerton Avenue        Vital                 Confidentiality & Non-
LLC               Carol Stream IL 60188         Pharmaceuticals,      Circumvention Agreement,
                                                Inc. dba VPX          dated September 05, 2017
Prinova US        285 E. Fullerton Ave. Carol   Vital                 CONFIDENTIALITY AND
LLC, d/b/a        Stream IL 60188               Pharmaceuticals,      NON-DISCLOSURE
Prinova USA                                     Inc., d/b/a Bang      AGREEMENT, dated May 24,
                                                Energy ("Bang")       2019
Prinova US        Attn: Roberto Elias 285 E.    Vital                 CONFIDENTIALITY AND
LLC, d/b/a        Fullerton Ave. Carol Stream   Pharmaceuticals,      NON-DISCLOSURE
Prinova USA       IL 60188                      Inc., DBA Bang        AGREEMENT, dated May 24,
("Prinova")                                     Energy                2019
Pri-Pak, Inc.     2000 Schenley Place           Vital                 Confidentiality & Non-
                  Greendale IN 47025            Pharmaceuticals,      Circumvention Agreement,
                                                Inc., d/b/a VPX       dated November 17, 2017
Process Brand     Building 1 - 2201 No.735      Vital                 CONFIDENTIALITY AND
Evolution Ltd.    Liyang Road Hong Kou          Pharmaceuticals,      NON-DISCLOSURE
                  District Shanghai 200080      Inc., d/b/a Bang      AGREEMENT, dated May 24,
                  CN                            Energy ("Bang")       2019
Productos de      Milla 8 Via Transistmica      Vital                 CONFIDENTIALITY AND
Prestigio, S.A.   Omar Torrijos San             Pharmaceuticals,      NON-DISCLOSURE
                  Miguelito Parque Industrial   Inc., d/b/a Bang      AGREEMENT, dated February
                  Correagua Panama City PA      Energy ("Bang")       03, 2022
PROFESSIONA       320 W 37th Street 14th        Vital                 CONFIDENTIALITY AND
L FIGHTERS        Floor New York NY 10018       Pharmaceuticals,      NON-DISCLOSURE
LEAGUE                                          Inc., d/b/a Bang      AGREEMENT, dated
                                                Energy ("Bang")       November 09, 2021



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 Counterparty
                   Counterparty Address              Debtor                  Description
    Name
Promixx, Ltd.    Unit 3 Freemans Parc         Vital                 CONFIDENTIALITY AND
                 Penarth Road Cardiff CF11    Pharmaceuticals,      NON-DISCLOSURE
                 8EQ GB                       Inc., d/b/a Bang      AGREEMENT, dated 2020
                                              Energy ("Bang")
PS Business      Attn: Leasing 2316 Walsh     Vital                 Confidentiality Agreement,
Parks, L.P.      Avenue Santa Clara CA        Pharmaceuticals,      dated March 20, 2018
                 95051                        Inc.
PS Business      Attn: Leasing 2316 Walsh     Vital                 Confidentiality Agreement,
Parks, LP        Avenue Santa Clara CA        Pharmaceuticals,      dated March 20, 2018
                 95051                        Inc.
Publigraphic,    8430 Northwest 61st Street   Vital                 CONFIDENTIALITY AND
LLC              Miami FL 33166               Pharmaceuticals,      NON-DISCLOSURE
                                              Inc., d/b/a Bang      AGREEMENT, dated August
                                              Energy ("Bang")       10, 2020
Publix Super     3300 Publix Corporate        Vital                 Continuing Guaranty and
Market Inx       Parkway Lakeland FL          Pharmaceuticals,      Indemnity Agreement/
                 33811                        Inc.                  Standard Non Disclosure
                                                                    Agreement, dated March 15,
                                                                    2017
Purple Mood      1505 E Robinson Street       Vital                 Non-Disclosure &
Media, LLC       Orlando 32801                Pharmaceuticals,      Confidentiality Agreement,
                                              Inc. dba              dated November 07, 2016
                                              VPX/Redline
Quality          Rehmat Pura, Kothay Bhiko    Vital                 CONFIDENTIALITY AND
Professional     Chore Sialkot Sialkot        Pharmaceuticals,      NON-DISCLOSURE
("Quality        Pakistan                     Inc., DBA Bang        AGREEMENT
Professional")                                Energy
Quality          Attn: Hifza Ali, Rehmat      Vital                 CONFIDENTIALITY AND
Professional     Pura, Kothay Bhiko Chore     Pharmaceuticals,      NON-DISCLOSURE
(“Quality        Sialkot Sialkot Pakistan     Inc., DBA Bang        AGREEMENT, dated July 16,
Professional”)                                Energy                2020
R.R. Donnelley   35 W. Wacker Dr Chicago      Vital                 CONFIDENTIALITY AND
& Sons           IL 60601                     Pharmaceuticals,      NON-DISCLOSURE
                                              Inc., DBA Bang        AGREEMENT, dated
                                              Energy                September 04, 2020
R.R. Donnelley   35 W. Wacker Dr Chicago      Vital                 CONFIDENTIALITY AND
& Sons           IL 60601                     Pharmaceuticals,      NON-DISCLOSURE
Company ("R.R.                                Inc., DBA Bang        AGREEMENT, dated
Donnelley &                                   Energy                September 10, 2020
Sons")
RAPID            Simon St. Ledger, Chief      Vital                 Confidentiality and Non-
NUTRITION        Executive Officer,           Pharmaceuticals,      Disclosure Agreement, dated
PTY LTD          Managing Director and        Inc., d/b/a Bang      November 22, 2018
                 Executive Director 40-46     Energy
                 Nestor Drive Meadowbrook
                 QLD 4131 Australia
RAPID            Attn: Simon St. Ledger 40-   Vital                 CONFIDENTIALITY AND
NUTRITION        46 Nestor Drive,             Pharmaceuticals,      NON-DISCLOSURE
                                                                    AGREEMENT



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 Counterparty
                     Counterparty Address              Debtor                  Description
    Name
PTY LTD            Meadowbrook Qld 4131         Inc., DBA Bang
(RAPID)            Australia                    Energy

REACH24H           Attn: Crystal Yang 14th      Vital                 CONFIDENTIALITY AND
Consulting         floor, Building 3,           Pharmaceuticals,      NON-DISCLOSURE
Group              Haichuang Technology         Inc., DBA Bang        AGREEMENT, dated July 01,
(“REACH24H”)       Center 1288 West Wenyi       Energy                2021
                   Road Hangzhou 311121
                   China
REACH24H           Attn: Crystal Yang 14th      Vital                 CONFIDENTIALITY AND
Consulting         floor, Building 3,           Pharmaceuticals,      NON-DISCLOSURE
Group              Haichuang Technology         Inc., DBA Bang        AGREEMENT
(REACH24H)         Center 1288 West Wenyi       Energy                , dated July 01, 2021
                   Road Hangzhou 311121
                   China
Real Madrid        Avenida de las Fuerzas       Vital                 Non-Disclousure Agreement,
Club De Futbol     Armadas 402,                 Pharmaceuticals,      dated June 22, 2020
                   Madrid, Spain 28055          Inc. DBA Bang
                                                Energy
Reddy Atury        Reddy Prasanna               Vital                 Marketing Project X
                   (reddy.atury_v@bangenerg     Pharmaceuticals,      Confidentiality and Non-
                   y.com)                       Inc.                  Disclosure Agreement, dated
                                                                      June 30, 2021
Regents Capital    3200 Park Center Drive       Vital                 Confidentiality Agreement,
Corporation        Suite 250 Costa Mesa CA      Pharmaceuticals,      dated January 12, 2016
                   92626                        Inc., d/b/a VPX
                                                Sports
Related            Attn: Ed Antos 7740 N.       Vital                 CONFIDENTIALITY AND
Services,          16th                         Pharmaceuticals,      NON-DISCLOSURE
Inc. d/b/a Jani-   Street Suite 110 Phoenix     Inc., DBA Bang        AGREEMENT, dated
King of Phoenix    AZ 85020                     Energy                November 07, 2019
(“Related”)
Resource Label     147 Seaboard Lane Franklin   Vital                 Confidentiality and Non-
Group, LLC         TN 37067                     Pharmaceuticals,      Disclosure Agreement, dated
                                                Inc. dba Bang         October 20, 2020
                                                Energy
Resource Label     147 Seaboard Lane Franklin   Vital                 CONFIDENTIALITY AND
Group, LLC         TN 37067                     Pharmaceuticals,      NON-DISCLOSURE
(RLG)                                           Inc., DBA Bang        AGREEMENT
                                                Energy
Resource Label     147 Seaboard Lane Franklin   Vital                 CONFIDENTIALITY AND
Group, LLC         TN 37067                     Pharmaceuticals,      NON-DISCLOSURE
(“RLG”)                                         Inc., DBA Bang        AGREEMENT, dated October
                                                Energy                15, 2020
Retal PA, LLC      Admir Dobraca, CEO &         Vital                 Confidentiality and Non-
                   President 55 South           Pharmaceuticals,      Disclosure Agreement, dated
                   Washington Street Donora     Inc., d/b/a Bang      June 04, 2019
                   PA 15033                     Energy



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 Counterparty
                    Counterparty Address              Debtor                  Description
     Name
Retal PA, LLC     Attn: Admir Dobraca 55       Vital                 CONFIDENTIALITY AND
("RPA")           South Washington Street      Pharmaceuticals,      NON-DISCLOSURE
                  Donora PA 15033              Inc., DBA Bang        AGREEMENT, dated June 04,
                                               Energy                2019
Rexford           11620 Wilshire Boulevard     Vital                 Standard Confidentiality and
Industrial        Suite 1000 Los Angeles CA    Pharmaceuticals,      Nondisclosure Agreement,
Realty, Inc.      90025                        Inc.                  dated July 28, 2017
RFA Regulatory    2nd Floor 98 Glebe Point     Vital                 Confidentiality and Non-
Affairs           Road Glebe Sydney NSW        Pharmaceuticals,      Disclosure Agreement, dated
                  2037 Australia               Inc. dba Bang         August 30, 2018
                                               Energy
RG Refresco       San Pablo Xochimehuacan      Vital                 CONFIDENTIALITY AND
Embotelladora     Puebla 72014 Mexico          Pharmaceuticals,      NON-DISCLOSURE
de México, S.A.                                Inc., DBA Bang        AGREEMENT, dated July 08,
de C.V.                                        Energy                2021
("Refresco")
RG Refresco       De los Palos No. 35 San      Vital                 CONFIDENTIALITY AND
Embotelladora     Pablo Xochimehuacan          Pharmaceuticals,      NON-DISCLOSURE
de Mxico, S.A.    Puebla Puebla 72014          Inc., DBA Bang        AGREEMENT, dated July 07,
de C.V.           Mexico                       Energy                2021
(Refresco)
Richmond          2750 Northaven Rd Ste 202    Vital                 CONFIDENTIALITY AND
Communication     Dallas TX 75229-7057         Pharmaceuticals,      NON-DISCLOSURE
s Group, Inc                                   Inc., DBA Bang        AGREEMENT
(RCG)                                          Energy
Rival Graphix     2903 9th St West Bradenton   Vital                 CONFIDENTIALITY AND
LLC ("Rival       Bradenton FL 34205           Pharmaceuticals,      NON-DISCLOSURE
Graphix")                                      Inc., DBA Bang        AGREEMENT, dated
                                               Energy                December 21, 2021
Robert Reiset &   725 Dedham Street Canton     Vital                 Mutual Non-Disclosure
Co., Inc.         MA 02021                     Pharmaceuticals,      Agreement, dated August 09,
                                               Inc.                  2019
RSM US LLP        80 State Street Albany NY    Vital                 CONFIDENTIALITY AND
(RSM)             12207-2543                   Pharmaceuticals,      NON-DISCLOSURE
                                               Inc., DBA Bang        AGREEMENT
                                               Energy
Runyon            8905 W Post Road Suite       Vital                 CONFIDENTIALITY AND
Insurance         210 Las Vegas NV 89148       Pharmaceuticals,      NON-DISCLOSURE
Services, LLC                                  Inc., DBA Bang        AGREEMENT, dated June 23,
("RIS")                                        Energy                2020
Runyon            8905 W Post Road Suite       Vital                 MUTUAL NON-
Insurance         210 Las Vegas NV 89148       Pharmaceuticals,      DISCLOSURE
Services, LLC                                  Inc., DBA Bang        AGREEMENT, dated
(RIS)                                          Energy                December 12, 2019
SA                3031 Tisch Way, 110 Plaza    Vital                  CONFIDENTIALITY AND
Technologies      West San Jose CA 95128       Pharmaceuticals,      NON-DISCLOSURE
Inc (SAT)                                      Inc., DBA Bang        AGREEMENT, dated January
("SAT")                                        Energy                27, 2022




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 Counterparty
                     Counterparty Address               Debtor                  Description
      Name
SA                 3031 Tisch Way, 110 Plaza     Vital                  CONFIDENTIALITY AND
Technologies       West San Jose CA 95128        Pharmaceuticals,      NON-DISCLOSURE
Inc (SAT)                                        Inc., DBA Bang        AGREEMENT, dated January
(“SAT”)                                          Energy                27, 2022
Santorian, LLC     11 Bala Avenue Bala           Vital                  CONFIDENTIALITY AND
d/b/a              Cynwyd PA 19004               Pharmaceuticals,      NON-DISCLOSURE
LegalBillRevie                                   Inc., DBA Bang        AGREEMENT, dated October
w.com                                            Energy                04, 2021
(Santorian,
LLC)
SCG &              4001 S.W. 47TH Avenue         Vital                 CONFIDENTIALITY AND
Associates, Inc.   Suite 202 Davie FL 33314      Pharmaceuticals,      NON-DISCLOSURE
D/B/A Team                                       Inc., d/b/a Bang      AGREEMENT, dated 2020
SCG                                              Energy ("Bang")
SCG &              4001 S.W. 47TH Avenue         Vital                 CONFIDENTIALITY AND
Associates, Inc.   Suite 202 Davie FL 33314      Pharmaceuticals,      NON-DISCLOSURE
D/B/A Team                                       Inc., DBA Bang        AGREEMENT, dated October
SCG ("Team                                       Energy                27, 2020
SCG")
Scientific         4978 Yonge St Toronto ON      Vital                 CONFIDENTIALITY AND
Editing            M2N 7GE CA                    Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated October
                                                 Energy ("Bang")       05, 2021
Scotlynn USA       9597 Gulf Research Lane       Vital                 CONFIDENTIALITY AND
Division           Fort Myers FL 33912           Pharmaceuticals,      NON-DISCLOSURE
                                                 Inc., d/b/a Bang      AGREEMENT, dated October
                                                 Energy ("Bang")       28, 2021
SDC Nutrition      170 Industry Drive            Vital                 Confidentiality & Non-
                   Pittsburgh PA 15275           Pharmaceuticals,      Circumvention Agreement,
                                                 Inc.                  dated February 12, 2015
Servicio           Avenida Paseo De La           Vital                 Confidentiality and Non-
Automotriz         Reforma 42 Centro             Pharmaceuticals,      Disclosure Agreement, dated
Heca, S.A. DE      Cuauhtemoc Ciudad de          Inc. dba Bang         January 07, 2022
C.V.               Mexcio 06040 MX               Energy
SG Gateway         Super Park Precinct, Corner   Vital                 Confidentiality & Non-
Services           of Brollo & Barbara Roads,    Pharmaceuticals,      Disclosure Agreement, dated
                   Isando, Kempton Park,         Inc., d/b/a Bang      July 15, 2019
                   Johannesburg South Africa     Energy ("Bang")
Shaanxi Cuiying    Suite 1-602 Building 4        Vital                 CONFIDENTIALITY AND
Biological         Jiaheyuan North Houji         Pharmaceuticals,      NON-DISCLOSURE
Company, Ltd       Road Yangling City            Inc., d/b/a Bang      AGREEMENT, dated January
                   Shaanxi CN                    Energy ("Bang")       26, 2022
Shandong           Gaotang County Liaocheng      Vital                 CONFIDENTIALITY AND
Gaotang JBS        City Shandong CN              Pharmaceuticals,      NON-DISCLOSURE
Bioengineering                                   Inc., d/b/a Bang      AGREEMENT, dated June 09,
Co., Ltd.                                        Energy ("Bang")       2019
Shanghai           Lange Kleiweg 52H             Vital                 CONFIDENTIALITY AND
Freemen Europe     Rijswijk 2288GK NL            Pharmaceuticals,      NON-DISCLOSURE
B.V.



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 Counterparty
                    Counterparty Address               Debtor                  Description
    Name
                                                Inc., d/b/a Bang      AGREEMENT, dated
                                                Energy ("Bang")       December 02, 2020

Shanghai          Lane 633 Lianxing Road        Vital                 CONFIDENTIALITY AND
Handim            Pudong Shanghai 201201        Pharmaceuticals,      NON-DISCLOSURE
Chemical Co.,     CN                            Inc., d/b/a Bang      AGREEMENT, dated July 30,
LTD                                             Energy ("Bang")       2021
Shanghai Kenda    Building 7, No.8868           Vital                 CONFIDENTIALITY AND
Textile Co. Ltd   Chuannanfeng Road             Pharmaceuticals,      NON-DISCLOSURE
                  Fengcheng Town Fengxian       Inc., d/b/a Bang      AGREEMENT, dated 2020
                  Shanghai CN                   Energy ("Bang")
Shenzhen          Bantian Group commercial      Vital                 CONFIDENTIALITY AND
Kinggaund         center, 4/F Bantian Town      Pharmaceuticals,      NON-DISCLOSURE
Namplate Co.      Longgang Dafapu               Inc., d/b/a Bang      AGREEMENT, dated 2020
Ltd               community Shenzhen CN         Energy ("Bang")
Shenzhen          Bantian Group commercial      Vital                 CONFIDENTIALITY AND
Kinggaund         center, 4/F Bantian Town      Pharmaceuticals,      NON-DISCLOSURE
Namplate Co.      Longgang Dafapu               Inc., d/b/a Bang      AGREEMENT, dated July 15,
Ltd               community Shenzhen CN         Energy ("Bang")       2020
Sino Goods        Yatai Caifu Center Level 26   Vital                 CONFIDENTIALITY AND
IMP. & EXP.       Hutang Wujin Changzhou        Pharmaceuticals,      NON-DISCLOSURE
                  Jiangsu CN                    Inc., d/b/a Bang      AGREEMENT, dated 2020
                                                Energy ("Bang")
Sleeve Seal,      14000 Dineen Drive Little     Vital                 CONFIDENTIALITY AND
LLC               Rock AR 72206                 Pharmaceuticals,      NON-DISCLOSURE
                                                Inc., d/b/a Bang      AGREEMENT, dated June 17,
                                                Energy ("Bang")       2021
SLIMSTOCK         JBC 1, Jumeriah Lake          Vital                 CONFIDENTIALITY AND
PARTICIPATI       Towers 29th Floor Cluster     Pharmaceuticals,      NON-DISCLOSURE
ONS B.V.          G Dubai UAE                   Inc., d/b/a Bang      AGREEMENT, dated
                                                Energy ("Bang")       December 10, 2018
Socius            Attn: Legal Department        Vital                 Non-Disclosure/Confidentiality
Ingredients,      1033 University Place Suite   Pharmaceuticals,      Agreement, dated February 12,
LLC               110 Evanston IL 60201         Inc., d/b/a/          2018
                                                VPX/REDLINE
Solugen           14549 Minetta St. Houston     Vital                 CONFIDENTIALITY AND
Blending LLC      TX 77035                      Pharmaceuticals,      NON-DISCLOSURE
                                                Inc., d/b/a Bang      AGREEMENT, dated June 03,
                                                Energy ("Bang")       2021
South State       Simpsonville Five Forks       Vital                 Subordination, Non-
Bank              520 Gervais Street PO Box     Pharmaceuticals,      Disturbance and Attornment
                  100113 Columbia SC            Inc. dba VPX          Agreement and Estoppel
                  29202-3113                    Sports                Certificate, dated March 14,
                                                                      2019
Southeast         15340 Citrus Country Drive    Vital                 Confidentiality & Non-
Bottling &        Dade City FL 33523            Pharmaceuticals,      Circumvention Agreement,
Beverage                                        Inc., d/b/a VPX       dated August 23, 2017
Company



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 Counterparty
                     Counterparty Address             Debtor                  Description
    Name
SP Drinks &        1564 Setor B Brazil         Vital                 CONFIDENTIALITY AND
Food LTDA          Alameda Itajuba Valinhos    Pharmaceuticals,      NON-DISCLOSURE
                   Joapiranga SP BR            Inc., d/b/a Bang      AGREEMENT, dated
                                               Energy ("Bang")       December 15, 2021
Speed Ego          11-KM, Zafarwal Road        Vital                 CONFIDENTIALITY AND
International      Ratta Arraian Opp Sialkot   Pharmaceuticals,      NON-DISCLOSURE
                   PK                          Inc., d/b/a Bang      AGREEMENT, dated
                                               Energy ("Bang")       November 03, 2020
Speedway, LLC      500 Speedway Drive Enon     Vital                 CONFIDENTIALITY AND
                   OH 45323                    Pharmaceuticals,      NON-DISCLOSURE
                                               Inc., d/b/a Bang      AGREEMENT, dated August
                                               Energy ("Bang")       20, 2020
Splash 4           3435 Reagans Way            Vital                 Non Disclosure and
Partners, LLC      Zanesville OH 43701         Pharmaceuticals,      Confidentiality Agreement,
                                               Inc.                  dated February 05, 2015
SportShaker,       601 S Main Street           Vital                 CONFIDENTIALITY AND
LLC.               Schulenburg TX 78956        Pharmaceuticals,      NON-DISCLOSURE
                                               Inc., d/b/a Bang      AGREEMENT, dated July 07,
                                               Energy ("Bang")       2020
Squire Patton      148 Edumund Street          Vital                 CONFIDENTIALITY AND
Boggs (UK)         Rutland House Birmingham    Pharmaceuticals,      NON-DISCLOSURE
LLP                B3 2JR UK                   Inc., d/b/a Bang      AGREEMENT, dated April 14,
                                               Energy ("Bang")       2019
St. Onge           1400 Williams Road York     Vital                 Confidentiality & Non-
Company            PA 17402                    Pharmaceuticals,      Disclosure Agreement, dated
                                               Inc., d/b/a Bang      October 17, 2019
                                               Energy ("Bang")
Standard Sales,    440 Produce Road            Vital                 Confidentiality & Non-
LP                 Louisville KY 40219         Pharmaceuticals,      Disclosure Agreement, dated
                                               Inc., d/b/a Bang      November 01, 2019
                                               Energy ("Bang")
States Logistics   5650 Dolly Avenue Buena     Vital                 Confidentiality & Non-
Services, Inc.     Park CA 90621               Pharmaceuticals,      Disclosure Agreement, dated
                                               Inc., d/b/a Bang      July 13, 2021
                                               Energy ("Bang")
Steve Aoki         9100 Wilshire Boulevard     Vital                 CONFIDENTIALITY & NON-
(“Aoki”)           Suite 100W Beverly Hills    Pharmaceuticals,      DISCLOSURE
                   CA 90212                    Inc., DBA Bang        AGREEMENT, dated February
                                               Energy                08, 2019
StockBagDepot.     5418 Schaefer Ave. Chino    Vital                 Confidentiality & Non-
com                CA 91710                    Pharmaceuticals,      Disclosure Agreement
                                               Inc., d/b/a Bang
                                               Energy ("Bang")
Stolle             6949 South Potomac Street   Vital                 Mutual Non-Disclosure
Machinery          Centennial CO 80112         Pharmaceuticals,      Agreement, dated December
Company, LLC                                   Inc., d/b/a VPX       14, 2018
                                               Sports




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 Counterparty
                      Counterparty Address              Debtor                  Description
     Name
Sulicor S.A.S.      KM 1.5 VIA FUNZA             Vital                 Confidentiality & Non-
                    SIBERIA BD 10 PAR.           Pharmaceuticals,      Disclosure Agreement, dated
                    Industrial San Diego Funza   Inc., d/b/a Bang      October 13, 2021
                    25286 Columbia               Energy ("Bang")
Summit              211 Washington Avenue        Vital                 Confidentiality & Non-
Beverage            Marion VA 24354              Pharmaceuticals,      Circumvention Agreement,
Group, LLC                                       Inc., d/b/a VPX       dated December 31, 2017
Sun-Pac             602 N. Newport Avenue        Vital                 Manufacturing, Confidentiality,
Manufacturing,      Tampa FL 33606               Pharmaceuticals,      and Non-Compete Agreement
Inc.                                             Inc. d/b/a VPX
                                                 Sports
Superior        22 Grimes Court Derrimut         Vital                 Confidentiality & Non-
Supplements Pty VIC 3030 Australia               Pharmaceuticals,      Circumvention Agreement,
Ltd.                                             Inc., d/b/a VPX       dated April 18, 2018
                                                 Sports
Tactix Group        6300 North Federal           Vital                 Confidentiality & Non-
Inc., d/b/a Sklar   Highway Boca Raton FL        Pharmaceuticals,      Disclosure Agreement, dated
Furnishings         33487                        Inc., d/b/a Bang      October 18, 2019
                                                 Energy ("Bang")
Takasago            Industriestrasse 53909       Vital                 Confidentiality & Non-
Europe GmbH         Zülpich Germany              Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      December 01, 2020
                                                 Energy ("Bang")
Takasago            5 Sunview Road 627616        Vital                 Confidentiality & Non-
International (S)   Singapore                    Pharmaceuticals,      Disclosure Agreement, dated
Pte Ltd                                          Inc., d/b/a Bang      November 02, 2021
                                                 Energy ("Bang")
Takasago            4 Volvo Drive Rockleigh      Vital                 Confidentiality & Non-
International       NJ 07647                     Pharmaceuticals,      Disclosure Agreement, dated
Corp. USA                                        Inc., d/b/a Bang      September 13, 2021
                                                 Energy ("Bang")
TCS Group, Inc.     3922 Coral Ridge Drive       Vital                 Confidentiality & Non-
                    Coral Springs FL 33065       Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      September 04, 2020
                                                 Energy ("Bang")
Technology          1920 E Hallandale Blvd.      Vital                 Confidentiality & Non-
Transfer            Hallandale Beach FL 33009    Pharmaceuticals,      Disclosure Agreement, dated
Corporation                                      Inc., d/b/a Bang      June 15, 2020
                                                 Energy ("Bang")
Templeton &         222 Lakeview Avenue Suite    Vital                 Confidentiality & Non-
Company, LLC.       1200 West Palm Beach FL      Pharmaceuticals,      Disclosure Agreement, dated
                    33401                        Inc., d/b/a Bang      February 27, 2019
                                                 Energy ("Bang")
Tetra Financial     AvTech Capital - Tetra       Vital                 Confidentiality Agreement,
Group, LLC          Financial Group, LLC         Pharmaceuticals,      dated January 11, 2016
                    PO Box 7551                  Inc.
                    Convington, WA 98042-
                    0044




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 Counterparty
                    Counterparty Address              Debtor                  Description
     Name
Tetra Pak, Inc.   3300 Airport Road Denton     Vital                 Mutual Confidentiality
                  TX 76207                     Pharmaceuticals,      Agreement, dated October 17,
                                               Inc. dba VPX          2018
                                               Sports
Texas A&M         Attn: Dr. Bukuo Ni 2200      Vital                 Confidential Service
University        Campbell Street Commerce     Pharmaceuticals,      Agreement, dated November
Commerce          TX 75428                     Inc.                  04, 2016
The Alliance      5290 Overpass Road Suite     Vital                 Confidentiality & Non-
Group             122 Santa Barbara CA         Pharmaceuticals,      Disclosure Agreement, dated
                  93111                        Inc., d/b/a Bang      November 30, 2021
                                               Energy ("Bang")
The Cansultants   6895 Counselors Way          Vital                 Confidentiality & Non-
LLC               Alpharetta GA 30005          Pharmaceuticals,      Disclosure Agreement, dated
                                               Inc., d/b/a Bang      September 06, 2019
                                               Energy ("Bang")
The Cansultants   6895 Counselors Way          Vital                 Confidentiality & Non-
LLC               Alpharetta GA 30005          Pharmaceuticals,      Disclosure Agreement, dated
                                               Inc., d/b/a Bang      September 09, 2019
                                               Energy ("Bang")
The Center for    6570 Seville Dr, Canfield    Vital                 Confidentiality and Non-
Applied Health    OH 44406                     Pharmaceuticals,      Disclosure Agreement, dated
Sciences, LLC                                  Inc., d/b/a Bang      December 15, 2021
                                               Energy
The Firestone     3205 Saint James Drive       Vital                 Non-Disclosure/Confidentiality
Group Inc.        Boca Raton FL 33434          Pharmaceuticals,      Agreement, dated June 09,
                                               Inc., d/b/a/          2017
                                               VPX/REDLINE
The Haskell       Keith Perkey 111 Riverside   Vital                 Confidentiality and Non-
Company           Ave. Jacksonville FL 32202   Pharmaceuticals,      Disclosure Agreement, dated
                                               Inc., d/b/a Bang      June 12, 2019
                                               Energy
The HB Group,     15892 S Rockwell Park        Vital                 Confidentiality and Non-
LLC               Cove Herriman UT 84096       Pharmaceuticals,      Disclosure Agreement, dated
                                               Inc. dba Bang         July 07, 2020
                                               Energy
The Heineken      R. Olimpiadas, 205 - Itaim   Vital                 Confidentiality and Non-
Company ,         Bibi Sao Paulo - SP 04546-   Pharmaceuticals,      Disclosure Agreement, dated
Brazil            004 Brazil                   Inc., d/b/a Bang      December 21, 2021
                                               Energy
The Heineken      Rafael Rizzi, Director of    Vital                 Confidentiality and Non-
Company           Business Strategy R.         Pharmaceuticals,      Disclosure Agreement, dated
,Brazil           Olimpiadas, 205 - Itaim      Inc., d/b/a Bang      December 21, 2021
                  Bibi Sao Paulo - SP 04546-   Energy
                  004 Brazil
The Noel          Mike Sutton, Contract        Vital                 Confidentiality and Non-
Corporation       Packaging Manager 1001 S.    Pharmaceuticals,      Disclosure Agreement, dated
                  1st Street Yakima WA         Inc., d/b/a Bang      May 22, 2019
                  98901-3403                   Energy




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 Counterparty
                    Counterparty Address               Debtor                  Description
     Name
The Probst        17035 West Wisconsin          Vital                 Confidentiality and Non-
Group             Avenue Suite 120              Pharmaceuticals,      Disclosure Agreement, dated
                  Brookfield WI 53005           Inc., d/b/a Bang      September 14, 2020
                                                Energy
The Superlative   2843 Franklin Blvd.           Vital                 CONFIDENTIALITY
Group, Inc,       Cleveland OH 44113            Pharmaceuticals,      AGREEMENT, dated
                                                Inc DBA Bang          December 19, 2019
                                                Eneregy
Thermo-Pak,       Jeff Simpson, GM 360          Vital                 Confidentiality and Non-
Co.               Balm Court Wood Dale IL       Pharmaceuticals,      Disclosure Agreement, dated
                  60191                         Inc., d/b/a Bang      July 30, 2020
                                                Energy
Thomas Andre      230 Turner Center P.O. Box    Vital                 Confidentiality and Non-
                  1848 University MS 38677-     Pharmaceuticals,      Disclosure Agreement, dated
                  1848                          Inc., d/b/a Bang      October 18, 2021
                                                Energy
Tipton Mills      835 S Mapleton Street         Vital                 Confidentiality and Non-
Foods, LLC •      Columbus IN 47201             Pharmaceuticals,      Disclosure Agreement, dated
d/b/a Tipton                                    Inc., d/b/a Bang      September 16, 2021
Mills                                           Energy
Tipton Mills      835 S Mapleton Street         Vital                 Confidentiality and Non-
Foods, LLC dba    Columbus IN 47201             Pharmaceuticals,      Disclosure Agreement, dated
Tipton Mills                                    Inc. dba Bang         September 09, 2021
                                                Energy
TMF Group         Herikerbergweg 238 1101       Vital                 Confidentiality and Non-
B.V.              CM Amsterdam                  Pharmaceuticals,      Disclosure Agreement, dated
                  Netherlands, registered       Inc., d/b/a Bang      January 25, 2022
                  with the Kamer van            Energy
                  Koophandel under number
                  KvK 34210962
TMF USA Inc.      80 SW 8th Street Suite 2900   Vital                 Confidentiality and Non-
                  Miami FL 33130                Pharmaceuticals,      Disclosure Agreement, dated
                                                Inc., d/b/a Bang      January 13, 2022
                                                Energy
TNC               1129 E Dominguez Street       Vital                 Confidentiality and Non-
Promotional       Ste K Carson CA 90746         Pharmaceuticals,      Disclosure Agreement, dated
Marketing, LLC                                  Inc. dba Bang         July 09, 2020
                                                Energy
TOK Corp          3111 N University Drive       Vital                 Confidentiality and Non-
                  Suite 105 Coral Springs FL    Pharmaceuticals,      Disclosure Agreement, dated
                  33065                         Inc., d/b/a Bang      June 15, 2020
                                                Energy
Total Quality     4289 Ivy Pointe Blvd          Vital                 Confidentiality and Non-
Logistics, LLC    Cincinnati OH 45245           Pharmaceuticals,      Disclosure Agreement, dated
                                                Inc. dba Bang         December 15, 2021
                                                Energy
Transportation    4185 Harrison Blvd Ogden      Vital                 Confidentiality Agreement
Alliance Bank     UT 84403                      Pharmaceuticals,
Inc.                                            Inc.



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 Counterparty
                      Counterparty Address              Debtor                  Description
     Name
Transportation      18450 Pines Boulevard Ste    Vital                 Confidentiality and Non-
Management          203 Pembroke Pines FL        Pharmaceuticals,      Disclosure Agreement, dated
Solutions, Inc.     33029                        Inc., d/b/a Bang      November 08, 2021
                                                 Energy
Transworld          2121 Vista Pkwy              Vital                 Confidentiality/Disclosure/Regi
Business            West Palm Beach, Florida     Pharmaceuticals,      stration Agreement (TWCA),
Brokers, LLC        33411                        Inc.                  dated July 19, 2016
Trekker             8122 Bunkum Rd               Vital                 Confidentiality and Non-
Logistics, LLC      Caseyville IL 62232          Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      August 11, 2020
                                                 Energy
Tru Blu             43 Mons Street Condell       Vital                 Non-Disclosure/Confidentiality
Beverages Pty       Park NSW 2200 Australia      Pharmaceuticals,      Agreement, dated March 13,
Ltd                                              Inc., d/b/a/          2018
                                                 VPX/REDLINE
Tulip Interfaces,   561 Windsor St Ste B204      Vital                 Confidentiality and Non-
Inc.                Somerville MA 02143          Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      2020
                                                 Energy
UNIBEV              222 Marcus Garvey Dr         Vital                 Confidentiality and Non-
LIMITED             Kingston 11 Jamaica          Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      January 12, 2022
                                                 Energy
United Data         2900 Monarch Lakes Blvd,     Vital                 MUTUAL NON-
Technologies,       Suite 300                    Pharmaceuticals,      DISCLOSURE
Inc. d/b/a UDT      Miramar, FL 33027            Inc.                  AGREEMENT, dated
                                                                       November 05, 2019
USI Insurance       200 Summit Lake Drive        Vital                 Confidentiality & Non-
Services, LLC       Suite 350 Valhalla NY        Pharmaceuticals,      Circumvention Agreement,
                    10595                        Inc., d/b/a VPX       dated September 30, 2017
                                                 Sports
Valle Redondo       Hacienda de Temixco 18       Vital                 Confidentiality and Non-
SA de CV            Bosques de Echegaray         Pharmaceuticals,      Disclosure Agreement, dated
                    Naucalpan de Juarez Estado   Inc., d/b/a Bang      February 03, 2022
                    de Mexico 53310              Energy
Varni Brothers      400 Hosmer Avenue            Vital                 Confidentiality and Non-
Corporation         Modesto CA 95351             Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      August 23, 2018
                                                 Energy
Vedeqsa, Inc.       11 Penn Plaza 5th Floor      Vital                 Non Disclosure and
                    Suite 5105 New York NY       Pharmaceuticals,      Confidentiality Agreement
                    10001                        Inc.
Venture             1101 Harding Ct              Vital                 Confidentiality and Non-
Transportation      Indianapolis IN 46268        Pharmaceuticals,      Disclosure Agreement, dated
Partners LLC                                     Inc., d/b/a Bang      2020
                                                 Energy
Verizon             Shawn Harrs One Verizon      Vital                 Non-Disclosure Agreement,
Business            Way Basking Ridge NJ         Pharmaceuticals,      dated October 01, 2019
                    07920                        Inc.



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 Counterparty
                     Counterparty Address               Debtor                  Description
     Name
Network
Services Inc
Veslos Pty. Ltd.   PO Box 358 Dulwich Hill       Vital                 Confidentiality and Non-
                   New South Wales Australia     Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      June 18, 2019
                                                 Energy
Vitamin Shoppe     300 Harmon Meadow Blvd        Vital                 Confidentiality and Non-
Industries LLC     Secaucus NJ 07094             Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      September 29, 2021
                                                 Energy
VRM Media,         431 Cranbury Road Suite C     Vital                 Non Disclosure and
Inc.               East Brunswick NJ 08816       Pharmaceuticals,      Confidentiality Agreement,
                                                 Inc.                  dated March 31, 2017
Watson Inc.        301 Heffernan Dr West         Vital                 Confidentiality &
                   Haven CT 06516                Pharmaceuticals,      Nondisclosure Agreement,
                                                 Inc., d/b/a Bang      dated August 13, 2018
                                                 Energy
Wells Fargo        350 East Las Olas Blvd Fort   Vital                 Non-Disclosure Agreement,
Bank, N.A.         Lauderdale FL 33301           Pharmaceuticals,      dated January 17, 2019
                                                 Inc.
Werner             14507 Frontier Rd Omaha       Vital                 Confidentiality & Non-
Enterprises Inc.   NE 68138                      Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      July 23, 2021
                                                 Energy
West Atlantic      227 Hwy 49 S Concord NC       Vital                 Confidentiality and Non-
Logistics Corp.    28025                         Pharmaceuticals,      Disclosure Agreement, dated
                                                 Inc., d/b/a Bang      2020
                                                 Energy
Westcore           4350 La Jolla Village Drive   Vital                 Confidentiality and Non-
Properties, LLC    Suite 900 San Diego CA        Pharmaceuticals,      Disclosure Agreement, dated
                   92122                         Inc.                  October 04, 2019
Wild Flavors,      Attn: Legal Department        Vital                 Confidentiality Agreement,
Inc.               1261 Pacific Avenue           Pharmaceuticals,      dated July 28, 2020
                   Erlanger KY 41018             Inc. dba
                                                 VPX/Redline
Winona Foods,      1552 Lineville Road Green     Vital                 Manufacturing, Confidentiality,
Inc.               Bay WI 54313                  Pharmaceuticals,      and Non-Compete Agreement
                                                 Inc. d/b/a VPX
                                                 Sports
Wirenet            4355 E Airport Drive Suite    Vital                 Confidentiality and Non-
Communication      104 Ontario CA 91764          Pharmaceuticals,      Disclosure Agreement, dated
s, Inc                                           Inc. dba Bang         September 05, 2019
                                                 Energy
Wirenet            4355 E Airport Dr Ste 104     Vital                 Confidentiality and Non-
Communication      Ontario 91761 Canada          Pharmaceuticals,      Disclosure Agreement, dated
s, Inc.                                          Inc., d/b/a Bang      September 05, 2019
                                                 Energy




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 Counterparty
                     Counterparty Address             Debtor                  Description
    Name
WJW                6952 W 12th St              Vital                 Confidentiality and Non-
Associates,        Jacksonville FL 32220       Pharmaceuticals,      Disclosure Agreement, dated
LTD.                                           Inc., d/b/a Bang      August 24, 2020
                                               Energy
Wonder Lab         3560 Meadow Gate Dr         Vital                 Confidentiality and Non-
Films, LLC         Muirrysville PA 15668       Pharmaceuticals,      Disclosure Agreement, dated
                                               Inc., d/b/a Bang      September 11, 2020
                                               Energy
Wright             6428 Airport Road Crowley   Vital                 Mutual Non-Disclosure
Enrichment, Inc.   LA 70526-1365               Pharmaceuticals,      Agreement, dated March 15,
d/b/a the Wright                               Inc., DBA             2018
Group                                          VPX/Redline
YM&U Group         9100 Wilshire Boulevard     Vital                 CONFIDENTIALITY & NON-
Ltd.               Suite 100W Beverly Hills    Pharmaceuticals,      DISCLOSURE
(“YM&U”)           CA 90212                    Inc., DBA Bang        AGREEMENT, dated February
                                               Energy                08, 2019
Yunior Sanchez     yunior.sanchez@bangenerg    Vital                 Marketing Project X
                   y.com                       Pharmaceuticals,      Confidentiality and Non-
                                               Inc.                  Disclosure Agreement, dated
                                                                     September 22, 2021
Zuffa, LLC         6650 S Torrey Pines Dr, Las Vital                 Confidentiality Agreement,
                   Vegas, NV 89118             Pharmaceuticals,      dated September 30, 2020
                                               Inc., d/b/a Bang
                                               Energy
Zumbro River       138 West Front Street       Vital                 Non-Disclosure and
Brand Inc.         Owatonna MN 55060           Pharmaceuticals,      Confidentiality Agreement
                                               Inc. d/b/a VPX
                                               Sports
Santander          1601 Elm Street, Suite 800  Vital                 Retail Installment Sale Contract
Consumer USA       Dallas TX 75201             Pharmaceuticals,      - Simple Finance Charge (with
Inc. DBA                                       Inc.                  Arbitration Provision)
Chrysler Capital
SLBS Limited       S. Kim Barrow 3201 Rider    Vital                 Exclusive Distribution
Partnership        Trail South St. Louis MO    Pharmaceuticals,      Agreement, dated March 08,
d/b/a Summit       63045                       Inc.                  2021
Distributing
ADM Archer         4666 E FARIES PKWY /        Vital                 Invoices for Shipment of
Daniels Midland    DECATUR IL 62526-5630       Pharmaceuticals,      Flavors, dated July 08, 2022
Company            / US                        Inc.
ADM Wild           Am Schlangengraben 3-5 /    Vital                 Materials / Packaging
Europe GmbH        13597 Berlin / DE           Pharmaceuticals,      Agreement
& Co. KG                                       Inc.
Network            1165 SANCTUARY              Vital                 Vehicle Management Services
LeasePlan          PKWY / ALPHARETTA           Pharmaceuticals,      Agreement, dated February 04,
U.S.A.,Inc.        GA 30009-4738 / US          Inc.                  2019
CKS Packaging,     350 Great Southwest         Vital                 Critical Vendor Agreement,
Inc.               Parkway Atlanta GA 30336    Pharmaceuticals,      dated November 09, 2022
                                               Inc.




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 Counterparty
                     Counterparty Address               Debtor                  Description
     Name
Doehler USA        400 High Point Road, Suite    Vital                 Promissary Note Agreement,
Inc.               100, Cartersvilla, GA 30120   Pharmaceuticals,      dated September 29, 2022
                                                 Inc.
Doehler USA        400 High Point Road, Suite    Vital                 Settlement Agreement &
Inc.               100, Cartersvilla, GA 30120   Pharmaceuticals,      Mutual Release, dated
                                                 Inc.                  September 29, 2022
Ally Financial     PO Box 8110 Cockeysville      Vital                 Retail Installment Sale Contract
                   MD 21030                      Pharmaceuticals,      - Simple Finance Charge (with
                                                 Inc.                  Arbitration Provision)
Ally Financial     500 Woodward Ave Detroit      Vital                 Confidentiality Agreement,
                   MI 48226                      Pharmaceuticals,      dated June 20, 2017
                                                 Inc.
Ardagh Metal       8770 W BRYN MAWR              Quash Seltzer LLC     Invoices for Delivery of Cans,
Beverage USA,      AVE STE 175 / CHICAGO                               Refused Cans, Dunnage, and
Inc.               IL 60631-3515 / US                                  Associated Legal Fees, dated
                                                                       November 30, 2021
Graphic            Attn: General Counsel 1500    Vital                 Agreement for the Sale of
Packaging          Riveredge Parkway Atlanta     Pharmaceuticals,      Equipment, dated August 19,
International,     GA 30328                      Inc.                  2019
LLC
Graphic            Attn: General Counsel 1500    Vital                 Critical Vendor Agreement,
Packaging          Riveredge Parkway Atlanta     Pharmaceuticals,      dated March 29, 2023
International,     GA 30328                      Inc.
LLC
Graphic            Attn: General Counsel 1500    Vital                 Settlement Agreement, dated
Packaging          Riveredge Parkway Atlanta     Pharmaceuticals,      November 14, 2022
International,     GA 30328                      Inc.
LLC
Graphic            1500 Riveredge Parkway     Vital                    Confidentiality & Non-
Packaging          Suite 100 Atlanta GA 30328 Pharmaceuticals,         Disclosure Agreement, dated
International,                                Inc., d/b/a Bang         July 16, 2019
LLC                                           Energy
Graphic            Attn: General Counsel 1500 Vital                    Agreement for the Sale of
Packaging          Riveredge Parkway Atlanta Pharmaceuticals,          Equipment, dated September
International,     GA 30328                   Inc.                     2021
LLC
Fona               Attn: Jesse Crofton 1900      Vital                 Flavor Exclusivity Letter, dated
International,     Averill Road Geneva IL        Pharmaceuticals,      October 05, 2017
Inc.               60134                         Inc.
Fona               1900 Averill Road Geneva      Vital                 Mutual Confidentiality
International      IL 60134                      Pharmaceuticals,      Agreement, dated February 12,
Inc.                                             Inc. DBA VPX          2019
Fona               Attn: Jesse Crofton 1900      Vital                 Rebate Agreement, dated July
International,     Averill Road Geneva IL        Pharmaceuticals,      01, 2018
Inc.               60134                         Inc.
Snipp              666 Burrard Street, Suite     Vital                 Platform-as-a-Service
Interactive Inc.   1700, Vancouver, British      Pharmaceuticals,      Agreement, dated April 21,
                   Columbia, V6C 2X8             Inc.                  2021
                   Canada



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 Counterparty
                    Counterparty Address               Debtor                  Description
     Name
U.S. Bank         1310 MADRID ST STE            Vital                 Lease Agreement
National          100 / MARSHALL MN             Pharmaceuticals,
Association       56258-4001 / US               Inc.
Premier           4321 Yale Boulevard NE,       Vital                 FINAL Settlement Agreement,
Distributing      Albuquerque, NM 87107         Pharmaceuticals       dated April 01, 2022
Company                                         Inc.
Premier           4321 Yale Boulevard NE,       Vital                 Distributor Agreement, dated
Distributing      Albuquerque, NM 87107         Pharmaceuticals       January 28, 2019
Company                                         Inc.
Premier           4321 Yale Boulevard NE,       Vital                 Legacy Reinstatement, dated
Distributing      Albuquerque, NM 87107         Pharmaceuticals,      August 12, 2022
Company                                         Inc.
Krones, Inc.      9600 South 58th St Franklin   Vital                 Overhaul Agreement Line
                  WI 53132-6300                 Pharmaceuticals,      C368601, Maintenance
                                                Inc.                  Contract 5112147, dated June
                                                                      06, 2021
Krones, Inc.      9600 South 58th St Franklin   Vital                 Overhaul Agreement Line
                  WI 53132-6300                 Pharmaceuticals,      C368600, Maintenance
                                                Inc.                  Contract 5112145, dated June
                                                                      06, 2021
Krones, Inc.      9600 South 58th St Franklin   Vital                 Filling Valve Rebuild
                  WI 53132-6300                 Pharmaceuticals,      Agreement, Maintenance
                                                Inc.                  Contract 5113441, dated
                                                                      October 07, 2021
Krones, Inc.      9600 South 58th St Franklin   Vital                 Filling Valve Rebuild
                  WI 53132-6300                 Pharmaceuticals,      Agreement, Maintenance
                                                Inc.                  Contract 5113448, dated
                                                                      October 07, 2021
The Kroger Co.    1014 Vine Street,             Vital                 Standard Vendor Agreements,
                  Cincinnati, OH 45202          Pharmaceuticals,      dated November 2, 2018
                                                Inc.
The Kroger Co.    1014 Vine Street,             Vital                 Ship to Home Addendum to
                  Cincinnati, OH 45202          Pharmaceuticals,      Standard Vendor Agreement,
                                                Inc.                  dated December 7, 2021
VS Carbonics      121 Alhambra Plaza, Suite     Vital                 Sale and Rental Agreement,
Inc.              1500, Coral Gables, FL        Pharmaceuticals,      dated November 11, 2019 (as
                  33134                         Inc.                  amended by that certain First
                                                                      Amendment, dated August 31,
                                                                      2020, that certain Second
                                                                      Amendment, dated June 15,
                                                                      2021, and that certain Third
                                                                      Amendment, dated January 26,
                                                                      2022)
Estefania Ortiz   442 Southwest 4th Ave Fort    Vital                 Employment Agreement, dated
                  Lauderdale FL 33315           Pharmaceuticals,      June 15, 2020
                                                Inc.
John Buck         781 N Pennock St              Vital                 Employment Agreement, dated
                  Philadelphia PA 19130         Pharmaceuticals,      May 03, 2021
                                                Inc.



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 Counterparty
                    Counterparty Address               Debtor                 Description
     Name
Alexis Serafin    12153 Brazos Ct Jurupa        Vital                 Employment Agreement, dated
Valencia          Valley CA 91752               Pharmaceuticals,      August 08, 2022
                                                Inc.
Stephanie         3609 Cotten Dr Denton TX      Vital                 Employment Agreement, dated
Olvera            76207                         Pharmaceuticals,      January 21, 2020
                                                Inc.
Olivia Aviv       11936 Southwest 47th St       Vital                 Employment Agreement, dated
                  Cooper City FL 33330          Pharmaceuticals,      March 30, 2020
                                                Inc.
Aaron J Rubin     7 Tree Top Dr Rochester       Vital                 Employment Agreement, dated
                  NY 14625                      Pharmaceuticals,      November 22, 2021
                                                Inc.
Aaron J Uson      4925 Henley St Blaine WA      Vital                 Employment Agreement, dated
                  98230                         Pharmaceuticals,      November 10, 2021
                                                Inc.
Aaron Sandoval    4800 Fort Suitevens St Apt    Vital                 Employment Agreement, dated
Aramis            703 Orlando FL 32822          Pharmaceuticals,      February 14, 2022
                                                Inc.
Abdelrahman       14500 North 46th St Apt       Vital                 Employment Agreement, dated
Ammar             433 B Tampa FL 33613          Pharmaceuticals,      August 08, 2022
                                                Inc.
Abimelek          1310 Southeast San Sovina     Vital                 Employment Agreement, dated
Rodriguez         Terr Port St Lucie FL 34952   Pharmaceuticals,      June 20, 2022
Correa                                          Inc.
Adam A            1600 N Park Dr Weston FL      Vital                 Employment Agreement, dated
Gonzales          33326-3278                    Pharmaceuticals,      February 14, 2022
                                                Inc.
Adam B            1600 N Park Dr Weston FL      Vital                 Employment Agreement, dated
Nuckols           33326-3278                    Pharmaceuticals,      January 25, 2021
                                                Inc.
Adam              5734 South 34th Place         Vital                 Employment Agreement, dated
Echeverria        Phoenix AZ 85040              Pharmaceuticals,      May 04, 2020
                                                Inc.
Adam M Arch       20 Pennsylvania Ave           Vital                 Employment Agreement, dated
                  Fairless Hills PA 19030       Pharmaceuticals,      November 25, 2019
                                                Inc.
Adam N Pis        1600 N Park Dr Weston FL      Vital                 Employment Agreement, dated
                  33326-3278                    Pharmaceuticals,      October 03, 2022
                                                Inc.
Adam Wroten       1921 Kimball St Brooklyn      Vital                 Employment Agreement, dated
                  NY 11234                      Pharmaceuticals,      February 03, 2020
                                                Inc.
Adan Flores       12321 West Florence St        Vital                 Employment Agreement, dated
Alberto           Avondale AZ 85323             Pharmaceuticals,      January 27, 2020
                                                Inc.
Adan Vasquez      4240 Heritage Way             Vital                 Employment Agreement, dated
Ernesto           Acworth GA 30102              Pharmaceuticals,      May 18, 2020
                                                Inc.




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 Counterparty
                    Counterparty Address             Debtor                 Description
    Name
Adly Lopez        8214 West Meadowbrook       Vital                 Employment Agreement, dated
Rodelie           Ave Phoenix AZ 85033        Pharmaceuticals,      April 26, 2021
                                              Inc.
Adrian            4508 Southwest 160th Ave    Vital                 Employment Agreement, dated
Arredondo         Apt 724 Miramar FL 33027    Pharmaceuticals,      May 31, 2022
                                              Inc.
Adrian R          1600 N Park Dr Weston FL    Vital                 Employment Agreement, dated
Valdez            33326-3278                  Pharmaceuticals,      May 12, 2020
                                              Inc.
Adriana A         205 West Portland St Unit   Vital                 Employment Agreement, dated
Moya              144C Phoenix AZ 85003       Pharmaceuticals,      February 21, 2022
                                              Inc.
Adriana           3921 SW 160th Ave #303      Vital                 Employment Agreement, dated
Gondres           Miramar FL 33027            Pharmaceuticals,      June 10, 2019
                                              Inc.
Agnieszka         10444 Northwest 48th        Vital                 Employment Agreement, dated
Pietraszkiewicz   Manor Coral Springs FL      Pharmaceuticals,      June 20, 2022
                  33076                       Inc.
Aileen M          1600 N Park Dr Weston FL    Vital                 Employment Agreement, dated
Carpenter         33326-3278                  Pharmaceuticals,      January 06, 2020
                                              Inc.
Alan Lendvay      11136 West Spartan Ct Sun   Vital                 Employment Agreement, dated
                  City AZ 85351               Pharmaceuticals,      September 17, 2018
                                              Inc.
Albert Carrillo   12941 West Tara Ln          Vital                 Employment Agreement, dated
Herrera           Surprise AZ 85374           Pharmaceuticals,      March 26, 2018
                                              Inc.
Alberto Cortez    5916 Providence Crossing    Vital                 Employment Agreement, dated
                  Trail Orlando FL 32829      Pharmaceuticals,      September 27, 2010
                                              Inc.
Alberto Rios      3500 SE Oak Grove Blvd      Vital                 Employment Agreement, dated
Antonio           Apt 43 Milwaukie OR         Pharmaceuticals,      December 16, 2019
                  97267                       Inc.
Alberto Urena     27612 Pleaseure Ride Loop   Vital                 Employment Agreement, dated
M                 Wesley Chapel FL 33544      Pharmaceuticals,      November 01, 2020
                                              Inc.
Alejandro Abreu 8275 Southwest 152nd Ave      Vital                 Employment Agreement, dated
                Apt D 209 Miami FL 33193      Pharmaceuticals,      October 05, 2020
                                              Inc.
Alejandro         11717 Lakewood Blvd Apt     Vital                 Employment Agreement, dated
Figueroa          25 Downey CA 90241          Pharmaceuticals,      January 27, 2020
                                              Inc.
Alejandro         11948 NW 11th St            Vital                 Employment Agreement, dated
Grajales          Pembroke Pines FL 33026     Pharmaceuticals,      August 29, 2022
                                              Inc.
Alejandro         7002 W Indian School Rd     Vital                 Employment Agreement, dated
Maldonado         Phoenix AZ 85033            Pharmaceuticals,      August 16, 2021
                                              Inc.




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 Counterparty
                   Counterparty Address            Debtor                 Description
     Name
Alessio La       437 NW 57th Ave # 21S      Vital                 Employment Agreement, dated
Torraca          Miami FL 33126             Pharmaceuticals,      December 23, 2019
                                            Inc.
Alex Dorlus      12120 NW 15th Ave Miami Vital                    Employment Agreement, dated
                 FL 33167                   Pharmaceuticals,      July 25, 2022
                                            Inc.
Alex Martinez    11830 Winterset Cove Dr    Vital                 Employment Agreement, dated
                 Riverview FL 33579         Pharmaceuticals,      August 15, 2022
                                            Inc.
Alex Obrien      4353 Pinewood Rd           Vital                 Employment Agreement, dated
Scott            Melbourne FL 32934         Pharmaceuticals,      March 22, 2021
                                            Inc.
Alexander        2673 Southwest 14th Ct     Vital                 Employment Agreement, dated
Angueira         Deerfield Beach FL 33442   Pharmaceuticals,      June 27, 2022
                                            Inc.
Alexander        740 Academy Dr 304         Vital                 Employment Agreement, dated
Arneson Ray      Kissimmee FL 34744         Pharmaceuticals,      February 14, 2022
                                            Inc.
Alexander        8751 Northwest 166th       Vital                 Employment Agreement, dated
Catoni           Terrace Miami Lakes FL     Pharmaceuticals,      July 06, 2020
                 33018                      Inc.
Alexander        2848 Wild Laurel Ct        Vital                 Employment Agreement, dated
Dangel Ross      Norcross GA 30071          Pharmaceuticals,      October 18, 2021
                                            Inc.
Alexander        2918 North 88th Dr Phoenix Vital                 Employment Agreement, dated
Santacruz Luis   AZ 85037                   Pharmaceuticals,      August 08, 2022
                                            Inc.
Alexandra        17710 Northwest 73rd Ave   Vital                 Employment Agreement, dated
Tobon            Apt 208 Hialeah FL 33015   Pharmaceuticals,      June 29, 2020
                                            Inc.
Alexandria       8891 Southwest 142nd Ave Vital                   Employment Agreement, dated
Anagnostis       Apt 827 Miami FL 33186     Pharmaceuticals,      November 16, 2020
Christine                                   Inc.
Alexis Lerma     7433 W Globe Ave Phoenix Vital                   Employment Agreement, dated
Miguel           AZ 85043                   Pharmaceuticals,      November 02, 2020
                                            Inc.
Alfred Gomez     12425 Laurel Ave Whittier  Vital                 Employment Agreement, dated
                 CA 90605                   Pharmaceuticals,      August 10, 2020
                                            Inc.
Alfredo Nieves   6317 Lawton Ave Las        Vital                 Employment Agreement, dated
                 Vegas NV 89107             Pharmaceuticals,      March 21, 2022
                                            Inc.
Alfredo Riera    8620 NW 97th Ave Apt 212 Vital                   Employment Agreement, dated
Jesus            Medley FL 33178            Pharmaceuticals,      April 16, 2018
                                            Inc.
Alicia Sierra    3523 West Blvd Los         Vital                 Employment Agreement, dated
Adelia           Angeles CA 90016           Pharmaceuticals,      November 11, 2021
                                            Inc.




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 Counterparty
                    Counterparty Address               Debtor                 Description
     Name
Alisia Braxton    2510 Gotham Way Valrico       Vital                 Employment Agreement, dated
R                 FL 33596                      Pharmaceuticals,      March 16, 2022
                                                Inc.
Allan Catolos     2051 Carmen St West           Vital                 Employment Agreement, dated
Bandoma           Covina CA 91792               Pharmaceuticals,      May 11, 2020
                                                Inc.
Allisson Rincon   1068 Lavender Cir Weston      Vital                 Employment Agreement, dated
Penagos           FL 33327                      Pharmaceuticals,      March 04, 2019
                                                Inc.
Allyson Temple    1309 Clark Springs Dr         Vital                 Employment Agreement, dated
Nicole            Keller TX 76248               Pharmaceuticals,      July 26, 2021
                                                Inc.
Alma Alvarado-    7435 W Beryl Ave Peoria       Vital                 Employment Agreement, dated
Garcia            AZ 85345                      Pharmaceuticals,      February 28, 2022
                                                Inc.
Alphonso          555 Southwest Sundance Tr     Vital                 Employment Agreement, dated
Raymond           Port Saint Lucie FL 34953     Pharmaceuticals,      May 28, 2019
                                                Inc.
Alvaro Serna      24219 Pansy Way Lake          Vital                 Employment Agreement, dated
                  Elsinore CA 92532             Pharmaceuticals,      December 02, 2019
                                                Inc.
Alyssa Consaul    7830 Northwest 53rd Ct        Vital                 Employment Agreement, dated
Nicole            Lauderhill FL 33351           Pharmaceuticals,      February 22, 2021
                                                Inc.
Alyssa Figueroa   112 Candle Wood Dr            Vital                 Employment Agreement, dated
Lynnae            Hendersonville TN 37075       Pharmaceuticals,      December 03, 2021
                                                Inc.
Amanda            8845 Valencia Oaks Ct         Vital                 Employment Agreement, dated
Vazquez-Rios      Orlando FL 32825              Pharmaceuticals,      January 04, 2021
Elise                                           Inc.
Amber Serrano     951 East 10th Place Hialeah   Vital                 Employment Agreement, dated
Cecile            FL 33010                      Pharmaceuticals,      February 10, 2020
                                                Inc.
Amber Vick R      125 Baker St Apt 143 Costa    Vital                 Employment Agreement, dated
                  Mesa CA 92626                 Pharmaceuticals,      March 02, 2021
                                                Inc.
Amy Gold Elise    2850 Northeast 14th St Cau    Vital                 Employment Agreement, dated
                  Pompano Beach FL 33062        Pharmaceuticals,      November 05, 2014
                                                Inc.
Amy McAllister    20570 Vine Dr Macomb MI       Vital                 Employment Agreement, dated
Lynn              48044                         Pharmaceuticals,      March 01, 2019
                                                Inc.
Anayansi          1421 West Ocotillo Rd         Vital                 Employment Agreement, dated
Ramirez Root      Phoenix AZ 85013              Pharmaceuticals,      November 01, 2021
Esther                                          Inc.
Andrea Gil        1469 Northwest 153rd Ave      Vital                 Employment Agreement, dated
Cecilia           Pembroke Pines FL 33028       Pharmaceuticals,      September 01, 2021
                                                Inc.




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 Counterparty
                   Counterparty Address              Debtor                 Description
    Name
Andrea Marcano   4206 Eastgate Dr 3133        Vital                 Employment Agreement, dated
Reimundez Del    Orlando FL 32839             Pharmaceuticals,      November 11, 2019
Mar                                           Inc.
Andreina         242 East Riverbend Dr        Vital                 Employment Agreement, dated
Mendez           Sunrise FL 33326             Pharmaceuticals,      May 09, 2022
                                              Inc.
Andrew Alvarez   9969 Sepulveda Blvd Apt      Vital                 Employment Agreement, dated
                 101 Los Angeles CA 91345     Pharmaceuticals,      August 09, 2021
                                              Inc.
Andrew           4727 Dozier St Los Angeles   Vital                 Employment Agreement, dated
Baltazar John    CA 90022                     Pharmaceuticals,      May 02, 2018
                                              Inc.
Andrew           25 Waters Edge Dr            Vital                 Employment Agreement, dated
Colapietro J     Lewiston ME 4240             Pharmaceuticals,      January 13, 2020
                                              Inc.
Andrew De La     18928 West Jefferson St      Vital                 Employment Agreement, dated
Torre Jr Juan    Buckeye AZ 85326             Pharmaceuticals,      January 05, 2015
                                              Inc.
Andrew           8120 East Whitton Ave        Vital                 Employment Agreement, dated
Samples Lee      Scottsdale AZ 85251          Pharmaceuticals,      August 09, 2021
                                              Inc.
Andrew Schade    21 Abbey Ln Annville PA      Vital                 Employment Agreement, dated
Michael          17003                        Pharmaceuticals,      December 21, 2020
                                              Inc.
Andrew           13805 Northwest 22nd St      Vital                 Employment Agreement, dated
Wisdom David     Sunrise FL 33323             Pharmaceuticals,      April 03, 2008
                                              Inc.
Andy Rodriguez   1962 South Palomar Dr        Vital                 Employment Agreement, dated
                 Deltona FL 32738             Pharmaceuticals,      March 21, 2019
                                              Inc.
Angel Alvarez    6645 Sylmar Ave 112A         Vital                 Employment Agreement, dated
David            Van Nuys CA 91405            Pharmaceuticals,      May 10, 2021
                                              Inc.
Angel Aponte     7260 Suiterling Rd 102       Vital                 Employment Agreement, dated
Alfredo          Hollywood FL 33024           Pharmaceuticals,      October 22, 2018
                                              Inc.
Angel Iglesias   880 Sorrento Dr Weston FL    Vital                 Employment Agreement, dated
Ricardo          33326                        Pharmaceuticals,      September 06, 2022
                                              Inc.
Angel Tellez     7013 W Catalina Dr           Vital                 Employment Agreement, dated
Leogardo         Phoenix AZ 85033             Pharmaceuticals,      July 12, 2021
                                              Inc.
Angel Torres     6701 Johnson St # 209        Vital                 Employment Agreement, dated
                 Hollywood FL 33024           Pharmaceuticals,      August 10, 2020
                                              Inc.
Angela Ruiz      2902 West Sweetwater Ave     Vital                 Employment Agreement, dated
McDavis          Apt 3009 Phoenix AZ          Pharmaceuticals,      May 18, 2020
                 85029                        Inc.




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 Counterparty
                    Counterparty Address             Debtor                 Description
    Name
Angelica          1617 South Federal          Vital                 Employment Agreement, dated
Cabrejos          Highway Apt 2-516           Pharmaceuticals,      December 20, 2021
                  Pompano Beach FL 33062      Inc.
Anibal            630 85th St Apt 203 Miami   Vital                 Employment Agreement, dated
Hernandez Jose    Beach FL 33141              Pharmaceuticals,      June 28, 2021
                                              Inc.
Anibal            5411 South 13th Ave         Vital                 Employment Agreement, dated
Madrueno S        Phoenix AZ 85041            Pharmaceuticals,      August 30, 2021
                                              Inc.
Anna Keener       930 Benge Dr Apt 108        Vital                 Employment Agreement, dated
Jane              Arlington TX 76013          Pharmaceuticals,      June 29, 2020
                                              Inc.
Annye Posada      1800 North Bayshore Dr      Vital                 Employment Agreement, dated
Carolina          Apt 2404 Miami FL 33132     Pharmaceuticals,      December 28, 2020
                                              Inc.
Anthony           2534 NE 42nd Ave Portland   Vital                 Employment Agreement, dated
Anselmo           OR 97213                    Pharmaceuticals,      February 10, 2022
                                              Inc.
Anthony           8840 Fontainebleau Blvd     Vital                 Employment Agreement, dated
Calderon          Apt 403 Miami FL 33172      Pharmaceuticals,      May 21, 2018
                                              Inc.
Anthony         18 Key West Ct Weston FL      Vital                 Employment Agreement, dated
Campana         33326                         Pharmaceuticals,      March 16, 2022
Charles                                       Inc.
Anthony Cerullo 5141 Waterwood Dr Bartow      Vital                 Employment Agreement, dated
                FL 33830                      Pharmaceuticals,      July 16, 2018
                                              Inc.
Anthony           10401 SW 51St St Cooper     Vital                 Employment Agreement, dated
Clayton           City FL 33328               Pharmaceuticals,      September 27, 2021
                                              Inc.
Anthony Collins   13440 Old Englishtown Rd    Vital                 Employment Agreement, dated
C                 Wellington FL 33414         Pharmaceuticals,      February 03, 2020
                                              Inc.
Anthony Dolson    4682 Aventura Canyon Ct     Vital                 Employment Agreement, dated
David             Las Vegas NV 89139-7652     Pharmaceuticals,      September 07, 2010
                                              Inc.
Anthony           4510 East Wood St Phoenix   Vital                 Employment Agreement, dated
Fernandez G       AZ 85040                    Pharmaceuticals,      June 14, 2021
                                              Inc.
Anthony           4510 East Wood St Phoenix   Vital                 Employment Agreement, dated
Fernandez Jr      AZ 85040                    Pharmaceuticals,      October 03, 2019
Gerardo                                       Inc.
Anthony           8577 Boca Glades Blvd W     Vital                 Employment Agreement, dated
Gaudioso          Unit C Boca Raton FL        Pharmaceuticals,      August 23, 2021
Patrick           33434                       Inc.
Anthony Muro      2233 Fairview Rd #H         Vital                 Employment Agreement, dated
                  Costa Mesa CA 92627         Pharmaceuticals,      February 07, 2022
                                              Inc.




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 Counterparty
                     Counterparty Address             Debtor                 Description
    Name
Anthony            2392 Southeast 16th Alley   Vital                 Employment Agreement, dated
Oropeza            Gresham OR 97080            Pharmaceuticals,      September 14, 2020
Michael                                        Inc.
Anthony Ortega     8307 South 47th Ave         Vital                 Employment Agreement, dated
Ray                Phoenix AZ 85339            Pharmaceuticals,      January 18, 2022
                                               Inc.
Anthony            14708 West Poinsettia Dr    Vital                 Employment Agreement, dated
Perriello Joseph   Surprise AZ 85379           Pharmaceuticals,      September 27, 2021
                                               Inc.
Anthony Robert     370 West Pleasantview Ave Vital                   Independent Contractor
Connors            #305 Hackensack NJ 07601 Pharmaceuticals,         Agreement, dated November
                                               Inc.                  15, 2011
Anthony            11657 Marina Dr             Vital                 Employment Agreement, dated
Velasquez          Jacksonville FL 32246       Pharmaceuticals,      September 04, 2018
Alejandro                                      Inc.
Anthony            3779 Maiden Fern Ln         Vital                 Employment Agreement, dated
Wallace Jr         Snellville GA 30039         Pharmaceuticals,      September 08, 2020
                                               Inc.
Anton Gholston     1875 Calida Dr Apt 402      Vital                 Employment Agreement, dated
L                  West Palm Beach FL 33411 Pharmaceuticals,         August 29, 2022
                                               Inc.
Antonio            3421 North 64th Dr Phoenix Vital                  Employment Agreement, dated
Coronado Jr        AZ 85033                    Pharmaceuticals,      May 03, 2022
                                               Inc.
Antonio Estrada    4113 West 11th Ct Hialeah   Vital                 Employment Agreement, dated
J                  FL 33012                    Pharmaceuticals,      October 06, 2021
                                               Inc.
Antonio            13281 Northwest 5th St      Vital                 Employment Agreement, dated
Guerrero           Plantation FL 33325         Pharmaceuticals,      April 04, 2022
Salcedo                                        Inc.
Antonio Ornelas    3210 N 50th Dr Phoenix AZ Vital                   Employment Agreement, dated
Hernandez          85031                       Pharmaceuticals,      August 23, 2021
                                               Inc.
Antonio Tracy      1244 West C St Kannapolis Vital                   Employment Agreement, dated
Marcellos          NC 28081                    Pharmaceuticals,      May 15, 2017
                                               Inc.
Antonyous Rezk     4201 Monticello Gardens     Vital                 Employment Agreement, dated
Rezk Gerges        Place Tampa FL 33613        Pharmaceuticals,      October 14, 2019
                                               Inc.
Antwan Johnson     2880 Northwest 207th St     Vital                 Employment Agreement, dated
Edward             Miami Gardens FL 33056      Pharmaceuticals,      December 09, 2019
                                               Inc.
Apollonia          501 Hidden Dale Dr Fort     Vital                 Employment Agreement, dated
Cooley Shanay      Worth TX 76140              Pharmaceuticals,      June 15, 2020
                                               Inc.
Ariel Moya         5617 Soft Skies Dr Sarasota Vital                 Employment Agreement, dated
Gedaly             FL 34238                    Pharmaceuticals,      October 02, 2019
                                               Inc.




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 Counterparty
                     Counterparty Address              Debtor                 Description
    Name
Armando            929 Maple St Denton TX       Vital                 Employment Agreement, dated
Madrigal           76201                        Pharmaceuticals,      July 26, 2021
                                                Inc.
Arnaldo Barrios    10850 N Kendall Dr 114       Vital                 Employment Agreement, dated
Lozano Jose        Miami FL 33176               Pharmaceuticals,      September 12, 2022
                                                Inc.
Arthur Alvarado    3109 South 100th Ln          Vital                 Employment Agreement, dated
Steven             Tolleson AZ 85353            Pharmaceuticals,      August 10, 2020
                                                Inc.
Arturo             24250 N 23rd Ave Unit        Vital                 Employment Agreement, dated
Benavides J        2190 Phoenix AZ 85085-       Pharmaceuticals,      March 07, 2022
                   1974                         Inc.
Arturo Gomez       13262 Northwest 8th          Vital                 Employment Agreement, dated
                   Terrace Miami FL 33182       Pharmaceuticals,      September 21, 2020
                                                Inc.
Ashley Lauren      5630 Dorothy Dr San Diego    Vital                 Employment Agreement, dated
Arbuckle           CA 92115                     Pharmaceuticals,      April 22, 2019
                                                Inc.
Atilio Herrarte    630 South Lake St Unit 203   Vital                 Employment Agreement, dated
Stanley            Burbank CA 91502             Pharmaceuticals,      November 01, 2021
                                                Inc.
Austin Swecker     4590 49th Ave S Apt 211      Vital                 Employment Agreement, dated
Edward             Fargo ND 58104               Pharmaceuticals,      December 07, 2020
                                                Inc.
Austin Teate       21043 Northeast 4th Ct       Vital                 Employment Agreement, dated
Alonzo             Miami FL 33179               Pharmaceuticals,      October 26, 2021
                                                Inc.
Avery              1317 S Terrace Rd Apt        Vital                 Employment Agreement, dated
Rosenzweig         T4028A Tempe AZ 85281        Pharmaceuticals,      January 14, 2019
Edison                                          Inc.
Aybar Pardo De     1592 Lake Breeze Dr          Vital                 Employment Agreement, dated
Figueroa           Wellington FL 33414          Pharmaceuticals,      May 17, 2021
                                                Inc.
Bannon Hyland      17552 West Polaris Dr        Vital                 Employment Agreement, dated
James              Goodyear AZ 85338            Pharmaceuticals,      May 09, 2022
                                                Inc.
Barbara            2829 Southwest 13th Ct       Vital                 Employment Agreement, dated
Ramirez            Fort Lauderdale FL 33312     Pharmaceuticals,      March 28, 2022
Margarita                                       Inc.
Bayardo            5907 113th Terrace East      Vital                 Employment Agreement, dated
Detrinidad J       Parrish FL 34219             Pharmaceuticals,      October 18, 2021
                                                Inc.
Benjamin           6154 Pine Banks Ct Las       Vital                 Employment Agreement, dated
Durfee Mark        Vegas NV 89141               Pharmaceuticals,      July 25, 2022
                                                Inc.
Bill Southerland   10437 Stonebank St           Vital                 Employment Agreement, dated
Jhon               Bellflower CA 90706          Pharmaceuticals,      November 08, 2021
                                                Inc.




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 Counterparty
                    Counterparty Address              Debtor                 Description
     Name
Billy Parker D    1337 Franklin St Altamonte   Vital                 Employment Agreement, dated
                  Springs FL 32701             Pharmaceuticals,      May 18, 2020
                                               Inc.
Bingqing Cai      4178 Cascade Terrace         Vital                 Employment Agreement, dated
                  Weston FL 33332              Pharmaceuticals,      January 03, 2022
                                               Inc.
Boston Wyatt      9372 West Cordes Rd          Vital                 Employment Agreement, dated
Michael           Tolleson AZ 85353            Pharmaceuticals,      July 31, 2018
                                               Inc.
Braden Guyot      19 Quail Hollow Dr Las       Vital                 Employment Agreement, dated
Tyler             Vegas NV 89014               Pharmaceuticals,      August 22, 2022
                                               Inc.
Bradley Hovey     3320 Roundabout Dr           Vital                 Employment Agreement, dated
Tyler             Middleburg FL 32068          Pharmaceuticals,      June 16, 2022
                                               Inc.
Bradley Mills C   6944 Windwood Trail Fort     Vital                 Employment Agreement, dated
                  Worth TX 76132               Pharmaceuticals,      July 26, 2021
                                               Inc.
Bradley           1917 East Kathleen Rd        Vital                 Employment Agreement, dated
Pasquale Jr.      Phoenix AZ 85022             Pharmaceuticals,      September 10, 2018
Richard                                        Inc.
Brady Leiter J    13538 Santa Anita Ct         Vital                 Employment Agreement, dated
                  Herriman UT 84096            Pharmaceuticals,      August 08, 2022
                                               Inc.
Branden Fisher    3468 Cortez St Riverside     Vital                 Employment Agreement, dated
C                 CA 92504                     Pharmaceuticals,      July 25, 2022
                                               Inc.
Brandon Haskell 6052 Royal Birkdale Dr         Vital                 Employment Agreement, dated
C               Lake Worth FL 33463            Pharmaceuticals,      October 03, 2022
                                               Inc.
Brandon Luna      10914 Luana Dr North         Vital                 Employment Agreement, dated
James             Jacksonville FL 32246        Pharmaceuticals,      January 14, 2019
                                               Inc.
Brandon           7116 Pasture Ct Rancho       Vital                 Employment Agreement, dated
Mercado           Cucamonga CA 91739           Pharmaceuticals,      September 06, 2022
                                               Inc.
Brandon           422 Broward St               Vital                 Employment Agreement, dated
Roberts           Jacksonville FL 32204        Pharmaceuticals,      January 31, 2022
Luvonoczek                                     Inc.
Brayden           222 East Jefferson St Unit   Vital                 Employment Agreement, dated
Crabtree Elijah   1012 Phoenix AZ 85004        Pharmaceuticals,      January 03, 2022
                                               Inc.
Brendan           606 North Verona Ave         Vital                 Employment Agreement, dated
Darmanie Najee    Avon Park FL 33825           Pharmaceuticals,      December 10, 2018
                                               Inc.
Brendan Merz      2720 N Mildred Ave Apt 2     Vital                 Employment Agreement, dated
Allan             Chicago IL 60614             Pharmaceuticals,      November 15, 2021
                                               Inc.




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 Counterparty
                     Counterparty Address              Debtor                 Description
     Name
Brent Boucaud      1944 Southwest 101St Ave     Vital                 Employment Agreement, dated
                   Davie FL 33324               Pharmaceuticals,      September 30, 2019
                                                Inc.
Brett Hayes A      4631 Meramec Blvd Eureka     Vital                 Employment Agreement, dated
                   MO 63025                     Pharmaceuticals,      June 24, 2019
                                                Inc.
Brett Wein         4750 59th St Apt 2F          Vital                 Employment Agreement, dated
Jason              Woodside NY 11377            Pharmaceuticals,      November 18, 2019
                                                Inc.
Brian Addison      64 Imperial Dr S Mulberry    Vital                 Employment Agreement, dated
M                  FL 33860                     Pharmaceuticals,      September 19, 2022
                                                Inc.
Brian Baker K      21 New Britain Dr Wilton     Vital                 Employment Agreement, dated
                   NY 12831                     Pharmaceuticals,      October 01, 2020
                                                Inc.
Brian Bedesem      823 Edge Hill Rd Glenside    Vital                 Employment Agreement, dated
D                  PA 19038                     Pharmaceuticals,      April 05, 2021
                                                Inc.
Brian Kyle         1597 West Beach Plum Dr      Vital                 Employment Agreement, dated
Lawrence           Citrus Springs FL 34434      Pharmaceuticals,      June 04, 2018
                                                Inc.
Brian Martin       19222 N 54th Ln Glendale     Vital                 Employment Agreement, dated
Lee                AZ 85308                     Pharmaceuticals,      July 01, 2019
                                                Inc.
Brian Stewart      11441 Magnolia Ave Apt       Vital                 Employment Agreement, dated
Eugene             167 Riverside CA 92505       Pharmaceuticals,      June 01, 2020
                                                Inc.
Brian Taylor       19 Bridge Pointe             Vital                 Employment Agreement, dated
Melvin             Douglasville GA 30134        Pharmaceuticals,      March 02, 2020
                                                Inc.
Brian Trevino      240 Lanier Place Clayton     Vital                 Employment Agreement, dated
Michael            NC 27527                     Pharmaceuticals,      February 10, 2020
                                                Inc.
Brian Wilk A       25 Abbotts Crossing Rd       Vital                 Employment Agreement, dated
                   Coventry RI 2816             Pharmaceuticals,      September 25, 2019
                                                Inc.
Briana Gutierrez   3061 SW 114th Ave Miami      Vital                 Employment Agreement, dated
Patrice            FL 33165                     Pharmaceuticals,      May 24, 2021
                                                Inc.
Brianna            1909 Blue Sage Ct Brandon    Vital                 Employment Agreement, dated
Marincovich        FL 33511                     Pharmaceuticals,      March 22, 2021
Keely                                           Inc.
Brittanie Ramos    11888 Banana Ave Fontana     Vital                 Employment Agreement, dated
Nicole             CA 92337                     Pharmaceuticals,      January 27, 2020
                                                Inc.
Brooke Curry       10340 City Center Blvd Apt   Vital                 Employment Agreement, dated
Buckman            106 Pembroke Pines FL        Pharmaceuticals,      June 29, 2021
                   33025                        Inc.




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 Counterparty
                     Counterparty Address               Debtor                 Description
    Name
Bruce Hayward      21 Gooderham Drive       Vital                      Employment Agreement, dated
                   Georgetown ON L7G-5R7    Pharmaceuticals,           February 13, 2012
                   Canada                   Inc.
Bryan Conley       2896 Majestic Oaks Ln    Vital                      Employment Agreement, dated
David              Green Cove Springs FL    Pharmaceuticals,           December 14, 2020
                   32043                    Inc.
Bryan Dees         12148 Bella Palazzo Dr Fort
                                            Vital                      Employment Agreement, dated
Shane              Worth TX 76126           Pharmaceuticals,           March 11, 2021
                                            Inc.
Bryan Fite         806 West 5th St Apt 219  Vital                      Employment Agreement, dated
Adams              Charlotte NC 28202       Pharmaceuticals,           March 09, 2020
                                            Inc.
Caden Novikoff     1316 Calle Ultimo        Vital                      Employment Agreement, dated
Samuel             Oceanside CA 92056       Pharmaceuticals,           April 22, 2019
                                            Inc.
Caleb Adair        2820 Lexington Ct Oviedo Vital                      Employment Agreement, dated
Luke               FL 32765                 Pharmaceuticals,           July 20, 2022
                                            Inc.
Caloujery          2601 Northwest 47th      Vital                      Employment Agreement, dated
Prosper            Terrace Lauderdale Lakes Pharmaceuticals,           November 22, 2021
                   FL 33313                 Inc.
Camilo             1326 East Saint Charles  Vital                      Employment Agreement, dated
Samaniego          Ave Phoenix AZ 85042     Pharmaceuticals,           March 23, 2020
                                            Inc.
Camren Kelly Q     5270 NW 88th Ave 103     Vital                      Employment Agreement, dated
                   Lauderhill FL 33321      Pharmaceuticals,           October 04, 2021
                                            Inc.
Carl Hamilton      3090 Northwest 46th      Vital                      Employment Agreement, dated
Gosnel             Avenue Lauderdale Lakes  Pharmaceuticals,           March 07, 2022
                   FL 33313                 Inc.
Carlin Tucker      1205 Tree Lodge Parkway  Vital                      Employment Agreement, dated
Andrew             Lithia Springs GA 30122  Pharmaceuticals,           November 16, 2020
                                            Inc.
Carlos Batista     2982 Clipper Cove Ln Apt Vital                      Employment Agreement, dated
Gonzalez           102 Kissimmee FL 34741   Pharmaceuticals,           May 02, 2022
                                            Inc.
Carlos Duranza     5841 Southwest 119th Ave Vital                      Employment Agreement, dated
Jr                 Cooper City FL 33330     Pharmaceuticals,           February 07, 2022
                                            Inc.
Carlos Garza       3010 Calla Lily Trail    Vital                      Employment Agreement, dated
                   Richmond TX 77406        Pharmaceuticals,           May 23, 2022
                                            Inc.
Carlos Gonzalez    8302 NW 7th St #13 Miami Vital                      Employment Agreement, dated
Ernesto            FL 33126                 Pharmaceuticals,           June 24, 2015
                                            Inc.
Carlos Gutiérrez   12421 SW 50th Ct Apt 303 Vital                      Employment Agreement, dated
de Piñeres         Miramar FL 33027         Pharmaceuticals,           February 21, 2022
Andrés                                      Inc.




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 Counterparty
                  Counterparty Address             Debtor                 Description
     Name
Carlos Ornelas  3210 North 50th Dr Phoenix Vital                  Employment Agreement, dated
Hernandez       AZ 85031                   Pharmaceuticals,       August 08, 2022
                                           Inc.
Carlos          17169 Southwest 49th Place Vital                  Employment Agreement, dated
Rodriguez       Miramar FL 33027           Pharmaceuticals,       March 07, 2022
Sanchez E                                  Inc.
Carlos Sierra   9399 NW 121 Terr Hialeah Vital                    Employment Agreement, dated
                Gardens FL 33018           Pharmaceuticals,       February 15, 2021
                                           Inc.
Casey Rogers    802 North Luther Rd        Vital                  Employment Agreement, dated
Lee             Candler NC 28715           Pharmaceuticals,       June 24, 2019
                                           Inc.
Cayden Jaeger   7211 Boxelder Ct           Vital                  Employment Agreement, dated
Trace           Jacksonville FL 32244      Pharmaceuticals,       November 09, 2021
                                           Inc.
Cesar Gonzalez 694 San Remo Dr Weston      Vital                  Employment Agreement, dated
                FL 33326                   Pharmaceuticals,       May 29, 2018
                                           Inc.
Cesar Nolazco   928 Southwest 4th Ave      Vital                  Employment Agreement, dated
Jose Estrada    Cape Coral FL 33991        Pharmaceuticals,       October 16, 2018
                                           Inc.
Chad Anderson 15 Consella Way              Vital                  Employment Agreement, dated
M               Franklinton NC 27525-7702 Pharmaceuticals,        October 03, 2022
                                           Inc.
Chad Sandifer   3806 SW 5th Pl Cape Coral Vital                   Employment Agreement, dated
Ray             FL 33914                   Pharmaceuticals,       May 08, 2019
                                           Inc.
Chad Snow       11155 SW Hall Blvd Apt 57 Vital                   Employment Agreement, dated
Eugene          Tigard OR 97223            Pharmaceuticals,       February 18, 2019
                                           Inc.
Chafin Rollins  3515 Southeast 3rd Place   Vital                  Employment Agreement, dated
                Cape Coral FL 33904        Pharmaceuticals,       December 21, 2020
                                           Inc.
Chantal         19511 Belmont Dr Cutler    Vital                  Employment Agreement, dated
Hernandez       Bay FL 33157               Pharmaceuticals,       January 15, 2018
Glanert                                    Inc.
Charles Horaney 19173 Innisbrook Ct North  Vital                  Employment Agreement, dated
Edward          Fort Myers FL 33903        Pharmaceuticals,       January 06, 2020
                                           Inc.
Charles Jean    7200 NW 20th St Sunrise    Vital                  Employment Agreement, dated
Noel E          FL 33313                   Pharmaceuticals,       September 07, 2021
                                           Inc.
Chase Bennett   6616 Dartmouth Rd          Vital                  Employment Agreement, dated
Wayne           Lakeland FL 33809          Pharmaceuticals,       August 06, 2018
                                           Inc.
Chase Shtogrin  7314 Watson'S Parish Dr    Vital                  Employment Agreement, dated
                O'Fallon MO 63368          Pharmaceuticals,       November 29, 2021
                                           Inc.




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 Counterparty
                    Counterparty Address               Debtor                 Description
    Name
Chase Stiverson   1046 Mclain Blvd Lancaster    Vital                 Employment Agreement, dated
T                 OH 43130                      Pharmaceuticals,      May 07, 2018
                                                Inc.
Cheny Julian      13182 Southwest 194th St      Vital                 Employment Agreement, dated
                  Miami FL 33177                Pharmaceuticals,      June 22, 2020
                                                Inc.
Chitrang Desai    4945 Deckside Loop            Vital                 Employment Agreement, dated
Dharmeshkumar     Lakeland FL 33812             Pharmaceuticals,      March 15, 2021
                                                Inc.
Christian Diaz    2226 Pinecrest Ct Fullerton   Vital                 Employment Agreement, dated
Osvaldo           CA 92831                      Pharmaceuticals,      February 22, 2021
                                                Inc.
Christian         133 S172nd Dr Goodyear        Vital                 Employment Agreement, dated
Gonzalez          AZ 85338                      Pharmaceuticals,      July 06, 2020
                                                Inc.
Christian         16450 West Van Buren St       Vital                 Employment Agreement, dated
Longe-Marshall    Apt 2066 Goodyear AZ          Pharmaceuticals,      October 19, 2020
James             85338                         Inc.
Christian         620 Northeast 52nd Terrace    Vital                 Employment Agreement, dated
Penoucos Sacha    Miami FL 33137                Pharmaceuticals,      June 08, 2020
                                                Inc.
Christian Sasieta 156 NW 118th Dr Coral         Vital                 Employment Agreement, dated
                  Springs FL 33071              Pharmaceuticals,      August 17, 2020
                                                Inc.
Christian Sosa    1981 Woolbright Rd Bldg E     Vital                 Employment Agreement, dated
Torres Alberto    Apt 205 Boynton Beach FL      Pharmaceuticals,      December 16, 2019
                  33426                         Inc.
Christian Soza    1690 Hilton Head Ct Apt       Vital                 Employment Agreement, dated
Giovanni          2320 El Cajon CA 92019        Pharmaceuticals,      May 02, 2022
                                                Inc.
Christina         470 Northeast 5th Ave Apt     Vital                 Employment Agreement, dated
Weronik           3215 Fort Lauderdale FL       Pharmaceuticals,      May 03, 2021
                  33301                         Inc.
Christine King    275 Equestrian Dr Rockwall    Vital                 Employment Agreement, dated
E                 TX 75032                      Pharmaceuticals,      January 24, 2022
                                                Inc.
Christine         2712 Strand Ln Mckinney       Vital                 Employment Agreement, dated
Longero Marie     TX 75071                      Pharmaceuticals,      August 23, 2021
                                                Inc.
Christopher       421 E Dunbar #65 Tempe        Vital                 Employment Agreement, dated
Blanco Daniel     AZ 85282                      Pharmaceuticals,      March 04, 2019
                                                Inc.
Christopher       433 Haverlake Cir Apopka      Vital                 Employment Agreement, dated
Carey             FL 32712                      Pharmaceuticals,      January 24, 2022
                                                Inc.
Christopher       18344 W Mercer Ln             Vital                 Employment Agreement, dated
Conner Michael    Surprise AZ 85388             Pharmaceuticals,      May 17, 2021
                                                Inc.




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 Counterparty
                   Counterparty Address             Debtor                 Description
     Name
Christopher      13820 South 44th St Unit    Vital                 Employment Agreement, dated
Jones            1114 Phoenix AZ 85044       Pharmaceuticals,      November 09, 2020
                                             Inc.
Christopher      301 Southwest 1St Ave Apt Vital                   Employment Agreement, dated
Morrison John    1402-B Fort Lauderdale FL Pharmaceuticals,        March 23, 2020
                 33301                       Inc.
Christopher      10348 Glenn Abbey Ln        Vital                 Employment Agreement, dated
Poland Honn      Fishers IN 46037            Pharmaceuticals,      April 27, 2020
                                             Inc.
Christopher      16601 N 12th St 1092        Vital                 Employment Agreement, dated
Rees Nunez       Phoenix AZ 85022            Pharmaceuticals,      August 12, 2019
                                             Inc.
Christopher      704 Auburn Way Morgan       Vital                 Employment Agreement, dated
Schwalen         Hill CA 95037               Pharmaceuticals,      May 24, 2018
Lawrence                                     Inc.
Christopher      1213 Warbler Ave Forney     Vital                 Employment Agreement, dated
Weatherford      TX 75126                    Pharmaceuticals,      February 28, 2022
Lee                                          Inc.
Christy Bare     11340 Northwest 27th Ct     Vital                 Employment Agreement, dated
Anne             Plantation FL 33323         Pharmaceuticals,      December 16, 2019
                                             Inc.
Christy Bare     11340 Northwest 27th Ct     Vital                 Employment Agreement, dated
Anne             Plantation FL 33323         Pharmaceuticals,      June 03, 2019
                                             Inc.
Christy Morris   26 Sunset Hills Cir Choctaw Vital                 Employment Agreement, dated
L                OK 73020                    Pharmaceuticals,      July 13, 2020
                                             Inc.
Cindy Larez D    5132 Southwest 140th        Vital                 Employment Agreement, dated
                 Terrace Miramar FL 33027 Pharmaceuticals,         December 03, 2018
                                             Inc.
Claudia Lopez    1252 Northwest 141St Ave    Vital                 Employment Agreement, dated
M                Pembroke Pines FL 33028     Pharmaceuticals,      July 05, 2017
                                             Inc.
Clayten          147 Forest Edge Dr Saint    Vital                 Employment Agreement, dated
VanWingerden     Johns FL 32259              Pharmaceuticals,      November 25, 2019
Thomas                                       Inc.
Clement          5612 Frost Ln Flower        Vital                 Employment Agreement, dated
Maureal          Mound TX 75028              Pharmaceuticals,      December 16, 2019
Garciano                                     Inc.
Cleonice         2436 Okeechobee Ln Fort     Vital                 Employment Agreement, dated
Glanert          Lauderdale FL 33312         Pharmaceuticals,      September 21, 2020
                                             Inc.
Cody Cullen      146 Pearl St Clinton MA     Vital                 Employment Agreement, dated
Brian            1510                        Pharmaceuticals,      January 31, 2022
                                             Inc.
Cody Lei         343 Northwest Byron St      Vital                 Employment Agreement, dated
                 Port St Lucie FL 34983      Pharmaceuticals,      November 18, 2019
                                             Inc.




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 Counterparty
                    Counterparty Address             Debtor                 Description
    Name
Cody Phillips     1819 Dove Field Place       Vital                 Employment Agreement, dated
                  Brandon FL 33510            Pharmaceuticals,      September 13, 2021
                                              Inc.
Cody Shanley      5216 Bryant Irvin Rd Apt    Vital                 Employment Agreement, dated
Allan             2180 Fort Worth TX 76132    Pharmaceuticals,      May 11, 2020
                                              Inc.
Conrade           5172 Clarion Oaks Dr        Vital                 Employment Agreement, dated
Matthews Mark     Orlando FL 32808            Pharmaceuticals,      April 15, 2019
A                                             Inc.
Cooper Woods      1100 East Apache Blvd Apt   Vital                 Employment Agreement, dated
Leland            5069 Tempe AZ 85281         Pharmaceuticals,      February 24, 2020
                                              Inc.
Corali Marquez    330 Patio Village Terrace   Vital                 Employment Agreement, dated
Iparraguirre      Weston FL 33326             Pharmaceuticals,      March 24, 2022
                                              Inc.
Corey Carneau     3500 SE Oak Grove Blvd      Vital                 Employment Agreement, dated
Scott             Apt 44 Milwaukie OR         Pharmaceuticals,      July 30, 2018
                  97267                       Inc.
Corey Connett     2101 James Dr Gadsden AL    Vital                 Employment Agreement, dated
Edward            35907                       Pharmaceuticals,      April 18, 2022
                                              Inc.
Corey Leja        850 Spring Creek Ct Elk     Vital                 Employment Agreement, dated
                  Grove Village IL 60007      Pharmaceuticals,      December 23, 2019
                                              Inc.
Courtney          800 El Dorado Parkway       Vital                 Employment Agreement, dated
McDonough         Plantation FL 33317         Pharmaceuticals,      December 16, 2019
                                              Inc.
Courtney Wilkie   2706 Taylor Street          Vital                 Employment Agreement, dated
Paige             Hollywood, FL 33020         Pharmaceuticals,      June 28, 2021
                                              Inc.
Craig Dalbec      8672 West Bajada Rd         Vital                 Employment Agreement, dated
Jeffery           Peoria AZ 85383             Pharmaceuticals,      August 21, 2017
                                              Inc.
Craig Verwey      1565 Ibis Dr Orange Park    Vital                 Employment Agreement, dated
William           FL 32065                    Pharmaceuticals,      May 13, 2019
                                              Inc.
Cristian          1643 Keena Dr Las Vegas     Vital                 Employment Agreement, dated
Rodriguez         NV 89011                    Pharmaceuticals,      January 22, 2007
                                              Inc.
Cristian Ruiz     16293 Southwest 11th St     Vital                 Employment Agreement, dated
                  Pembroke Pines FL 33027     Pharmaceuticals,      June 28, 2021
                                              Inc.
Cristiano Silva   1772 Aspen Ln Weston FL     Vital                 Employment Agreement, dated
                  33327                       Pharmaceuticals,      September 13, 2021
                                              Inc.
Cristina          2273 Nova Village Dr        Vital                 Employment Agreement, dated
Benavente         Davie FL 33317              Pharmaceuticals,      April 06, 2020
Maria                                         Inc.




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 Counterparty
                     Counterparty Address             Debtor                 Description
     Name
Curtis Fleming-    40774 West Portis Dr        Vital                 Employment Agreement, dated
Davis Russell      Maricopa AZ 85138           Pharmaceuticals,      June 06, 2022
                                               Inc.
Cydney Hatch       11064 South Old Bridge Rd   Vital                 Employment Agreement, dated
Afton              South Jordan UT 84009       Pharmaceuticals,      March 04, 2019
                                               Inc.
Daisy              15560 Southwest 136th St    Vital                 Employment Agreement, dated
Grunewald          Unit 211 Miami FL 33196     Pharmaceuticals,      March 14, 2022
                                               Inc.
Dale Egelston K    7503 Carolina Ln            Vital                 Employment Agreement, dated
                   Vancouver WA 98664          Pharmaceuticals,      November 08, 2021
                                               Inc.
Damaris            990 Coral Ridge Dr #301     Vital                 Employment Agreement, dated
Feliciano          Coral Springs FL 33071      Pharmaceuticals,      June 16, 2022
                                               Inc.
Damarys            15886 Southwest 84th St     Vital                 Employment Agreement, dated
Carreras Perez     Miami FL 33193              Pharmaceuticals,      October 26, 2021
                                               Inc.
Dana Abdulhay      2100 SW 152 Pl Miami FL     Vital                 Employment Agreement, dated
K                  33185                       Pharmaceuticals,      September 04, 2018
                                               Inc.
Daniel Ajibike     8417 Seven Hills Rd         Vital                 Employment Agreement, dated
Adewumi            Arlington TX 76002          Pharmaceuticals,      July 18, 2022
Adebowal                                       Inc.
Daniel Bolen       14530 S Juniper Shade Dr    Vital                 Employment Agreement, dated
James              Herriman UT 84096           Pharmaceuticals,      July 13, 2020
                                               Inc.
Daniel Bolivar     19340 Northwest 7th St      Vital                 Employment Agreement, dated
Enrique            Pembroke Pines FL 33029     Pharmaceuticals,      November 08, 2021
                                               Inc.
Daniel Burnett J   31877 Corte Montecito       Vital                 Employment Agreement, dated
                   Temecula CA 92592           Pharmaceuticals,      August 04, 2021
                                               Inc.
Daniel Hurtes      12431 Baywind Ct Boca       Vital                 Employment Agreement, dated
Scott              Raton FL 33428              Pharmaceuticals,      October 07, 2021
                                               Inc.
Daniel Jacque      7943 W 2nd Ct 201           Vital                 Employment Agreement, dated
Adeniji            Hialeah FL 33014            Pharmaceuticals,      December 13, 2021
                                               Inc.
Daniel Lee Yu-     3100 Jeanetta St Apt 101    Vital                 Employment Agreement, dated
Chieh              Houston TX 77063            Pharmaceuticals,      January 06, 2020
                                               Inc.
Daniel Lopez       8704 W Cp Hayes Dr          Vital                 Employment Agreement, dated
Martin             Tolleson AZ 85353           Pharmaceuticals,      August 16, 2021
                                               Inc.
Daniel Martinez    2050 West Romley Ave        Vital                 Employment Agreement, dated
Montoya            Phoenix AZ 85041            Pharmaceuticals,      January 21, 2019
                                               Inc.




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 Counterparty
                    Counterparty Address             Debtor                 Description
    Name
Daniel Palmer D   5130 Bull Run Dr Baton      Vital                 Employment Agreement, dated
                  Rouge LA 70817              Pharmaceuticals,      November 11, 2019
                                              Inc.
Daniel Tellez     7013 W Catalina Dr          Vital                 Employment Agreement, dated
Ruben             Phoenix AZ 85033            Pharmaceuticals,      July 01, 2019
                                              Inc.
Daniel Velez      901 S Country Club Dr       Vital                 Employment Agreement, dated
                  1008 Mesa AZ 85210          Pharmaceuticals,      April 04, 2022
                                              Inc.
Danield Najera-   7622 West College Dr        Vital                 Employment Agreement, dated
Armenta           Phoenix AZ 85033            Pharmaceuticals,      November 20, 2019
                                              Inc.
Daniella Mares    21202 West Encanto Blvd     Vital                 Employment Agreement, dated
Almada            Buckeye AZ 85396            Pharmaceuticals,      May 31, 2022
                                              Inc.
Danielle Brown    13501 AnNE Browers Rd       Vital                 Employment Agreement, dated
Lisa              Charlotte NC 28213          Pharmaceuticals,      October 04, 2021
                                              Inc.
Danielle Cohen    21243 Southwest 89th Ct     Vital                 Employment Agreement, dated
Elizabeth         Cutler Bay FL 33189         Pharmaceuticals,      November 25, 2019
                                              Inc.
Danielson Jean-   112 S Sequoia Dr West       Vital                 Employment Agreement, dated
Baptiste          Palm Beach FL 33409         Pharmaceuticals,      April 08, 2019
                                              Inc.
Danny Benabe S    44247 Kramer Ln Maricopa    Vital                 Employment Agreement, dated
                  AZ 85138                    Pharmaceuticals,      August 01, 2022
                                              Inc.
Dariel            2040 Northwest 93rd Ave     Vital                 Employment Agreement, dated
Rodriguez         Pembroke Pines FL 33024     Pharmaceuticals,      July 06, 2021
Barrera                                       Inc.
Dario Loredo      2047 North 51St Dr          Vital                 Employment Agreement, dated
Calderon          Phoenix AZ 85035            Pharmaceuticals,      June 18, 2019
                                              Inc.
Darnell Begay     4621 North 19th Ave         Vital                 Employment Agreement, dated
                  Phoenix AZ 85015            Pharmaceuticals,      June 08, 2020
                                              Inc.
Darryl McClish    12811 Segovia Dr            Vital                 Employment Agreement, dated
L                 Litchfield Park AZ 85340    Pharmaceuticals,      September 30, 2021
                                              Inc.
Daryl Lehman      3442 Hickory Ave Adair IA   Vital                 Employment Agreement, dated
Scott             50002                       Pharmaceuticals,      January 16, 2019
                                              Inc.
David Aguilar     304 East Beth Dr Phoenix    Vital                 Employment Agreement, dated
Christopher       AZ 85042                    Pharmaceuticals,      April 02, 2018
                                              Inc.
David Andrade     1292 Northwest 171St        Vital                 Employment Agreement, dated
                  Terrace Pembroke Pines FL   Pharmaceuticals,      February 03, 2020
                  33028                       Inc.




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 Counterparty
                    Counterparty Address              Debtor                 Description
    Name
David Burgess     408 Tracy Cir Nokomis FL     Vital                 Employment Agreement, dated
A                 34275                        Pharmaceuticals,      August 15, 2022
                                               Inc.
David             21550 Box Springs Rd         Vital                 Employment Agreement, dated
Buschman Brian    2062 Moreno Valley CA        Pharmaceuticals,      March 16, 2020
                  92557                        Inc.
David Cervantes   5204 South 85th West Ave     Vital                 Employment Agreement, dated
Jr                Tulsa OK 74107               Pharmaceuticals,      December 13, 2021
                                               Inc.
David Fridkin     1945 S Ocean Dr Apt 605      Vital                 Employment Agreement, dated
                  Hallandale Beach FL 33009    Pharmaceuticals,      February 21, 2022
                                               Inc.
David Gil A       17901 NW 48 Ct Miami         Vital                 Employment Agreement, dated
                  Gardens FL 33055             Pharmaceuticals,      February 03, 2020
                                               Inc.
David Guevara     6570 San Homero Way          Vital                 Employment Agreement, dated
Adrian            Buena Park CA 90620          Pharmaceuticals,      September 03, 2019
                                               Inc.
David James       933 Apollo Beach Blvd        Vital                 Employment Agreement, dated
                  Unit 103 Apollo Beach FL     Pharmaceuticals,      July 26, 2021
                  33572                        Inc.
David Jordan L    483 N Lakeview Dr Lake       Vital                 Employment Agreement, dated
                  Helen FL 32744               Pharmaceuticals,      January 13, 2020
                                               Inc.
David Mauga       4447 West Earll Dr Phoenix   Vital                 Employment Agreement, dated
                  AZ 85031                     Pharmaceuticals,      November 18, 2019
                                               Inc.
David Morelock    6319 Mill Grove Rd Indian    Vital                 Employment Agreement, dated
Ray               Trail NC 28079               Pharmaceuticals,      July 01, 2019
                                               Inc.
David             220 NW 48th St Miami FL      Vital                 Employment Agreement, dated
Nebieridze        33127                        Pharmaceuticals,      June 01, 2021
                                               Inc.
David Nemes       1134 East Caroline Ct        Vital                 Employment Agreement, dated
Averaham          Ontario CA 91764             Pharmaceuticals,      May 04, 2020
                                               Inc.
David Podkulski   1613 Saunders Ave Saint      Vital                 Employment Agreement, dated
John              Paul MN 55116                Pharmaceuticals,      March 09, 2020
                                               Inc.
David Polanco     1000 Sellers Dr Ne Apt 1     Vital                 Employment Agreement, dated
Dominic           Albuquerque NM 87112-        Pharmaceuticals,      March 02, 2020
                  5168                         Inc.
David Power       1001 Northwest 94th          Vital                 Employment Agreement, dated
Michael           Terrace Plantation FL        Pharmaceuticals,      May 22, 2019
                  33322                        Inc.
David Rangel      1813 Hideaway Place Apt      Vital                 Employment Agreement, dated
                  101 Corona CA 92881          Pharmaceuticals,      January 27, 2020
                                               Inc.




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 Counterparty
                    Counterparty Address              Debtor                 Description
     Name
David             707 West Saint Kateri Ave    Vital                 Employment Agreement, dated
Villalobos Esi    Phoenix AZ 85041             Pharmaceuticals,      February 03, 2020
                                               Inc.
David Whaley      8781 Wiles Rd Apt 201        Vital                 Employment Agreement, dated
Lee               Coral Springs FL 33067       Pharmaceuticals,      November 15, 2021
                                               Inc.
Davontay          11875 West Mcdowell Rd       Vital                 Employment Agreement, dated
Goode D           Apt 2138 Avondale AZ         Pharmaceuticals,      August 23, 2021
                  85392                        Inc.
Daxin Lau-        3756 Plantation Oaks Blvd    Vital                 Employment Agreement, dated
Huang             Orange Park FL 32065         Pharmaceuticals,      June 20, 2022
                                               Inc.
Dayana            2100 Southwest 152nd         Vital                 Employment Agreement, dated
Abdulhay          Place Miami FL 33185         Pharmaceuticals,      August 29, 2022
                                               Inc.
Debora Duarte     228 Bent Creek Dr Hutto      Vital                 Employment Agreement, dated
Jaye              TX 78634                     Pharmaceuticals,      June 07, 2021
                                               Inc.
Demi Nguyen       12323 LuSuiterleaf Dr        Vital                 Employment Agreement, dated
Haimy             Cypress TX 77429             Pharmaceuticals,      September 13, 2021
                                               Inc.
Dennie Stacy      3397 Loblolly Dr Sophia      Vital                 Employment Agreement, dated
Shane             NC 27350                     Pharmaceuticals,      May 29, 2019
                                               Inc.
Dennis Ruiz       10700 City Center Blvd Apt   Vital                 Employment Agreement, dated
                  5219 Pembroke Pines FL       Pharmaceuticals,      July 13, 2011
                  33025                        Inc.
Dennis Valdez     1101 North Gilbert Rd Apt    Vital                 Employment Agreement, dated
                  85234 Gilbert AZ 85234       Pharmaceuticals,      September 23, 2019
                                               Inc.
Deon Mosley A     11 South 12th St Apt 2116    Vital                 Employment Agreement, dated
                  Phoenix AZ 85034             Pharmaceuticals,      March 21, 2022
                                               Inc.
Deonta Coley D    94 North 174th Dr            Vital                 Employment Agreement, dated
                  Goodyear AZ 85338            Pharmaceuticals,      November 05, 2018
                                               Inc.
Derek Simon       11122 Topeka Place           Vital                 Employment Agreement, dated
                  Hollywood FL 33026           Pharmaceuticals,      October 22, 2018
                                               Inc.
Derius King       9229 Harbor Stream Ave       Vital                 Employment Agreement, dated
Jordan            Las Vegas NV 89149           Pharmaceuticals,      November 29, 2021
                                               Inc.
Desiderio Lora    2425 Victory Ave Unit 509    Vital                 Employment Agreement, dated
Jr                Dallas TX 75219              Pharmaceuticals,      November 10, 2020
                                               Inc.
Destiny Alvarez   11854 Southwest 13th St      Vital                 Employment Agreement, dated
M                 Apt 121-11854 Pembroke       Pharmaceuticals,      January 03, 2022
                  Pines FL 33025               Inc.




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 Counterparty
                    Counterparty Address              Debtor                 Description
    Name
Devrol Palmer     8441 SW 39 Ct Davie FL       Vital                 Employment Agreement, dated
                  33328                        Pharmaceuticals,      November 30, 2020
                                               Inc.
Devyn O'Brien     6827 S St Andrews Way        Vital                 Employment Agreement, dated
Ashley            Gilbert AZ 85298             Pharmaceuticals,      June 26, 2018
                                               Inc.
Dexter Jackson    15548 Valley High Ln         Vital                 Employment Agreement, dated
James-Ajani       Victorville CA 92394         Pharmaceuticals,      July 30, 2007
                                               Inc.
Diana Ocampo      8818 NW 109 Terr Hialeah     Vital                 Employment Agreement, dated
                  Gardens FL 33018             Pharmaceuticals,      August 19, 2019
                                               Inc.
Diego Corpus      830 S Dobson Rd #95 Mesa     Vital                 Employment Agreement, dated
Cordova           AZ 85202                     Pharmaceuticals,      June 06, 2022
Antonio                                        Inc.
Dixi Andrade      3881 West State Rd 84 Apt    Vital                 Employment Agreement, dated
Ortega Carolina   205 Davie FL 33312           Pharmaceuticals,      March 18, 2019
                                               Inc.
Domingo Dalina    2544 East La Jolla Dr        Vital                 Employment Agreement, dated
Melo              Tempe AZ 85282               Pharmaceuticals,      August 05, 2019
                                               Inc.
Dominque          2280 Gulfstream Dr           Vital                 Employment Agreement, dated
Fenton Anthony    Miramar FL 33023             Pharmaceuticals,      March 28, 2022
                                               Inc.
Don Xiong Lee     2614 Caralea Valley Dr       Vital                 Employment Agreement, dated
                  North Carolina NC 28027      Pharmaceuticals,      November 06, 2008
                                               Inc.
Donald            8913 West Gibson Ln          Vital                 Employment Agreement, dated
Rodriguez R       Tolleson AZ 85353            Pharmaceuticals,      August 30, 2021
                                               Inc.
Donovan           1954 Hunters Ridge Dr        Vital                 Employment Agreement, dated
Dengler Richard   Bloomfield Hills FL 48304    Pharmaceuticals,      March 21, 2022
                                               Inc.
Dorian Sawyer     3021 NW 187 St Miami         Vital                 Employment Agreement, dated
M                 Gardens FL 33056             Pharmaceuticals,      January 03, 2017
                                               Inc.
Douglas Bradley 1705 Powell Mill Rd            Vital                 Employment Agreement, dated
Jr. C           Spartanburg SC 29301           Pharmaceuticals,      November 18, 2019
                                               Inc.
Douglas Gibson    1430 Northwest 196th         Vital                 Employment Agreement, dated
II Daniel         Terrace Miami FL 33169       Pharmaceuticals,      February 03, 2020
                                               Inc.
Douglas           3028 Jacob Dr Wylie TX       Vital                 Employment Agreement, dated
Smotherman        75098                        Pharmaceuticals,      November 18, 2019
Dwight                                         Inc.
Duke Machaka      5573 Pacific Blvd Apt 3515   Vital                 Employment Agreement, dated
O                 Boca Raton FL 33433          Pharmaceuticals,      May 04, 2020
                                               Inc.




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 Counterparty
                     Counterparty Address              Debtor                 Description
     Name
Dusten Welch B     10700 2nd St Mansfield TX    Vital                 Employment Agreement, dated
                   76063                        Pharmaceuticals,      October 05, 2020
                                                Inc.
Dustin Loftman     1006 Hansen St West Palm     Vital                 Employment Agreement, dated
Lee                Beach FL 33405               Pharmaceuticals,      December 31, 2018
                                                Inc.
Dustin Rosser C    265 Moore St Trion GA        Vital                 Employment Agreement, dated
                   30753                        Pharmaceuticals,      February 11, 2019
                                                Inc.
Dwayne             10725 Sleigh Bell Ln         Vital                 Employment Agreement, dated
Rhymer             Charlotte NC 28216           Pharmaceuticals,      August 08, 2022
Olandzo                                         Inc.
Dylan Gulledge     6234 Chamar Cir              Vital                 Employment Agreement, dated
Reid               Kannapolis NC 28081          Pharmaceuticals,      December 13, 2021
                                                Inc.
Dylan Watson       15501 Bruce B Downs Blvd     Vital                 Employment Agreement, dated
Anthony            Apt 3323 Tampa FL 33647      Pharmaceuticals,      February 17, 2020
                                                Inc.
Edgar Coin Jr. L   1848 East Turney Ave         Vital                 Employment Agreement, dated
                   Phoenix AZ 85016             Pharmaceuticals,      October 03, 2022
                                                Inc.
Edgar              921 N 17 Ct 929              Vital                 Employment Agreement, dated
Fernandez          Hollywood FL 33020           Pharmaceuticals,      December 03, 2020
                                                Inc.
Edgar Martinez     1606 West Myrtle Ave         Vital                 Employment Agreement, dated
                   Visalia CA 93277             Pharmaceuticals,      March 09, 2020
                                                Inc.
Edgar Soto         286 E Raleigh Dr Chandler    Vital                 Employment Agreement, dated
German             AZ 85286                     Pharmaceuticals,      January 06, 2020
                                                Inc.
Eduardo Ruiz       12537 West Washington St     Vital                 Employment Agreement, dated
                   Avondale AZ 85323            Pharmaceuticals,      December 06, 2021
                                                Inc.
Edward Corsino     372 Northeast 36th Terrace   Vital                 Employment Agreement, dated
                   Homestead FL 33033           Pharmaceuticals,      January 25, 2022
                                                Inc.
Edward Diaz        9444 Woodman Ave Arleta      Vital                 Employment Agreement, dated
                   CA 91331                     Pharmaceuticals,      September 28, 2020
                                                Inc.
Edward Smith       904 Northeast 10th Ln Cape   Vital                 Employment Agreement, dated
Allen              Coral FL 33909               Pharmaceuticals,      July 15, 2019
                                                Inc.
Edward Suggs       9870 Bellasera Cir Myrtle    Vital                 Employment Agreement, dated
M                  Beach SC 29579               Pharmaceuticals,      October 16, 2018
                                                Inc.
Edwards            820 Renaissance Pointe 105   Vital                 Employment Agreement, dated
Anderson           Altamonte Springs FL         Pharmaceuticals,      December 27, 2021
                   32714                        Inc.




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 Counterparty
                      Counterparty Address            Debtor                 Description
     Name
Edwin Mejias        3921 SW 160th Ave #303     Vital                 Employment Agreement, dated
Figueroa            Miramar FL 33027           Pharmaceuticals,      November 01, 2021
                                               Inc.
Edwin Perez         4080 Fort Dr Riverside CA Vital                  Employment Agreement, dated
Alejandro           92509                      Pharmaceuticals,      September 23, 2019
                                               Inc.
Edwin Reyes         1087 Bismarck Dr           Vital                 Employment Agreement, dated
Ramon               Campbell CA 95008          Pharmaceuticals,      February 28, 2022
                                               Inc.
Eileen Velazco-     346 Jamacha Rd Apt 135 El Vital                  Employment Agreement, dated
Serrano             Cajon CA 92019             Pharmaceuticals,      September 20, 2021
                                               Inc.
Eina Watford        8481 Springtree Dr Apt     Vital                 Employment Agreement, dated
Marie               303B Sunrise FL 33351      Pharmaceuticals,      January 14, 2019
                                               Inc.
Elgina Cantave      4370 NW 12th Ct            Vital                 Employment Agreement, dated
                    Lauderhill FL 33313        Pharmaceuticals,      March 28, 2022
                                               Inc.
Eliana              8315 Belay St Las Vegas    Vital                 Employment Agreement, dated
Morgenstern         NV 89166                   Pharmaceuticals,      August 01, 2022
Rebecca                                        Inc.
Elissa Rivera       6110 Southwest 41St Ct Apt Vital                 Employment Agreement, dated
                    B Davie FL 33314           Pharmaceuticals,      February 22, 2021
                                               Inc.
Elizabeth           5350 Northwest 84th Ave    Vital                 Employment Agreement, dated
Castillo Payero     Apt 1803 Doral FL 33166    Pharmaceuticals,      May 15, 2017
                                               Inc.
Elizabeth           9071 Northwest 16th St     Vital                 Employment Agreement, dated
Morales Nolan       Plantation FL 33322        Pharmaceuticals,      November 28, 2016
                                               Inc.
Elli-Ana Hauser     4004 Risa Ct San Diego CA Vital                  Employment Agreement, dated
Shaine              92124                      Pharmaceuticals,      February 08, 2022
                                               Inc.
Emma                5514 Los Palma Vista Dr    Vital                 Employment Agreement, dated
McGuinness          Orlando FL 32837           Pharmaceuticals,      April 06, 2020
Quinn                                          Inc.
Eric Allen Justin   12345 Southwest 151St St   Vital                 Employment Agreement, dated
                    Apt A-203 Miami FL 33186 Pharmaceuticals,        September 21, 2020
                                               Inc.
Eric Amarante       727 Dakota Dr San Jose CA Vital                  Employment Agreement, dated
                    95111                      Pharmaceuticals,      October 05, 2020
                                               Inc.
Eric Andrade        232 Southwest 23rd St Apt  Vital                 Employment Agreement, dated
Yovany              3 Fort Lauderdale FL 33315 Pharmaceuticals,      December 06, 2021
                                               Inc.
Eric Beyer          14508 West Ventura St      Vital                 Employment Agreement, dated
Joseph              Surprise AZ 85379          Pharmaceuticals,      April 27, 2022
                                               Inc.




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 Counterparty
                    Counterparty Address            Debtor                 Description
      Name
Eric Joseph       151 NE 82nd St 3 Miami     Vital                 Employment Agreement, dated
                  FL 33138                   Pharmaceuticals,      August 23, 2021
                                             Inc.
Eric Patton       2700 Cedar Creek Ln Apt    Vital                 Employment Agreement, dated
                  4022 Denton TX 76210       Pharmaceuticals,      November 11, 2019
                                             Inc.
Eric Peters N     1301 West Lambert Ln Apt   Vital                 Employment Agreement, dated
                  7104 Oro Valley AZ 85737   Pharmaceuticals,      October 25, 2021
                                             Inc.
Erica Castelazo   11850 NW 20th Ct           Vital                 Employment Agreement, dated
                  Plantation FL 33323        Pharmaceuticals,      January 05, 2021
                                             Inc.
Erick Gonzalo     350 West 20th St Apt 8     Vital                 Employment Agreement, dated
Perez             Hialeah FL 33010           Pharmaceuticals,      April 08, 2019
                                             Inc.
Erik De           17458 Burma St Los         Vital                 Employment Agreement, dated
Santiago          Angeles CA 91316           Pharmaceuticals,      January 10, 2022
                                             Inc.
Erik Iniguez      8522 Serapis Avenue Pico   Vital                 Employment Agreement, dated
                  Rivera CA 90660            Pharmaceuticals,      January 27, 2020
                                             Inc.
Erik McKee        747 Washington Crossing    Vital                 Employment Agreement, dated
Michael           Rd Newtown PA 18940        Pharmaceuticals,      March 03, 2021
                                             Inc.
Erik Vitela       4527 West Marlette Ave     Vital                 Employment Agreement, dated
Fernandez O       Glendale AZ 85301          Pharmaceuticals,      June 07, 2021
                                             Inc.
Esteban Gaucin    9310 West Bennet Plaza     Vital                 Employment Agreement, dated
Chavez            Phoenix AZ 85037           Pharmaceuticals,      August 23, 2021
                                             Inc.
Esteban Gaucin    9310 West Bennet Plaza     Vital                 Employment Agreement, dated
Guerrero          Phoenix AZ 85037           Pharmaceuticals,      June 04, 2018
                                             Inc.
Estefania         560 Conservation Dr        Vital                 Independent Contractor
Serrano           Weston FL 33327            Pharmaceuticals,      Agreement, dated April 25,
                                             Inc.                  2014
Estefania         560 Conservation Dr        Vital                 Employment Agreement, dated
Serrano Talia     Weston FL 33327            Pharmaceuticals,      January 13, 2020
                                             Inc.
Esther Capeluto- 3792 San Simeon Cir         Vital                 Employment Agreement, dated
Campagna A       Weston FL 33331             Pharmaceuticals,      September 28, 2021
                                             Inc.
Esther Polanco    6530 Ridgelock Ct Davie    Vital                 Employment Agreement, dated
C                 FL 33331                   Pharmaceuticals,      October 25, 2021
                                             Inc.
Ethan Cohen       8476 S Moondance Cellars   Vital                 Employment Agreement, dated
Haim              Ct Las Vegas NV 89139      Pharmaceuticals,      September 30, 2019
                                             Inc.




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 Counterparty
                     Counterparty Address              Debtor                 Description
     Name
Ethan Mata         3870 Prescott Loop           Vital                 Employment Agreement, dated
Joseph             Lakeland FL 33810            Pharmaceuticals,      February 10, 2020
                                                Inc.
Eugene Bukovi      836 Lavender Cir Weston      Vital                 Employment Agreement, dated
                   FL 33327                     Pharmaceuticals,      April 05, 2022
                                                Inc.
Eunice Garcia      5141 North F St San          Vital                 Employment Agreement, dated
Renee              Bernardino CA 92407          Pharmaceuticals,      April 12, 2021
                                                Inc.
Evan Beard         203 Depot Ave 5-316          Vital                 Employment Agreement, dated
Thomas             Delray Beach FL 33444        Pharmaceuticals,      November 20, 2009
                                                Inc.
Evan Popham        395 WestcheSuiter Ave Apt    Vital                 Employment Agreement, dated
Thomas             6E Port Chester NY 10573     Pharmaceuticals,      January 25, 2021
                                                Inc.
Fabiola            5900 Northwest 44th St Apt   Vital                 Employment Agreement, dated
Excellent          808 Lauderhill FL 33319      Pharmaceuticals,      August 15, 2022
                                                Inc.
Fabricio Martin    500 SW 145th Ave Apt 508     Vital                 Employment Agreement, dated
                   Pembroke Pines FL 33027      Pharmaceuticals,      June 29, 2021
                                                Inc.
Federica           6081 West Suburban Dr        Vital                 Employment Agreement, dated
Santaella Isabel   Pinecrest FL 33156           Pharmaceuticals,      November 29, 2019
                                                Inc.
Felipe Grando      8300 Northwest 115th Ct      Vital                 Employment Agreement, dated
Kroeff             Doral FL 33178               Pharmaceuticals,      February 21, 2022
                                                Inc.
Felipe             14920 Castlegate Ave         Vital                 Employment Agreement, dated
Rodriguez Jose     Davie FL 33331               Pharmaceuticals,      November 29, 2021
                                                Inc.
Felipe Vergara     1915 East Turney Ave         Vital                 Employment Agreement, dated
Aleman             Phoenix AZ 85016             Pharmaceuticals,      July 27, 2022
                                                Inc.
Ferdinand Carey    11851 Northwest 31St St      Vital                 Employment Agreement, dated
Jr. Charles        Sunrise FL 33323             Pharmaceuticals,      January 27, 2020
                                                Inc.
Filadelfo          22722 Lukens Ln Perris CA    Vital                 Employment Agreement, dated
Gamino             92570                        Pharmaceuticals,      August 01, 2022
                                                Inc.
Flavio             10441 Northwest 11th St      Vital                 Employment Agreement, dated
Alexandre          Unit 101 Pembroke Pines      Pharmaceuticals,      August 10, 2021
Marrone            FL 33026                     Inc.
Schmidt
Francis            7330 Ocean Terrace 1101      Vital                 Employment Agreement, dated
Massabki           Miami Beach FL 33141         Pharmaceuticals,      October 07, 2019
                                                Inc.
Francisco          4235 West Denton Ln          Vital                 Employment Agreement, dated
Vasquez Gamez      Phoenix AZ 85019             Pharmaceuticals,      August 22, 2022
J                                               Inc.


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 Counterparty
                    Counterparty Address              Debtor                 Description
     Name
Francisco         22758 West Mohave St         Vital                 Employment Agreement, dated
Zazueta-Osorio    Buckeye AZ 85326             Pharmaceuticals,      March 29, 2022
                                               Inc.
Frandy Michel     4625 Northwest 9th Dr        Vital                 Employment Agreement, dated
Andre             Plantation FL 33317          Pharmaceuticals,      March 06, 2019
                                               Inc.
Frank Guagenti    4245 Palm Forest Dr South    Vital                 Employment Agreement, dated
                  Delray Beach FL 33445        Pharmaceuticals,      March 02, 2020
                                               Inc.
Frank             2506 West Stroud Ave Apt     Vital                 Employment Agreement, dated
Marcantoni        211 Tampa FL 33629           Pharmaceuticals,      May 04, 2020
Michael                                        Inc.
Fred Garcia       8051 4th St Apt 29 Buena     Vital                 Employment Agreement, dated
Abraham           Park CA 90621                Pharmaceuticals,      April 13, 2020
                                               Inc.
Fred Martinez     9767 West 34th Ln Hialeah    Vital                 Employment Agreement, dated
                  FL 33018                     Pharmaceuticals,      January 25, 2022
                                               Inc.
Frederick         6008 PiNE Creek Dr St        Vital                 Employment Agreement, dated
Armstrong III     Augustine FL 32092           Pharmaceuticals,      August 22, 2022
W                                              Inc.
Fritz Tilus C     11003 Royal Palm Blvd        Vital                 Employment Agreement, dated
                  Coral Springs FL 33065       Pharmaceuticals,      September 06, 2022
                                               Inc.
Gabriel Diaz      1013 Better Days Place       Vital                 Employment Agreement, dated
Mariano           Valrico FL 33594             Pharmaceuticals,      March 09, 2020
                                               Inc.
Gabriel           4146 East Mendez St Apt      Vital                 Employment Agreement, dated
Karanopoulos      226 Long Beach CA 90815      Pharmaceuticals,      December 02, 2019
James Lee                                      Inc.
Gabriel           1730 Lancelot Loop Tampa     Vital                 Employment Agreement, dated
Rodriguez         FL 33619                     Pharmaceuticals,      May 09, 2022
                                               Inc.
Gabriela          1600 N Park Dr Weston FL     Vital                 Employment Agreement, dated
Hernandez         33326-3278                   Pharmaceuticals,      December 10, 2019
Gonzalez                                       Inc.
Cristina
Gabriella         4329 West Orangewood         Vital                 Employment Agreement, dated
Calderon          Ave Glendale AZ 85301        Pharmaceuticals,      November 02, 2020
Blancas                                        Inc.
Gabriella Verne   850 Sunflower Cir Weston     Vital                 Employment Agreement, dated
A                 FL 33327                     Pharmaceuticals,      February 03, 2020
                                               Inc.
Gabrielle         504 Bedford Ave Weston       Vital                 Employment Agreement, dated
McKean Megan      FL 33326                     Pharmaceuticals,      December 14, 2020
                                               Inc.
Galdino           5227 South 46th St Phoenix   Vital                 Employment Agreement, dated
Martinez          AZ 85040                     Pharmaceuticals,      September 09, 2021
                                               Inc.


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 Counterparty
                    Counterparty Address             Debtor                 Description
     Name
Gary De Myer      10857 Madison Dr Boynton    Vital                 Employment Agreement, dated
Francis           Beach FL 33437              Pharmaceuticals,      March 21, 2022
                                              Inc.
Gary Puchalski    2423 East Detroit Ct        Vital                 Employment Agreement, dated
John              Chandler AZ 85225           Pharmaceuticals,      August 02, 2022
                                              Inc.
Gaven Obrecht     6307 Montezuma Rd San       Vital                 Employment Agreement, dated
                  Diego CA 92115              Pharmaceuticals,      December 02, 2019
                                              Inc.
Gavin McGrail     5150 West Eugie Ave Apt     Vital                 Employment Agreement, dated
Hugh              2056 Glendale AZ 85304      Pharmaceuticals,      September 19, 2019
                                              Inc.
Gavin Stoub       1047 Willow Ln Batavia IL   Vital                 Employment Agreement, dated
William           60510                       Pharmaceuticals,      October 04, 2019
                                              Inc.
Gavin Teevan H    243 Erin Ct Greenwood IN    Vital                 Employment Agreement, dated
                  46142                       Pharmaceuticals,      October 29, 2021
                                              Inc.
Geisy             7051 Environ Blvd 132       Vital                 Employment Agreement, dated
Montealegre       Lauderhill FL 33319         Pharmaceuticals,      November 15, 2021
Ruano                                         Inc.
Gene Clinton      1004 Rainbow Cliff Ct Las   Vital                 Employment Agreement, dated
Craig             Vegas NV 89123              Pharmaceuticals,      January 16, 2017
                                              Inc.
Gene Gausselin    345 W 44th St Apt 4 San     Vital                 Employment Agreement, dated
E                 Bernardino CA 92407         Pharmaceuticals,      August 23, 2021
                                              Inc.
George Harris     6262 Seminole Dr Olive      Vital                 Employment Agreement, dated
III M             Branch MS 38654             Pharmaceuticals,      August 26, 2019
                                              Inc.
Gerald            12828 North 57th Ave        Vital                 Employment Agreement, dated
Roberson Lee      Glendale AZ 85304           Pharmaceuticals,      October 08, 2018
                                              Inc.
Gerardo           10511 West Heatherbrae Dr   Vital                 Employment Agreement, dated
Hernandez         Phoenix AZ 85037            Pharmaceuticals,      February 11, 2019
                                              Inc.
Gerardo           3845 West Cactus Wren Dr    Vital                 Employment Agreement, dated
Martinez          Phoenix AZ 85051            Pharmaceuticals,      July 26, 2021
                                              Inc.
German Tinoco     25332 Southwest 108th Ave   Vital                 Employment Agreement, dated
C                 Homestead FL 33032          Pharmaceuticals,      March 16, 2020
                                              Inc.
Gideon            5900 Lindenhurst Ave Los    Vital                 Employment Agreement, dated
Eckhouse Barak    Angeles CA 90036            Pharmaceuticals,      December 13, 2021
                                              Inc.
Gina De Angelis   9840 NW 2nd Ct Plantation   Vital                 Employment Agreement, dated
S                 FL 33324                    Pharmaceuticals,      December 16, 2021
                                              Inc.




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 Counterparty
                   Counterparty Address              Debtor                  Description
     Name
Giorgio Moreno   828 West Julie Dr Tempe      Vital                 Employment Agreement, dated
Armani           AZ 85283                     Pharmaceuticals,      February 12, 2020
                                              Inc.
Giuseppe         10115 Elderberry Park Ln     Vital                 Employment Agreement, dated
Mannino          Tomball TX 77375             Pharmaceuticals,      November 15, 2021
                                              Inc.
Glen Fannin      9874 NamaSuite Loop Apt      Vital                 Employment Agreement, dated
Michael          4205 Orlando FL 32836        Pharmaceuticals,      September 28, 2020
                                              Inc.
Gloria Solarte   1254 SW 116 Ave Davie        Vital                 Employment Agreement, dated
Isabella         FL 33325                     Pharmaceuticals,      March 01, 2021
                                              Inc.
Gloria Soto N    101 Berkley Rd Apt 305       Vital                 Employment Agreement, dated
                 Hollywood FL 33024           Pharmaceuticals,      July 26, 2021
                                              Inc.
Grace Costello   3833 Ingraham St Apt A107    Vital                 Employment Agreement, dated
Kathleen         San Diego CA 92109           Pharmaceuticals,      July 26, 2021
Mcavoy                                        Inc.
Granville Keys   16 West Alicen Ct Phoenix    Vital                 Employment Agreement, dated
                 AZ 85021                     Pharmaceuticals,      July 20, 2020
                                              Inc.
Greenspoon       Attn: Peter R. Siegel, Esq   Vital                 Letter re: Miscellaneous Labor
Marder, P.A.     One Boca Place 2255          Pharmaceuticals,      and Employment Matters,
                 Glades Road, Suite 400-E     Inc.                  dated September 29, 2017
                 Boca Raton FL 33431
Gregg Ginalick   330 Willow Run Prosper       Vital                 Employment Agreement, dated
Allen            TX 75078                     Pharmaceuticals,      June 15, 2020
                                              Inc.
Gregg Metzger    1513 Northwest 178th Way     Vital                 Employment Agreement, dated
Howard           Pembroke Pines FL 33029      Pharmaceuticals,      April 04, 2022
                                              Inc.
Gregg Shore      808 Rogers Ct Casselberry    Vital                 Employment Agreement, dated
William          FL 32707                     Pharmaceuticals,      April 05, 2021
                                              Inc.
Gregg Titus      4200 Yellowleaf Dr Fort      Vital                 Employment Agreement, dated
David            Worth TX 76133               Pharmaceuticals,      April 01, 2019
                                              Inc.
Gregorio Cruz    6755 North 83rd Ave Apt      Vital                 Employment Agreement, dated
                 11101 Glendale AZ 85303      Pharmaceuticals,      February 01, 2018
                                              Inc.
Gregory Decker   768 Ilwaco Place Northeast   Vital                 Employment Agreement, dated
F                Renton WA 98059              Pharmaceuticals,      February 14, 2022
                                              Inc.
Gregory          9059 West Sunrise Blvd       Vital                 Employment Agreement, dated
Donadio          Plantation FL 33322          Pharmaceuticals,      August 02, 2021
                                              Inc.
Gregory          1901 North Ocean Blvd        Vital                 Employment Agreement, dated
Robbins R        Unit 2C Fort Lauderdale FL   Pharmaceuticals,      January 03, 2022
                 33305                        Inc.


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 Counterparty
                    Counterparty Address              Debtor                 Description
     Name
Guillermo         18141 SW 144th Ct Miami      Vital                 Employment Agreement, dated
Campos R          FL 33177                     Pharmaceuticals,      March 16, 2020
                                               Inc.
Gustavo Paiva E   11745 West Atlantic Blvd     Vital                 Employment Agreement, dated
                  Apt 36 Coral Springs FL      Pharmaceuticals,      April 25, 2022
                  33071                        Inc.
Gustavo           19392 West Woodlands         Vital                 Employment Agreement, dated
Terrazas Casias   Ave Buckeye AZ 85326         Pharmaceuticals,      July 12, 2021
                                               Inc.
Hal Gerson        210 Camilo Ave Coral         Vital                 Employment Agreement, dated
Kevin             Gables FL 33134              Pharmaceuticals,      December 23, 2019
                                               Inc.
Haley             10103 L Pavia Blvd Venice    Vital                 Employment Agreement, dated
Sedgewick Rose    FL 34292                     Pharmaceuticals,      June 27, 2022
                                               Inc.
Hannah            7700 Jasmine Falls Dr Las    Vital                 Employment Agreement, dated
Williamson Joy    Vegas NV 89179               Pharmaceuticals,      January 15, 2020
                                               Inc.
Hans Hernandez    619 Orton Ave Apt 304 Fort   Vital                 Employment Agreement, dated
Miguel            Lauderdale FL 33304          Pharmaceuticals,      March 23, 2020
                                               Inc.
Harris Fahie Jr   6330 Southwest 34th St       Vital                 Employment Agreement, dated
                  Miramar FL 33023             Pharmaceuticals,      August 15, 2022
                                               Inc.
Harry Hale        516 Bankhead Dr Cary NC      Vital                 Employment Agreement, dated
James             27519                        Pharmaceuticals,      March 23, 2020
                                               Inc.
Haven Hansana     1010 Pakse St Venus TX       Vital                 Employment Agreement, dated
Pauline           76084                        Pharmaceuticals,      January 15, 2020
                                               Inc.
Haven Hansana     1010 Pakse St Venus TX       Vital                 Employment Agreement, dated
Pauline           76084                        Pharmaceuticals,      August 08, 2022
                                               Inc.
Heather Gray      3427 Nassau St Everett WA    Vital                 Employment Agreement, dated
Lynn              98201                        Pharmaceuticals,      January 11, 2021
                                               Inc.
Hector Lira       12210 West Riverside Ave     Vital                 Employment Agreement, dated
Salguero          Tolleson AZ 85353            Pharmaceuticals,      April 27, 2020
Manuel                                         Inc.
Hector Ortiz De   968 SW 143rd Ave             Vital                 Employment Agreement, dated
Jesus             Pembroke Pines FL 33027-     Pharmaceuticals,      April 29, 2014
                  3302                         Inc.
Hector            5463 Northwest Norris Ave    Vital                 Employment Agreement, dated
Rodriguez         Port St Lucie FL 34986       Pharmaceuticals,      November 08, 2021
                                               Inc.
Hector Sanchez    250 West Juniper Ave Unit    Vital                 Employment Agreement, dated
Gonzalez          59 Gilbert AZ 85233          Pharmaceuticals,      July 25, 2022
Manuel                                         Inc.




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 Counterparty
                   Counterparty Address             Debtor                 Description
     Name
Hector Torres    8477 Sandstone Lake Dr      Vital                 Employment Agreement, dated
Santiago Luis    Apt 101 Town 'N' Country    Pharmaceuticals,      August 05, 2019
                 FL 33615                    Inc.
Heith Warshaw    54 Queen AnNE Ln            Vital                 Employment Agreement, dated
Michael          Wappingers Fall NY 12590    Pharmaceuticals,      December 05, 2018
                                             Inc.
Henry Barefoot   8451 SW 163rd Pl Miami      Vital                 Employment Agreement, dated
Martinez         FL 33193                    Pharmaceuticals,      August 01, 2022
                                             Inc.
Henry Diaz       2838 Live Oak St            Vital                 Employment Agreement, dated
                 Huntington Park CA 90255    Pharmaceuticals,      February 21, 2022
                                             Inc.
Heriberto        247 Cascade Bend Dr         Vital                 Employment Agreement, dated
Adorno           Ruskin FL 33570             Pharmaceuticals,      January 11, 2021
                                             Inc.
Hilda Restrepo   6120 NW 186th St #206       Vital                 Employment Agreement, dated
                 Hialeah FL 33015            Pharmaceuticals,      March 12, 2020
                                             Inc.
Horasio          3353 E Ave T2 Palmdale      Vital                 Employment Agreement, dated
Horosco          CA 93550                    Pharmaceuticals,      January 13, 2020
                                             Inc.
Hunter           2300 Wedekind Rd Apt 64     Vital                 Endorsement Agreement, dated
Hernandez        Reno NV                     Pharmaceuticals,      2011
                                             Inc.
Hunter Leffler   5904 Reiter Ave Las Vegas   Vital                 Employment Agreement, dated
Michelle         NV 89108                    Pharmaceuticals,      January 14, 2019
                                             Inc.
Hussein          1500 Stadium Ct Lehigh      Vital                 Employment Agreement, dated
Delawar          Acres FL 33971              Pharmaceuticals,      December 30, 2019
                                             Inc.
Imer Amador      19310 NW 37 Ave Miami       Vital                 Employment Agreement, dated
Esquivel         Gardens FL 33056            Pharmaceuticals,      March 30, 2020
Alfredo                                      Inc.
Ina Walters      10843 South 175th Dr        Vital                 Employment Agreement, dated
Consuelo         Goodyear AZ 85338           Pharmaceuticals,      November 23, 2020
                                             Inc.
Irina Garcia     11431 Lakeside Dr Apt       Vital                 Employment Agreement, dated
Caridad          1402 Doral FL 33178         Pharmaceuticals,      May 04, 2020
                                             Inc.
Isabel Bolivar   10958 SW 232 Ter Miami      Vital                 Employment Agreement, dated
                 FL 33032                    Pharmaceuticals,      April 22, 2019
                                             Inc.
Isabel Montes    11437 West Yavapai St       Vital                 Employment Agreement, dated
Perez            Avondale AZ 85323           Pharmaceuticals,      July 18, 2022
                                             Inc.
Ivan Enriquez    909 SE 9th Ave Ocala FL     Vital                 Employment Agreement, dated
Agustin          34471-3849                  Pharmaceuticals,      January 31, 2022
                                             Inc.




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 Counterparty
                      Counterparty Address                Debtor                  Description
     Name
Ivan Morales        14442 Southwest 179th Ln       Vital                 Employment Agreement, dated
Del Carmen          Miami FL 33177                 Pharmaceuticals,      November 11, 2019
                                                   Inc.
Ivan Morales        14442 Southwest 179th Ln       Vital                 Employment Agreement, dated
Rico O              Miami FL 33177                 Pharmaceuticals,      July 19, 2022
                                                   Inc.
Ivan Perez          27225 Staten Place             Vital                 Employment Agreement, dated
                    Valencia CA 91354              Pharmaceuticals,      November 02, 2020
                                                   Inc.
Izabella Falconi    c/o Lucy's Bazar Brazil Inc.   Vital                 Independent Contractor
                    dba Vitaflex 5263              Pharmaceuticals,      Agreement, dated September
                    International Drive C-2        Inc.                  09, 2013
                    Orlando FL 32819
Izabella Falconi,   Lucy Bazar Brazil, Inc.,       Vital                 Independent Contractor
Bella               5263 International Drive,      Pharmaceuticals,      Agreement
                    C2 Orlando, FL 32819           Inc.
Jack                3668 Marbon Rd                 Vital                 Employment Agreement, dated
Chanthaphoumy       Jacksonville FL 32223          Pharmaceuticals,      September 06, 2022
                                                   Inc.
Jacob Choate        116 Shepherd Valley Rd         Vital                 Employment Agreement, dated
Hogan               Mooresville NC 28115           Pharmaceuticals,      April 09, 2018
                                                   Inc.
Jacob Gonzalez      9336 Roadmaster Court Las      Vital                 Employment Agreement, dated
Manuel              Vegas NV 89178                 Pharmaceuticals,      July 25, 2022
                                                   Inc.
Jacob Payne         1975 Cody St Lakewood          Vital                 Employment Agreement, dated
                    CO 80215                       Pharmaceuticals,      August 03, 2020
                                                   Inc.
Jacob Potter        4402 N 113th Dr Phoenix        Vital                 Employment Agreement, dated
Daniel              AZ 85037                       Pharmaceuticals,      September 30, 2019
                                                   Inc.
Jacob               7700 Jasmine Falls Dr Las      Vital                 Employment Agreement, dated
Williamson          Vegas NV 89179                 Pharmaceuticals,      July 05, 2022
Chatt                                              Inc.
Jacobo Estrada      5175 Genoa St Ave Maria        Vital                 Employment Agreement, dated
Lopez               FL 34142                       Pharmaceuticals,      July 06, 2020
                                                   Inc.
Jacqueline          18822 Northwest 89th Ave       Vital                 Employment Agreement, dated
Ortuno Michelle     Hialeah FL 33018               Pharmaceuticals,      February 10, 2020
                                                   Inc.
Jacqueline          503 West Conference Dr         Vital                 Employment Agreement, dated
Whittaker           Boca Raton FL 33486            Pharmaceuticals,      June 27, 2022
Patricia                                           Inc.
Jade Jacoby         4700 North 16th St Apt 254     Vital                 Employment Agreement, dated
Orion               Phoenix AZ 85016               Pharmaceuticals,      July 13, 2020
                                                   Inc.
Jaden Conkling      6710 Collins Rd Apt 418        Vital                 Employment Agreement, dated
Alexander           Jacksonville FL 32244          Pharmaceuticals,      November 16, 2020
                                                   Inc.


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 Counterparty
                    Counterparty Address             Debtor                 Description
     Name
Jaice Martinez    4420 SW 52nd Ct 4 Fort      Vital                 Employment Agreement, dated
                  Lauderdale FL 33314         Pharmaceuticals,      October 23, 2019
                                              Inc.
Jaime Montes      4742 Canehill Ave           Vital                 Employment Agreement, dated
                  Lakewood CA 90713           Pharmaceuticals,      June 29, 2020
                                              Inc.
Jaime Redmon      1801 Mccord Way Apt 738     Vital                 Employment Agreement, dated
Kristen           Frisco TX 75033             Pharmaceuticals,      March 07, 2022
                                              Inc.
Jamal Terry       10421 West Georgia Ave      Vital                 Employment Agreement, dated
Roydel            Glendale AZ 85307           Pharmaceuticals,      November 25, 2019
                                              Inc.
James Balbes E    7321 Atlanta St Hollywood   Vital                 Employment Agreement, dated
                  FL 33024                    Pharmaceuticals,      July 30, 2018
                                              Inc.
James Bracco      110 MatisSE Cir Aliso       Vital                 Employment Agreement, dated
Paul              Viejo CA 92656              Pharmaceuticals,      March 17, 2014
                                              Inc.
James Diamond     555 Fallwood Dr Concord     Vital                 Employment Agreement, dated
Robert            NC 28025                    Pharmaceuticals,      August 15, 2022
                                              Inc.
James Diggs       1713 Lake Clay Dr Lake      Vital                 Employment Agreement, dated
Allen             Placid FL 33852             Pharmaceuticals,      May 20, 2019
                                              Inc.
James             1441 Southwest 97th Ave     Vital                 Employment Agreement, dated
Dominique         Pembroke Pines FL 33025     Pharmaceuticals,      May 11, 2022
                                              Inc.
James Fuzi        7177 West Bajada Rd         Vital                 Employment Agreement, dated
Dean              Peoria AZ 85383             Pharmaceuticals,      March 14, 2022
                                              Inc.
James Hellkamp    9547 Brehm Rd Cincinnati    Vital                 Employment Agreement, dated
Matthew           OH 45252                    Pharmaceuticals,      January 31, 2022
                                              Inc.
James Jang Jin    14505 NW Oak Shadow Ct      Vital                 Employment Agreement, dated
                  Portland OR 97229           Pharmaceuticals,      February 22, 2021
                                              Inc.
James Johns III   8694 Via Mar Rosso Lake     Vital                 Employment Agreement, dated
L                 Worth FL 33467              Pharmaceuticals,      January 03, 2022
                                              Inc.
James Johnson     420 Circuit Dr Roseville    Vital                 Employment Agreement, dated
Rob Blake         CA 95678                    Pharmaceuticals,      March 07, 2022
                                              Inc.
James Lacour      1415 Genesis Dr Mansfield   Vital                 Employment Agreement, dated
Bernard           TX 76063                    Pharmaceuticals,      May 03, 2021
                                              Inc.
James Mannella    4107 Guilford Rd Rockford   Vital                 Employment Agreement, dated
Patrick           IL 61107                    Pharmaceuticals,      November 01, 2021
                                              Inc.




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 Counterparty
                    Counterparty Address            Debtor                 Description
    Name
James Paul M      5125 Heron Place Coconut   Vital                 Employment Agreement, dated
                  Creek FL 33073             Pharmaceuticals,      July 06, 2020
                                             Inc.
James Schutt      14584 West Hidden Terrace Vital                  Employment Agreement, dated
                  Loop Litchfield Park AZ    Pharmaceuticals,      December 13, 2021
                  85340                      Inc.
James Smith       10081 Lee Vista Blvd Apt   Vital                 Employment Agreement, dated
                  10104 Orlando FL 32829     Pharmaceuticals,      August 08, 2022
                                             Inc.
James Via         175 Hidden Lake Loop       Vital                 Employment Agreement, dated
Andrew            Haines City FL 33844       Pharmaceuticals,      September 06, 2022
                                             Inc.
James Walker      1518 17th Ave North Lake   Vital                 Employment Agreement, dated
Leroy             Worth FL 33460             Pharmaceuticals,      June 01, 2021
                                             Inc.
James             7930 Granada Blvd          Vital                 Employment Agreement, dated
Whitehead Jr.     Miramar FL 33023           Pharmaceuticals,      August 01, 2022
Mitchell                                     Inc.
Janice Cruz       510 Northwest 86th Ave     Vital                 Employment Agreement, dated
                  Pembroke Pines FL 33024    Pharmaceuticals,      February 03, 2020
                                             Inc.
Jared Jimenez     5155 Central Ave Apt 33    Vital                 Employment Agreement, dated
Wade              Riverside CA 92504         Pharmaceuticals,      January 24, 2022
                                             Inc.
Jared Morrison    6250 Mountain ViNE Ave     Vital                 Employment Agreement, dated
Dalton            Kannapolis NC 28081        Pharmaceuticals,      August 01, 2018
                                             Inc.
Jarred Tims       901 Ebenezer Rd Palmer     Vital                 Employment Agreement, dated
David             TX 75152                   Pharmaceuticals,      January 24, 2022
                                             Inc.
Jason Aparcana    9459 SW 18th St Miramar    Vital                 Employment Agreement, dated
Alfredo           FL 33025                   Pharmaceuticals,      June 07, 2022
                                             Inc.
Jason English     9950 58th St East Parrish  Vital                 Employment Agreement, dated
Robert            FL 34219                   Pharmaceuticals,      March 14, 2022
Frederick                                    Inc.
Jason Fuerbach    18425 135th St East Bonney Vital                 Employment Agreement, dated
L                 Lake WA 98391              Pharmaceuticals,      September 08, 2020
                                             Inc.
Jason Hinton      4446 Lower Meadow Dr       Vital                 Employment Agreement, dated
Dwayne            Mulberry FL 33860          Pharmaceuticals,      August 09, 2022
                                             Inc.
Jason Hoak        3300 Windsor Dr            Vital                 Employment Agreement, dated
Allen             Sacramento CA 95864        Pharmaceuticals,      June 01, 2021
                                             Inc.
Jason Ocheltree   11416 East Quicksilver Ave Vital                 Employment Agreement, dated
Lee               Mesa AZ 85212              Pharmaceuticals,      September 27, 2021
                                             Inc.




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 Counterparty
                     Counterparty Address            Debtor                 Description
     Name
Jason Schnaible    3529 Meadowbrook Dr        Vital                 Employment Agreement, dated
George             Napa CA 94558              Pharmaceuticals,      January 20, 2020
                                              Inc.
Jason Sonchik      2215 E Crest Ln Phoenix    Vital                 Employment Agreement, dated
Allen              AZ 84024                   Pharmaceuticals,      August 30, 2021
                                              Inc.
Jason Tran         32721 Fullerton Ct Union   Vital                 Employment Agreement, dated
Manh Duc           City CA 94587              Pharmaceuticals,      January 31, 2022
                                              Inc.
Javier Esparza L   44609 Calston Ave          Vital                 Employment Agreement, dated
                   Lancaster CA 93535         Pharmaceuticals,      March 29, 2021
                                              Inc.
Javier             12775 Southwest 189th Ct   Vital                 Employment Agreement, dated
Hernandez          Miami FL 33177             Pharmaceuticals,      June 01, 2020
                                              Inc.
Javier Nunez       7416 West Turney Ave       Vital                 Employment Agreement, dated
                   Phoenix AZ 85033           Pharmaceuticals,      February 08, 2021
                                              Inc.
Javier Salas       17915 SW 138th Ct Miami    Vital                 Employment Agreement, dated
                   FL 33177                   Pharmaceuticals,      June 01, 2020
                                              Inc.
Jayla Thach        2333 Garden Park Ct        Vital                 Employment Agreement, dated
Alicia             Arlington TX 76013         Pharmaceuticals,      February 24, 2017
                                              Inc.
Jean Paul Senior   14666 Southwest 126th      Vital                 Employment Agreement, dated
Arzuaga            Place Miami FL 33186       Pharmaceuticals,      April 25, 2022
                                              Inc.
Jeff White         15751 SW 41st Street Suite Vital                 Independent Contractor
                   300 Davie FL 33331         Pharmaceuticals,      Agreement, dated November
                                              Inc.                  28, 2011
Jeffery Wanous     11126 20th Dr Southeast    Vital                 Employment Agreement, dated
Lane               Everett WA 98208           Pharmaceuticals,      May 31, 2022
                                              Inc.
Jeffrey Aubrey     1300 Via Lugano Cir Apt    Vital                 Employment Agreement, dated
Allen              209 Boynton Beach FL       Pharmaceuticals,      January 25, 2021
                   33436                      Inc.
Jeffrey Huber T.   6828 NW 12th Ct Plantation Vital                 Employment Agreement, dated
                   FL 33313                   Pharmaceuticals,      April 04, 2022
                                              Inc.
Jeffrey Lay        15932 Wolf Run Findlay     Vital                 Employment Agreement, dated
Allen              OH 45840                   Pharmaceuticals,      May 18, 2022
                                              Inc.
Jeffrey Quick      318 Orchard Cir Hayden     Vital                 Employment Agreement, dated
Lee                AL 35079                   Pharmaceuticals,      January 03, 2022
                                              Inc.
Jeffrey Reiter     8710 Ferry Rd Grosse Ile   Vital                 Employment Agreement, dated
Peter              Township MI 48138          Pharmaceuticals,      November 29, 2021
                                              Inc.




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 Counterparty
                     Counterparty Address             Debtor                 Description
      Name
Jeffrey Urstadt    820 South Park Rd 03-17     Vital                 Employment Agreement, dated
Steven             Hollywood FL 33021          Pharmaceuticals,      September 16, 2021
                                               Inc.
Jeffry Edlen       12706 214th Ave East        Vital                 Employment Agreement, dated
David              Bonney Lake WA 98391        Pharmaceuticals,      April 18, 2016
                                               Inc.
Jennifer Peix      2400 Limehouse Ln Apt       Vital                 Employment Agreement, dated
                   208 Oviedo FL 32765         Pharmaceuticals,      February 17, 2020
                                               Inc.
Jeremy Barron      519 White Wing Ct           Vital                 Employment Agreement, dated
Michael            Dickinson TX 77539          Pharmaceuticals,      January 13, 2020
                                               Inc.
Jeremy Bennett     238 Sudbury St              Vital                 Employment Agreement, dated
Gamrin             Marlborough MA 01752        Pharmaceuticals,      August 30, 2021
                                               Inc.
Jeremy             702 Cape Cod Cir Valrico    Vital                 Employment Agreement, dated
Carpenter          FL 33594                    Pharmaceuticals,      January 13, 2020
Matthew                                        Inc.
Jeremy Ybarra      2989 N Brooklyn Dr          Vital                 Employment Agreement, dated
Jay                Buckeye AZ 85396            Pharmaceuticals,      July 08, 2020
                                               Inc.
Jermaine Jarrett   2396 Northwest 89th Dr      Vital                 Employment Agreement, dated
D                  Coral Springs FL 33065      Pharmaceuticals,      January 20, 2020
                                               Inc.
Jerry Walker       2011 Northwest 55th Ave     Vital                 Employment Agreement, dated
                   Apt 303 Lauderhill FL       Pharmaceuticals,      October 12, 2020
                   33313                       Inc.
Jesse Michal       14242 Alderwood Rd Lake     Vital                 Employment Agreement, dated
Ronald             Hughes CA 93532-1448        Pharmaceuticals,      July 27, 2020
                                               Inc.
Jesse Peterson     5597 Somersby Rd            Vital                 Employment Agreement, dated
Lance              Windermere FL 34786         Pharmaceuticals,      November 16, 2020
                                               Inc.
Jessica Allison    796 Hill Dr Apt H West      Vital                 Employment Agreement, dated
Hali               Palm Beach FL 33415         Pharmaceuticals,      May 16, 2022
                                               Inc.
Jessica            6790 Southwest 10th Ct      Vital                 Employment Agreement, dated
Leguizamon         Pembroke Pines FL 33023     Pharmaceuticals,      April 30, 2018
Alexandra                                      Inc.
Jessica Pineda-    10650 Southeast Sunnyside   Vital                 Employment Agreement, dated
Diaz Joelle        Rd Bldg C Clackamas OR      Pharmaceuticals,      August 23, 2021
Tyree              97015                       Inc.
Jesus Alcazar      8438 N 54th Dr Glendale     Vital                 Employment Agreement, dated
                   AZ 85302-6107               Pharmaceuticals,      December 16, 2019
                                               Inc.
Jesus Alfaro       25114 Geddy Dr Land O'      Vital                 Employment Agreement, dated
David              Lakes FL 34639              Pharmaceuticals,      October 05, 2020
                                               Inc.




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 Counterparty
                    Counterparty Address             Debtor                 Description
     Name
Jesus Gutierrez   3240 Las Vegas Blvd North   Vital                 Employment Agreement, dated
Armando           Apt 237 Las Vegas NV        Pharmaceuticals,      July 26, 2021
                  89115                       Inc.
Jesus Martinez    37511 Sabal St Palmdale     Vital                 Employment Agreement, dated
                  CA 93552                    Pharmaceuticals,      November 08, 2021
                                              Inc.
Jesus Mendez      5211 Southwest 155th Ave    Vital                 Employment Agreement, dated
Silvio            Miramar FL 33027            Pharmaceuticals,      August 01, 1996
                                              Inc.
Jesus Monter      534 West Princeton Ave      Vital                 Employment Agreement, dated
Ortiz E           Gilbert AZ 85233            Pharmaceuticals,      April 05, 2021
                                              Inc.
Jesus Ramos       530 W Elena Ave Mesa AZ     Vital                 Employment Agreement, dated
Hernandez         85210                       Pharmaceuticals,      January 13, 2020
                                              Inc.
Jesus Serna       17394 Valencia Ave #34      Vital                 Employment Agreement, dated
                  Fontana CA 92335            Pharmaceuticals,      May 17, 2021
                                              Inc.
Jesus Velasquez   1007 Peach Grove            Vital                 Employment Agreement, dated
Leopoldo          Riverside CA 92501          Pharmaceuticals,      January 06, 2020
                                              Inc.
Jhana Hyman       12017 Northwest 13th St     Vital                 Employment Agreement, dated
Neshae            Pembroke Pines FL 33026     Pharmaceuticals,      December 03, 2018
                                              Inc.
Jimena Villegas   12878 Southwest 135th St    Vital                 Employment Agreement, dated
                  Miami FL 33186              Pharmaceuticals,      January 10, 2022
                                              Inc.
Jing Guo          785 Heron Rd Weston FL      Vital                 Employment Agreement, dated
                  33326                       Pharmaceuticals,      April 29, 2019
                                              Inc.
Joe Rodriguez     10801 West 3rd St Cashion   Vital                 Employment Agreement, dated
Angel             AZ 85329                    Pharmaceuticals,      April 26, 2021
                                              Inc.
John Farrar       3719 Northwest 84th Ave     Vital                 Employment Agreement, dated
James             Apt 3C Sunrise FL 33351     Pharmaceuticals,      August 23, 2021
                                              Inc.
John Hall         13364 Beach Blvd Unit 940   Vital                 Employment Agreement, dated
William           Jacksonville FL 32224       Pharmaceuticals,      January 06, 2020
                                              Inc.
John Helm         629 Gaines Rd Hernando      Vital                 Employment Agreement, dated
Benjamin          MS 38632                    Pharmaceuticals,      February 24, 2020
                                              Inc.
John Kaufman      5570 NW 107th Ave #910      Vital                 Employment Agreement, dated
Richard           Doral FL 33178              Pharmaceuticals,      August 15, 2022
                                              Inc.
John Matheson     5930 Cherry Oak Dr          Vital                 Employment Agreement, dated
McGregor          Valrico FL 33596            Pharmaceuticals,      August 30, 2021
                                              Inc.




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 Counterparty
                    Counterparty Address            Debtor                 Description
     Name
John Matthews J   1324 Arrowsmith Ave       Vital                  Employment Agreement, dated
                  Orlando FL 32809          Pharmaceuticals,       May 16, 2022
                                            Inc.
John Morrow       6141 Sherman Cir          Vital                  Employment Agreement, dated
Fossey            Minneapolis MN 55436      Pharmaceuticals,       March 04, 2019
                                            Inc.
John Owoc H       16720 Stratford Ct        Vital                  Employment Agreement, dated
                  Southwest Ranches FL      Pharmaceuticals,       March 07, 2022
                  33331                     Inc.
John Schrody      711 Longwood Dr Allen TX Vital                   Employment Agreement, dated
Joseph            75013                     Pharmaceuticals,       April 11, 2022
                                            Inc.
John Smith II     2531 SW 2nd Terr Cape     Vital                  Employment Agreement, dated
Paul              Coral FL 33993            Pharmaceuticals,       August 01, 2022
                                            Inc.
John Smith Paul   2531 Southwest 2nd        Vital                  Employment Agreement, dated
                  Terrace Cape Coral FL     Pharmaceuticals,       November 08, 2021
                  33991                     Inc.
Jon Lamar         103 Russell St Lorena TX  Vital                  Employment Agreement, dated
Michael           76655                     Pharmaceuticals,       December 13, 2021
                                            Inc.
Jonathan          4639 Jetty St Orlando FL  Vital                  Employment Agreement, dated
Alphonse R        32817                     Pharmaceuticals,       January 06, 2020
                                            Inc.
Jonathan          4139 Paramount Blvd Apt 4 Vital                  Employment Agreement, dated
Gamboa Adam       Pico Rivera CA 90660      Pharmaceuticals,       July 26, 2021
                                            Inc.
Jordan Storey     3244 Northwest 84th Ave   Vital                  Employment Agreement, dated
Tyler             Apt 410 Sunrise FL 33351  Pharmaceuticals,       February 17, 2020
                                            Inc.
Jorge Alvarez     21220 West Granada Rd     Vital                  Employment Agreement, dated
Jr.               Buckeye AZ 85396          Pharmaceuticals,       February 21, 2022
                                            Inc.
Jorge Rios        15344 SW 70th Lane Miami Vital                   Employment Agreement, dated
                  FL 33326                  Pharmaceuticals,       May 01, 2012
                                            Inc.
Jose Antonio      4511 NW 7th Street        Vital                  Employment Agreement, dated
                  Deerfield Beach FL 33442  Pharmaceuticals,       February 11, 2007
                                            Inc.
Jose Arias Luis   3016 Summer HouSE Dr      Vital                  Employment Agreement, dated
                  Valrico FL 33594          Pharmaceuticals,       July 13, 2020
                                            Inc.
Jose Chavez L     12822 West Apodaca Dr     Vital                  Employment Agreement, dated
                  Litchfield Park AZ 85340  Pharmaceuticals,       August 17, 2020
                                            Inc.
Jose Martinez     11272 Cypress Ave         Vital                  Employment Agreement, dated
Guadalupe         Riverside CA 92505        Pharmaceuticals,       July 05, 2022
                                            Inc.




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 Counterparty
                    Counterparty Address             Debtor                 Description
     Name
Jose Mata         3870 Prescott Loop          Vital                 Employment Agreement, dated
Manuel            Lakeland FL 33810           Pharmaceuticals,      May 09, 2022
                                              Inc.
Jose Medina       7410 E Drummer Ave Mesa     Vital                 Employment Agreement, dated
Alvarez Hector    AZ 85208                    Pharmaceuticals,      January 13, 2020
                                              Inc.
Jose Medina       7410 E Drummer Ave Mesa     Vital                 Employment Agreement, dated
Eduardo           AZ 85208                    Pharmaceuticals,      September 05, 2017
                                              Inc.
Jose Molina       3301 Southwest 9th St Apt   Vital                 Employment Agreement, dated
Lago Carlos       24 Miami FL 33135           Pharmaceuticals,      August 07, 2019
                                              Inc.
Jose Montero      4115 Copper Canyon Blvd     Vital                 Employment Agreement, dated
Miguel            Valrico FL 33594            Pharmaceuticals,      August 15, 2022
                                              Inc.
Jose Moreno       3741 West Oregon Ave        Vital                 Employment Agreement, dated
                  Phoenix AZ 85019            Pharmaceuticals,      December 16, 2019
                                              Inc.
Jose Rosales      7359 Craner Avenue Los      Vital                 Employment Agreement, dated
Luis              Angeles CA 91352            Pharmaceuticals,      January 06, 2020
                                              Inc.
Jose Sotolongo    843 SE 8th Ct Hialeah FL    Vital                 Employment Agreement, dated
Travieso          33010                       Pharmaceuticals,      February 05, 2019
Manuel                                        Inc.
Jose Vazquez      6120 ReeSE Rd Apt 112       Vital                 Employment Agreement, dated
Rosales Antonio   Davie FL 33314              Pharmaceuticals,      October 26, 2020
                                              Inc.
Joseph Davy       15064 Calle Verano Chino    Vital                 Employment Agreement, dated
Michael           Hills CA 91709              Pharmaceuticals,      June 20, 2022
                                              Inc.
Joseph Deniz      6943 West Hubbell St        Vital                 Employment Agreement, dated
Jesus             Phoenix AZ 85035            Pharmaceuticals,      August 16, 2021
                                              Inc.
Joseph Farris     1024 N 2nd Ave Apt 436C     Vital                 Employment Agreement, dated
Douglas           Phoenix AZ 85003            Pharmaceuticals,      August 08, 2022
                                              Inc.
Joseph Gates      4904 Needles Ct Las Vegas   Vital                 Employment Agreement, dated
Michael           NV 89130                    Pharmaceuticals,      April 15, 2019
                                              Inc.
Joseph            25262 Treliage Ave          Vital                 Employment Agreement, dated
Huntowskan        Plainfield IL 60585         Pharmaceuticals,      March 21, 2009
                                              Inc.
Joseph Johnson    263 Timberlake Cir          Vital                 Employment Agreement, dated
Christopher       Douglasville GA 30134       Pharmaceuticals,      February 11, 2019
                                              Inc.
Joseph Macklin    2334 West Tanner Ranch      Vital                 Employment Agreement, dated
III               Rd San Tan Valley AZ        Pharmaceuticals,      May 10, 2021
                  85142                       Inc.




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 Counterparty
                    Counterparty Address             Debtor                 Description
     Name
Joseph Morales    291 East 4th Ave Apt 4      Vital                 Employment Agreement, dated
Francisco         Hialeah FL 33010            Pharmaceuticals,      January 21, 2019
                                              Inc.
Joseph Nickell    1491 Old 122 Rd Lebanon     Vital                 Employment Agreement, dated
                  OH 45036                    Pharmaceuticals,      August 05, 2019
                                              Inc.
Joseph Orozco     3353 E Ave T2 Palmdale      Vital                 Employment Agreement, dated
Anthony           CA 93550-9241               Pharmaceuticals,      July 13, 2022
                                              Inc.
Joseph Perez      2241 S Sherman Cir C316     Vital                 Employment Agreement, dated
Michael           Miramar FL 33025            Pharmaceuticals,      November 04, 2019
                                              Inc.
Joseph Powers     PO Box 537 Phoenix AZ       Vital                 Employment Agreement, dated
                  85001                       Pharmaceuticals,      December 09, 2019
                                              Inc.
Joseph Roosta     16300 Golf Club Rd 214      Vital                 Employment Agreement, dated
                  Weston FL 33326             Pharmaceuticals,      February 13, 2020
                                              Inc.
Joseph Tallent    8431 74th Ave N Seminole    Vital                 Employment Agreement, dated
                  FL 33777                    Pharmaceuticals,      March 14, 2022
                                              Inc.
Josephine Lopez   7943 West Hess Ave          Vital                 Employment Agreement, dated
                  Phoenix AZ 85043            Pharmaceuticals,      August 10, 2020
                                              Inc.
Joshua Cabrera    3468 Foxcroft Rd # 308      Vital                 Employment Agreement, dated
H                 Miramar FL 33025            Pharmaceuticals,      September 08, 2020
                                              Inc.
Joshua Cook       16790 Edward Dr Gulf        Vital                 Employment Agreement, dated
Lynn              Shores AL 36542             Pharmaceuticals,      March 11, 2019
                                              Inc.
Joshua Edwards    7400 Tallow Wind Trail      Vital                 Employment Agreement, dated
                  Apt F Fort Worth TX 76133   Pharmaceuticals,      September 06, 2022
                                              Inc.
Joshua Eliot      1301 Southwest 82nd Ave     Vital                 Employment Agreement, dated
Harrison          Plantation FL 33324         Pharmaceuticals,      October 03, 2022
                                              Inc.
Joshua Griego     5828 Ermemin Ave            Vital                 Employment Agreement, dated
                  Northwest Albuquerque       Pharmaceuticals,      June 21, 2021
                  NM 87114                    Inc.
Joshua Griffin    189 Cr 428 Lorena TX        Vital                 Employment Agreement, dated
Don               76655                       Pharmaceuticals,      May 11, 2020
                                              Inc.
Joshua Kozak J    6048 Madison Ave            Vital                 Employment Agreement, dated
                  Ottumwa IA 52501            Pharmaceuticals,      August 30, 2021
                                              Inc.
Joshua Moreno     26788 North Claudette St    Vital                 Employment Agreement, dated
Steve             Apt 356 Canyon Country      Pharmaceuticals,      May 04, 2020
                  CA 91351                    Inc.




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 Counterparty
                     Counterparty Address             Debtor                 Description
     Name
Joshua Wilson      10543 Northwest 3rd St      Vital                 Employment Agreement, dated
David              Pembroke Pines FL 33026     Pharmaceuticals,      September 23, 2019
                                               Inc.
Josue Vargas       200 NE 38th St 5 Oakland    Vital                 Employment Agreement, dated
Mercado            Park FL 33334               Pharmaceuticals,      February 01, 2021
                                               Inc.
Juan Avila         15225 West Hearn Rd         Vital                 Employment Agreement, dated
                   Surprise AZ 85379           Pharmaceuticals,      November 19, 2018
                                               Inc.
Juan Garza         5010 South 6th St Phoenix   Vital                 Employment Agreement, dated
Francisco          AZ 85040                    Pharmaceuticals,      February 22, 2021
                                               Inc.
Juan Gaytan        299 North Comanche Dr       Vital                 Employment Agreement, dated
Donosa Alberto     Chandler AZ 85224           Pharmaceuticals,      September 13, 2021
                                               Inc.
Juan Jimenez       26487 Arboretum Way Unit    Vital                 Employment Agreement, dated
Manuel             2103 Murrieta CA 92563      Pharmaceuticals,      March 08, 2021
                                               Inc.
Juan Ramos         142 Wilton Dr Apt 3         Vital                 Employment Agreement, dated
Manuel             Campbell CA 95008           Pharmaceuticals,      October 05, 2020
                                               Inc.
Juan Rios          825 North Rowan Ave Los     Vital                 Employment Agreement, dated
Carlos             Angeles CA 90063            Pharmaceuticals,      August 21, 2019
                                               Inc.
Juan Ruiz C        653 Bedford Ave Weston      Vital                 Employment Agreement, dated
                   FL 33326                    Pharmaceuticals,      August 08, 2022
                                               Inc.
Juan Velez         5630 Northwest 114th Path   Vital                 Employment Agreement, dated
Cock Gonzalo       Apt 105 Doral FL 33178      Pharmaceuticals,      November 06, 2019
                                               Inc.
Jucary Estrada     1725 Main St Apt 1010       Vital                 Employment Agreement, dated
Airam              Houston TX 77002            Pharmaceuticals,      November 21, 2019
                                               Inc.
Julian Feiss W     4930 Magnolia Run Dr        Vital                 Employment Agreement, dated
                   Sugarland TX 77478          Pharmaceuticals,      August 23, 2021
                                               Inc.
Julianna Lippe     1535 Everglades Blvd S      Vital                 Employment Agreement, dated
E                  Naples FL 34117             Pharmaceuticals,      February 13, 2020
                                               Inc.
Julianna Lippe     1535 Everglades Blvd S      Vital                 Employment Agreement, dated
E                  Naples FL 34117             Pharmaceuticals,      November 18, 2019
                                               Inc.
Justin Brumfield   4400 Northwest 8th St       Vital                 Employment Agreement, dated
                   Coconut Creek FL 33066      Pharmaceuticals,      May 18, 2020
                                               Inc.
Justin Castro      17617 N 9th St 3105         Vital                 Employment Agreement, dated
Michael            Phoenix AZ 85022            Pharmaceuticals,      April 15, 2019
                                               Inc.




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 Counterparty
                    Counterparty Address              Debtor                 Description
      Name
Justin Niemeyer   1720 Northeast 40th Ct       Vital                 Employment Agreement, dated
Thomas            Oakland Park FL 33334        Pharmaceuticals,      December 13, 2021
                                               Inc.
Justin Nunez      13436 Cypress Ave Chino      Vital                 Employment Agreement, dated
Daniel            CA 91710                     Pharmaceuticals,      December 16, 2019
                                               Inc.
Justin Stevens    4826 W Milada Dr Phoenix     Vital                 Employment Agreement, dated
Michael           AZ 85339                     Pharmaceuticals,      March 07, 2022
                                               Inc.
Kajal Boghara     510 Northeast 17th Ave Apt   Vital                 Employment Agreement, dated
Shailesh          101 Fort Lauderdale FL       Pharmaceuticals,      January 17, 2022
                  33301                        Inc.
Kalen Bull        6564 Secluded Ave Las        Vital                 Employment Agreement, dated
Courtney          Vegas NV 89110               Pharmaceuticals,      June 10, 2013
                                               Inc.
Karen Karie       7725 South 67th Ln           Vital                 Employment Agreement, dated
Louise            Phoenix AZ 85339             Pharmaceuticals,      September 14, 2020
                                               Inc.
Karen Kwan        19028 East Cardinal Way      Vital                 Employment Agreement, dated
Jessy             Queen Creek AZ 85142         Pharmaceuticals,      November 07, 2018
                                               Inc.
Kari Murphy       2699 Wax Rd Southeast        Vital                 Employment Agreement, dated
Gene              Aragon GA 30104              Pharmaceuticals,      December 07, 2020
                                               Inc.
Karin Albright    6616 Dartmouth Rd            Vital                 Employment Agreement, dated
                  Lakeland FL 33809            Pharmaceuticals,      November 11, 2019
                                               Inc.
Karsten Pascua    3018 El Ku Ave Escondido     Vital                 Employment Agreement, dated
Valeros John      CA 92025                     Pharmaceuticals,      October 06, 2021
                                               Inc.
Katelyn Sisk      8110 Pike Rd Apt 1316        Vital                 Employment Agreement, dated
Nicole            Charlotte NC 28262           Pharmaceuticals,      March 02, 2020
                                               Inc.
Katherine         2608 Forsythe Ln Concord     Vital                 Employment Agreement, dated
Bailey Rena       NC 28025                     Pharmaceuticals,      April 30, 2019
                                               Inc.
Katherine         20355 Northeast 34th Ct      Vital                 Employment Agreement, dated
Gonzalez          Apt 1123 Aventura FL         Pharmaceuticals,      September 21, 2020
Michelle          33180                        Inc.
Kathleen          1451 Northwest 108th Ave     Vital                 Employment Agreement, dated
Calderon-Sousa    Apt 302 Plantation FL        Pharmaceuticals,      October 03, 2022
J                 33322                        Inc.
Kathleen Cole     54548 Jack Drive Macomb      Vital                 Employment Agreement, dated
Ann               MI 48042                     Pharmaceuticals,      October 18, 2021
                                               Inc.
Katrina Giles     7617 Shoal Creek Blvd        Vital                 Employment Agreement, dated
                  Austin TX 78757              Pharmaceuticals,      July 13, 2020
                                               Inc.




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 Counterparty
                    Counterparty Address               Debtor                 Description
      Name
Kaycee Vielma     7000 Idyllwild Ln Riverside   Vital                 Employment Agreement, dated
Gil S             CA 92503                      Pharmaceuticals,      August 26, 2021
                                                Inc.
Keiran Larkin S   5148 W Warner St Phoenix      Vital                 Employment Agreement, dated
                  AZ 85043                      Pharmaceuticals,      November 12, 2018
                                                Inc.
Keith Butler      506 Rosemont Dr Decatur       Vital                 Employment Agreement, dated
Antoine           GA 30032                      Pharmaceuticals,      January 10, 2022
                                                Inc.
Kelley Faulk T    1408 10th Ave Se Ruskin       Vital                 Employment Agreement, dated
                  FL 33570                      Pharmaceuticals,      October 07, 2019
                                                Inc.
Kellie Mignoli    10761 North Saratoga Dr       Vital                 Employment Agreement, dated
Ann               Hollywood FL 33026            Pharmaceuticals,      July 06, 2021
                                                Inc.
Kelly Kayla       8398 West Denton Ln           Vital                 Employment Agreement, dated
Nguyen            Glendale AZ 85305             Pharmaceuticals,      November 25, 2019
                                                Inc.
Kenna Mikesell    1776 East Sierra Madre Ct     Vital                 Employment Agreement, dated
Nicole            Gilbert AZ 85296              Pharmaceuticals,      December 13, 2021
                                                Inc.
Kenneth           3940 Appletree Dr Valrico     Vital                 Employment Agreement, dated
Chapman           FL 33594                      Pharmaceuticals,      January 31, 2022
Andrew                                          Inc.
Kenneth Harris    6153 N 89th Ave Glendale      Vital                 Employment Agreement, dated
David             AZ 85305                      Pharmaceuticals,      March 14, 2022
                                                Inc.
Kenneth           1535 Evening Spirit Ave       Vital                 Employment Agreement, dated
Hartwick J        Las Vegas NV 89183            Pharmaceuticals,      August 23, 2021
                                                Inc.
Kenneth Herrera   107-43 Inwood St Jamaica      Vital                 Employment Agreement, dated
                  NY 11435                      Pharmaceuticals,      October 05, 2020
                                                Inc.
Kenton Powell     1477 Pheasant Run New         Vital                 Employment Agreement, dated
Dwayne            Richmond WI 54017             Pharmaceuticals,      August 12, 2019
                                                Inc.
Keshaad           17544 W Hearn Rd Surprise     Vital                 Employment Agreement, dated
Johnson Etrell    AZ 85388                      Pharmaceuticals,      November 29, 2019
                                                Inc.
Kevin Conde       2829 SW 13th Ct Fort          Vital                 Employment Agreement, dated
                  Lauderdale FL 33312           Pharmaceuticals,      April 05, 2021
                                                Inc.
Kevin Dooley B    3501 Jepsen Dr # 3220         Vital                 Employment Agreement, dated
                  Forth Worth TX 72364          Pharmaceuticals,      March 07, 2022
                                                Inc.
Kevin Einsmann    1612 Allenton Ave Brandon     Vital                 Employment Agreement, dated
                  FL 33511                      Pharmaceuticals,      January 06, 2020
                                                Inc.




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 Counterparty
                    Counterparty Address              Debtor                 Description
     Name
Kevin Foster      3010 West Yorkshire Dr       Vital                 Employment Agreement, dated
Joseph            Apt 2009 Phoenix AZ          Pharmaceuticals,      September 30, 2019
                  85027-3910                   Inc.
Kevin Hamilton    14557 Zachary Dr South       Vital                 Employment Agreement, dated
Andre             Jacksonville FL 32218        Pharmaceuticals,      July 13, 2020
                                               Inc.
Kevin Hooks       218 West ArmiSuitead Dr      Vital                 Employment Agreement, dated
Rhyne             Brandon MS 39042             Pharmaceuticals,      August 08, 2022
                                               Inc.
Kevin Kennedy     7577 East Calle Granada      Vital                 Employment Agreement, dated
Michael           Anaheim CA 92808             Pharmaceuticals,      February 24, 2020
                                               Inc.
Kevin Koschier    10105 N Silver Palm Dr       Vital                 Employment Agreement, dated
A                 Estero FL 33928              Pharmaceuticals,      August 04, 2021
                                               Inc.
Kevin McGinnis    5338 N 77th St Scottsdale    Vital                 Employment Agreement, dated
David             AZ 85250                     Pharmaceuticals,      March 09, 2020
                                               Inc.
Kevin Shelp       12395 61St Ln North West     Vital                 Employment Agreement, dated
                  Palm Beach FL 33412          Pharmaceuticals,      November 11, 2019
                                               Inc.
Kevin             10619 W Clairmont Cir        Vital                 Employment Agreement, dated
Thompson A        Tamarac FL 33321             Pharmaceuticals,      September 14, 2020
                                               Inc.
Kimber            230 S Cherrywood Dr #103     Vital                 Employment Agreement, dated
Thomson Leigh     Lafayette CO 80026           Pharmaceuticals,      September 03, 2020
                                               Inc.
Kimberly Ryder    201 S Hoskins Rd #214        Vital                 Employment Agreement, dated
                  Charlotte NC 28208           Pharmaceuticals,      March 23, 2020
                                               Inc.
Kimberly          1778 NE 38th St Oakland      Vital                 Employment Agreement, dated
Santore Jan       Park FL 33334                Pharmaceuticals,      January 02, 2020
                                               Inc.
Kira Lovas        1130 North 2nd St Apt 303    Vital                 Employment Agreement, dated
Marie             Phoenix AZ 85004             Pharmaceuticals,      July 12, 2019
                                               Inc.
Kleyber Valdes    2040 Northwest Flagler       Vital                 Employment Agreement, dated
                  Terrace Apt 2 Miami FL       Pharmaceuticals,      June 14, 2021
                  33125                        Inc.
Krista Owoc       11807 SW 47th Ct Fort        Vital                 Employment Agreement, dated
Marie             Lauderdale FL 33330-4007     Pharmaceuticals,      August 02, 2021
                                               Inc.
Kristen Oubre L   3242 West Acoma Dr           Vital                 Employment Agreement, dated
                  Phoenix AZ 85053             Pharmaceuticals,      November 21, 2018
                                               Inc.
Kyle Kozlowski    8313 Solano Bay Loop Apt     Vital                 Employment Agreement, dated
Andrew            1531 Tampa FL 33635          Pharmaceuticals,      September 09, 2019
                                               Inc.




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 Counterparty
                   Counterparty Address              Debtor                  Description
     Name
Kyle Mabe        4026 West Saint Kateri Dr    Vital                 Employment Agreement, dated
Aaron            Phoenix AZ 85041             Pharmaceuticals,      March 22, 2021
                                              Inc.
Lamon Burkley    8709 Flying Ranch Rd Fort    Vital                 Employment Agreement, dated
Dewayne          Worth TX 76134-4168          Pharmaceuticals,      February 28, 2022
                                              Inc.
Lane Ory A       79 Southwest 12th St Apt     Vital                 Employment Agreement, dated
                 3305 Miami FL 33130          Pharmaceuticals,      November 04, 2010
                                              Inc.
Lanice Davison   7723 South 45th Ln           Vital                 Employment Agreement, dated
Mechelle         Phoenix AZ 85339             Pharmaceuticals,      August 09, 2021
                                              Inc.
Lanorris         677 Northwest 42nd Ave       Vital                 Employment Agreement, dated
Drayton Louis    Plantation FL 33317          Pharmaceuticals,      August 01, 2022
                                              Inc.
Laron Turner     7545 Oso Blanca Rd Unit      Vital                 Employment Agreement, dated
William          3209 Las Vegas NV 89149      Pharmaceuticals,      February 17, 2020
                                              Inc.
Larry Morillo    6420 Northwest 102nd Path    Vital                 Employment Agreement, dated
Mendez J         Apt 303 Doral FL 33178       Pharmaceuticals,      May 30, 2016
                                              Inc.
Larry Thaxton    15310 West Evans Dr          Vital                 Employment Agreement, dated
Eugene           Surprise AZ 85379            Pharmaceuticals,      March 03, 2022
                                              Inc.
Laurel A.        Attn: Laurel A. Decker 519   Vital                 Independent Contractor's
Decker, P.A.     N D Street Lake Worth FL     Pharmaceuticals,      Agreement
                 33460                        Inc.
Laurence Costa   5410 Marlatt St Jurupa       Vital                 Employment Agreement, dated
                 Valley CA 91752              Pharmaceuticals,      April 17, 2006
                                              Inc.
Lawrence         2930 Sandwell Dr Winter      Vital                 Employment Agreement, dated
Blackwood John   Park FL 32792                Pharmaceuticals,      July 26, 2021
                                              Inc.
Lawson           5105 Flowes Store Rd         Vital                 Employment Agreement, dated
Rivenbark Ray    Concord NC 28025             Pharmaceuticals,      November 25, 2019
                                              Inc.
Lazaro Medina    2665 Havenwood Rd West       Vital                 Employment Agreement, dated
Revilla          Palm Beach FL 33415          Pharmaceuticals,      July 19, 2021
                                              Inc.
Leda Lerida      6441 SW 20 Ct Miramar FL     Vital                 Employment Agreement, dated
                 33023                        Pharmaceuticals,      April 19, 2013
                                              Inc.
Lee Kindel B     544 Hartzell School Rd       Vital                 Employment Agreement, dated
                 Fombell PA 16123             Pharmaceuticals,      September 14, 2020
                                              Inc.
Lee McCucheon    PO Box 49 Telerah 2320       Vital                 Independent Contractor
aka Lee Priest   Australia                    Pharmaceuticals,      Agreement, dated February 01,
                                              Inc.                  2011




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 Counterparty
                   Counterparty Address             Debtor                 Description
     Name
Leonardo         12374 Northwest 12th Ct    Vital                  Employment Agreement, dated
Zuluaga          Pembroke Pines FL 33026    Pharmaceuticals,       August 08, 2022
                                            Inc.
Lerby Sylvera    1372 Avon Ln Apt 210       Vital                  Employment Agreement, dated
David            North Lauderdale FL 33068 Pharmaceuticals,        January 31, 2022
                                            Inc.
Leroy Cobb       3201 Meridius Place Unit   Vital                  Employment Agreement, dated
                 304 Kissimmee FL 34747     Pharmaceuticals,       April 04, 2022
                                            Inc.
Levis Cordero    18620 NW 48th Pl Miami     Vital                  Employment Agreement, dated
                 FL 33055                   Pharmaceuticals,       July 19, 2021
                                            Inc.
Leviticus        1512 Hollow Hill Dr Bryan Vital                   Employment Agreement, dated
Meymand          TX 77802                   Pharmaceuticals,       May 20, 2019
Tomas                                       Inc.
Lhaura           10825 Southwest 88th St    Vital                  Employment Agreement, dated
Rodriguez        Apt 140 Miami FL 33176     Pharmaceuticals,       April 22, 2019
                                            Inc.
Lia Panzacchi    1420 Brickell Bay Dr Apt   Vital                  Employment Agreement, dated
Beatrice         104 Miami FL 33131         Pharmaceuticals,       May 23, 2022
                                            Inc.
Liana Roman      10717 Northwest 76th Ln    Vital                  Employment Agreement, dated
                 Medley FL 33178            Pharmaceuticals,       April 04, 2022
                                            Inc.
Liangxi Li       10371 NW 17th Ct           Vital                  Employment Agreement, dated
                 Plantation FL 33322        Pharmaceuticals,       June 15, 2022
                                            Inc.
Lisa Fernandez   1395 NE 33rd Ave 107       Vital                  Employment Agreement, dated
Marie            Homestead FL 33033         Pharmaceuticals,       September 08, 2014
                                            Inc.
Lizbeth Ruiz     1118 East 7th St Mesa AZ   Vital                  Employment Agreement, dated
                 85203                      Pharmaceuticals,       May 30, 2017
                                            Inc.
Lloydlyn         6170 SW 5th Street Margate Vital                  Employment Agreement, dated
Garcon           FL 33068                   Pharmaceuticals,       March 25, 2020
                 (305) 978-7842             Inc.
Logan Bean       501 Southeast 2nd St Apt   Vital                  Employment Agreement, dated
Patrick          1204 Fort Lauderdale FL    Pharmaceuticals,       October 03, 2011
                 33301                      Inc.
Logan Watson     2850 University Square Dr  Vital                  Employment Agreement, dated
Michael          Unit 226 Tampa FL 33612    Pharmaceuticals,       June 15, 2020
                                            Inc.
London Wilson    4337 Hedge Dr East         Vital                  Employment Agreement, dated
Wayne            Lakeland FL 33812          Pharmaceuticals,       August 06, 2018
                                            Inc.
Louceria Ford    11121 Veterans Memorial    Vital                  Employment Agreement, dated
Sherrell         Hwy Lot 59 Douglasville    Pharmaceuticals,       February 28, 2022
                 GA 30134                   Inc.




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 Counterparty
                    Counterparty Address              Debtor                 Description
    Name
Lourdes Barsky    1844 Southwest 142nd         Vital                 Employment Agreement, dated
                  Place Miami FL 33175         Pharmaceuticals,      May 25, 2021
                                               Inc.
Lu Li             252 Aspen Way Davie FL       Vital                 Employment Agreement, dated
                  33325                        Pharmaceuticals,      January 25, 2022
                                               Inc.
Lucas Hill        3580 Organ Church Rd         Vital                 Employment Agreement, dated
Eugene            Rockwell NC 28138            Pharmaceuticals,      June 06, 2022
                                               Inc.
Lucero Alejo      5000 Southwest 148th Ave     Vital                 Employment Agreement, dated
                  Southwest Ranches FL         Pharmaceuticals,      February 28, 2022
                  33331                        Inc.
Luis Garcia       8177 NW 8th St Apt D3        Vital                 Employment Agreement, dated
Lamas Miguel      Miami FL 33126               Pharmaceuticals,      August 29, 2022
                                               Inc.
Luis Reyes        4053 Abbey Ct Haines City    Vital                 Employment Agreement, dated
Velez Rafael      FL 33844                     Pharmaceuticals,      May 23, 2022
                                               Inc.
Luis Rios         18432 NW 22nd St,            Vital                 Employment Agreement, dated
                  Pembroke Pines FL            Pharmaceuticals,      March 10, 2008
                  (954) 433-7681               Inc.
Luis Rodriguez    14440 SW 51St St Miami       Vital                 Employment Agreement, dated
Rafael            FL 33175                     Pharmaceuticals,      February 08, 2021
                                               Inc.
Luis Villarreal   4621 West Ellis St Phoenix   Vital                 Employment Agreement, dated
Carlos            AZ 85339                     Pharmaceuticals,      October 08, 2018
                                               Inc.
Luis Villarreal   4522 North 15th Ave          Vital                 Employment Agreement, dated
Jr Carlos         Phoenix AZ 85015             Pharmaceuticals,      December 16, 2021
                                               Inc.
Luisa Benjumea    8498 Telfair Dr 124          Vital                 Employment Agreement, dated
F                 Kissimmee FL 34747           Pharmaceuticals,      July 26, 2021
                                               Inc.
Luke Chop         2850 University Square Dr    Vital                 Employment Agreement, dated
William           Room 478C Tampa FL           Pharmaceuticals,      December 16, 2019
                  33612                        Inc.
Luke Locascio     7001 NW 5th St Plantation    Vital                 Employment Agreement, dated
Joseph            FL 33317                     Pharmaceuticals,      October 02, 2019
                                               Inc.
Luke Short        1428 South Terrace Rd        Vital                 Employment Agreement, dated
Charles Toan      Tempe AZ 85281               Pharmaceuticals,      June 24, 2019
                                               Inc.
Luz Morales       14831 Southwest 18th St      Vital                 Employment Agreement, dated
Johanna           Miramar FL 33027             Pharmaceuticals,      May 18, 2020
                                               Inc.
Luz Rodriguez     402 SW 74th Ave North        Vital                 Employment Agreement, dated
                  Lauderdale FL 33068          Pharmaceuticals,      August 23, 2021
                                               Inc.




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 Counterparty
                    Counterparty Address               Debtor                 Description
      Name
Lysnel Petit      551 NW 42nd Ave 606           Vital                 Employment Agreement, dated
Frere             Plantation FL 33317           Pharmaceuticals,      March 09, 2022
                                                Inc.
Madeline          722 Bryson Way Southlake      Vital                 Employment Agreement, dated
Dellinger         TX 76092                      Pharmaceuticals,      April 27, 2020
Elizabeth                                       Inc.
Madeline          128 Mesa Dr Johnson City      Vital                 Employment Agreement, dated
Hubbard Grace     TN 37615                      Pharmaceuticals,      November 15, 2021
                                                Inc.
Madison           7170 Barton Creek Ct Las      Vital                 Employment Agreement, dated
Holmes Lee        Vegas NV 89113                Pharmaceuticals,      June 27, 2022
                                                Inc.
Maikel            11665 SW 17th St Bldg 172     Vital                 Employment Agreement, dated
Contreras Rojas   Pembroke Pines FL 33025-      Pharmaceuticals,      January 02, 2019
J                 1700                          Inc.
Makenzie          5515 East 5th St Tulsa OK     Vital                 Employment Agreement, dated
Wiemer Taylor     74112                         Pharmaceuticals,      December 05, 2018
                                                Inc.
Malcolm Green     2324 W Scissortail Ct North   Vital                 Employment Agreement, dated
Rashad            Las Vegas NV 89084            Pharmaceuticals,      January 06, 2020
                                                Inc.
Manjit Gill S     19512 SW 53rd St Miramar      Vital                 Employment Agreement, dated
                  FL 33029                      Pharmaceuticals,      April 01, 2019
                                                Inc.
Manuel Fraijo     8002 W Orange Dr              Vital                 Employment Agreement, dated
                  Glendale AZ 85303-5564        Pharmaceuticals,      August 22, 2022
                                                Inc.
Manuel            7803 Northwest 194th St       Vital                 Employment Agreement, dated
Gallardo A        Hialeah FL 33015              Pharmaceuticals,      April 04, 2022
                                                Inc.
Marc Bower        18133 North Cook Dr           Vital                 Employment Agreement, dated
Edward            Maricopa AZ 85138             Pharmaceuticals,      March 25, 2019
                                                Inc.
Marckel Bell L    422 Tala Dr Sw Concord        Vital                 Employment Agreement, dated
                  NC 28027                      Pharmaceuticals,      April 25, 2022
                                                Inc.
Margaret          4406 Feagan St Unit A         Vital                 Employment Agreement, dated
Sycalik           Houston TX 77007              Pharmaceuticals,      August 05, 2019
Elizabeth                                       Inc.
Maria Corona      574 Southwest 183rd Way       Vital                 Employment Agreement, dated
Angeles           Pembroke Pines FL 33029       Pharmaceuticals,      November 02, 2020
                                                Inc.
Maria De Leon     3513 Salzedo St Coral         Vital                 Employment Agreement, dated
A                 Gables FL 33134               Pharmaceuticals,      October 18, 2021
                                                Inc.
Maria             25080 Southwest 107th Ave     Vital                 Employment Agreement, dated
Demiranda         Homestead FL 33032            Pharmaceuticals,      April 20, 2020
Alejandra                                       Inc.




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 Counterparty
                    Counterparty Address             Debtor                 Description
    Name
Maria Diaz        7906 West Cavalier Dr     Vital                   Employment Agreement, dated
Guadalupe         Glendale AZ 85303         Pharmaceuticals,        March 11, 2019
                                            Inc.
Maria Morales     1480 Northwest North      Vital                   Employment Agreement, dated
Camila            River Dri Apt 609 Miami   Pharmaceuticals,        May 31, 2019
                  FL 33125                  Inc.
Maria Solis Del   13279 Northwest 5th St    Vital                   Employment Agreement, dated
Pilar             Plantation FL 33325       Pharmaceuticals,        October 03, 2022
                                            Inc.
Maribel Flecha    3265 Countryside View Dr  Vital                   Employment Agreement, dated
                  St Cloud FL 34772         Pharmaceuticals,        January 06, 2020
                                            Inc.
Maricarmen        14821 SW 54th St Miramar Vital                    Employment Agreement, dated
Rozas             FL 33027                  Pharmaceuticals,        January 31, 2022
                                            Inc.
Marice Pomo       8421 Sheraton Dr Miramar  Vital                   Employment Agreement, dated
                  FL 33025                  Pharmaceuticals,        November 01, 2021
                                            Inc.
Mario Arauz       19515 NW 55 Cir Pl Miami Vital                    Employment Agreement, dated
                  FL 33055                  Pharmaceuticals,        December 26, 2016
                                            Inc.
Mario Gelig       12418 West Monroe St      Vital                   Employment Agreement, dated
Alvarado          Avondale AZ 85323         Pharmaceuticals,        February 28, 2022
                                            Inc.
Mario Guerrero    436 North Bellflower Blvd Vital                   Employment Agreement, dated
                  Apt 118 Long Beach CA     Pharmaceuticals,        May 16, 2022
                  90814                     Inc.
Mario             12761 Southwest 20th      Vital                   Employment Agreement, dated
Quagliatta III    Street Miami FL 33175     Pharmaceuticals,        March 02, 2020
Gustavo                                     Inc.
Marissa Garcia    3958 Devenshire Ct        Vital                   Employment Agreement, dated
A                 Coconut Creek FL 33073    Pharmaceuticals,        March 14, 2022
                                            Inc.
Mark Euceda       5442 Pomona Blvd East Los Vital                   Employment Agreement, dated
Anthony           Angeles CA 90022          Pharmaceuticals,        July 20, 2020
                                            Inc.
Mark Fagan W.     4649 Gillespie Ln Plant   Vital                   Employment Agreement, dated
                  City FL 33567             Pharmaceuticals,        December 07, 2020
                                            Inc.
Marlisse Garcia   6257 Shore PiNE Ct        Vital                   Employment Agreement, dated
Angel             Rancho Cucamonga CA       Pharmaceuticals,        December 04, 2015
                  91739                     Inc.
Marlon Mais       9520 Northwest 9th Ct     Vital                   Employment Agreement, dated
Olando            Plantation FL 33324       Pharmaceuticals,        February 07, 2019
                                            Inc.
Martino           39852 Bridgeview St       Vital                   Employment Agreement, dated
Montalto J        Harrison Township MI      Pharmaceuticals,        October 05, 2020
                  48045                     Inc.




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 Counterparty
                   Counterparty Address              Debtor                  Description
    Name
Mary Hinson      15928 White St Apt 207       Vital                 Employment Agreement, dated
Deese            Charlotte NC 28278           Pharmaceuticals,      June 15, 2021
                                              Inc.
Mary Perkins     590 Brinkburn Point Ave      Vital                 Employment Agreement, dated
Lynne            Las Vegas NV 89178           Pharmaceuticals,      July 06, 2020
                                              Inc.
Mary Winter      2669 Michael Ct Northeast    Vital                 Employment Agreement, dated
Kate             Salem OR 97305               Pharmaceuticals,      August 11, 2008
                                              Inc.
Mathias          4305 Laurel Ridge Cir        Vital                 Employment Agreement, dated
Pedersen Brix    Weston FL 33331              Pharmaceuticals,      November 22, 2021
                                              Inc.
Matthew Acton    26 Prentice Road Levittown   Vital                 Consent and Release for Use of
                 NY 11756                     Pharmaceuticals,      Likeness, dated April 01, 2016
                                              Inc.
Matthew          200 E Alessandro #71         Vital                 Employment Agreement, dated
Buswell Wayne    Riverside CA 92508           Pharmaceuticals,      March 31, 2021
                                              Inc.
Matthew Camp     851 Briargrove Ave           Vital                 Employment Agreement, dated
                 Davenport FL 33837           Pharmaceuticals,      March 30, 2020
                                              Inc.
Matthew Cox      106 Greenbriar Spartanburg   Vital                 Employment Agreement, dated
Tyson            SC 29302                     Pharmaceuticals,      July 26, 2021
                                              Inc.
Matthew          2754 Greenbrier Dr           Vital                 Employment Agreement, dated
Fearneyhough     Cleveland TN 37312           Pharmaceuticals,      July 19, 2022
Len                                           Inc.
Matthew Garza    605 Bunting Ave Fountain     Vital                 Employment Agreement, dated
                 CO 80817-1807                Pharmaceuticals,      June 17, 2019
                                              Inc.
Matthew          600 Fairbanks Ct Unit 2507   Vital                 Employment Agreement, dated
Lotterman E      Chicago IL 60611             Pharmaceuticals,      August 26, 2019
                                              Inc.
Matthew          513 Niagara Falls Dr Anna    Vital                 Employment Agreement, dated
Malone David     TX 75409                     Pharmaceuticals,      May 02, 2022
                                              Inc.
Matthew          3042 Southwest Indian        Vital                 Employment Agreement, dated
Phillips Allen   Place Redmond OR 97756       Pharmaceuticals,      March 29, 2022
                                              Inc.
Matthew          3003 EaSuitern Ave           Vital                 Employment Agreement, dated
Tomlinson R      Baltimore MD 21224           Pharmaceuticals,      August 30, 2021
                                              Inc.
Matthew Wolov    4710 Pin Oaks Cir            Vital                 Employment Agreement, dated
Blake            Rockwall TX 75032            Pharmaceuticals,      March 07, 2022
                                              Inc.
Mauricio         3842 San Simeon Cir          Vital                 Employment Agreement, dated
Gonzalez-Maya    Weston FL 33331              Pharmaceuticals,      March 07, 2022
Andres                                        Inc.




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Counterparty
                     Counterparty Address             Debtor                 Description
    Name
Megan Owoc         1721 SW 131 Terrace Davie Vital                   Employment Agreement, dated
                   FL 33325                    Pharmaceuticals,      July 25, 2022
                                               Inc.
Melissa            12911 West Central St       Vital                 Employment Agreement, dated
Malonson Ann       Surprise AZ 85374           Pharmaceuticals,      June 21, 2021
                                               Inc.
Mercedes           86607 Illusive Lake Crt     Vital                 Employment Agreement, dated
Goldseth Dawn      Yulee FL 32097              Pharmaceuticals,      February 18, 2019
                                               Inc.
Michael Carrion    3195 Coral Ridge Dr Coral   Vital                 Employment Agreement, dated
                   Springs FL 33065            Pharmaceuticals,      April 12, 2021
                                               Inc.
Michael            31 Temple Dr Methuen MA Vital                     Employment Agreement, dated
Cloutier J         1844                        Pharmaceuticals,      August 08, 2022
                                               Inc.
Michael            4703 South Saint Brides Cir Vital                 Employment Agreement, dated
Delgiudice         Orlando FL 32812            Pharmaceuticals,      March 28, 2022
                                               Inc.
Michael Diaz II    9860 Sheridan St Apt 101    Vital                 Employment Agreement, dated
E                  Pembroke Pines FL 33024     Pharmaceuticals,      October 14, 2019
                                               Inc.
Michael Gilmer     4592 S Point Rd Diamond     Vital                 Employment Agreement, dated
Lee                Springs CA 95619            Pharmaceuticals,      April 23, 2018
                                               Inc.
Michael Greer      3700 Northeast Akin Cir     Vital                 Employment Agreement, dated
Christopher        Unit B Lees Summit MO       Pharmaceuticals,      November 02, 2010
                   64064                       Inc.
Michael            1727 W CatheriNE Dr         Vital                 Employment Agreement, dated
Kennedy L          Anaheim CA 92801            Pharmaceuticals,      December 02, 2019
                                               Inc.
Michael Long       504 Early Wyne Dr           Vital                 Employment Agreement, dated
Anthony            Taylorsville KY 40071       Pharmaceuticals,      June 07, 2021
                                               Inc.
Michael            605 Ave H Delray Beach      Vital                 Employment Agreement, dated
McKnight J         FL 33483                    Pharmaceuticals,      February 17, 2020
                                               Inc.
Michael            2970 Oakland Dr Green       Vital                 Employment Agreement, dated
Monahan J          Cove Springs FL 32043       Pharmaceuticals,      December 27, 2021
                                               Inc.
Michael            15218 South 42nd St         Vital                 Employment Agreement, dated
O'Rielly Eugene    Phoenix AZ 85044            Pharmaceuticals,      September 13, 2021
                                               Inc.
Michael Prange     5636 N Rogers Ave           Vital                 Employment Agreement, dated
L                  Chicago IL 60646            Pharmaceuticals,      December 06, 2021
                                               Inc.
Michael Renick     656 Desert Passage St       Vital                 Employment Agreement, dated
Wesley             Henderson NV 89002          Pharmaceuticals,      February 24, 2020
                                               Inc.




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 Counterparty
                     Counterparty Address              Debtor                 Description
     Name
Michael Sayih      1119 Northwest 143rd Ave     Vital                 Employment Agreement, dated
Paul               Pembroke Pines FL 33028      Pharmaceuticals,      December 21, 2020
                                                Inc.
Michael Spadea     5187 College Ave San         Vital                 Employment Agreement, dated
Dominick           Diego CA 92115               Pharmaceuticals,      September 17, 2021
                                                Inc.
Michael Tate       1019 Enfilar Ln Arlington    Vital                 Employment Agreement, dated
Raymond            TX 76017-6344                Pharmaceuticals,      June 07, 2021
                                                Inc.
Michael Tripp II   1600 N Park Dr Weston FL     Vital                 Employment Agreement, dated
B                  33326-3278                   Pharmaceuticals,      November 04, 2019
                                                Inc.
Michael Watson     3848 Aspen Leaf Dr           Vital                 Employment Agreement, dated
Ray                Boynton Beach FL 33436       Pharmaceuticals,      November 15, 2021
                                                Inc.
Michael Weddel     6731 Grace Hammock Rd        Vital                 Employment Agreement, dated
J                  St Cloud FL 34773            Pharmaceuticals,      December 30, 2019
                                                Inc.
Michael Woods      3764 Sedgewick St Sw         Vital                 Employment Agreement, dated
Winston            Concord NC 28027             Pharmaceuticals,      December 30, 2019
                                                Inc.
Michael            4895 Summit View Dr El       Vital                 Employment Agreement, dated
Zmerzlikar         Dorado CA 95623              Pharmaceuticals,      February 28, 2022
Anthony                                         Inc.
Michelle           7565 Blanchard Ave           Vital                 Employment Agreement, dated
Castaneda Ruby     Fontana CA 92336             Pharmaceuticals,      May 13, 2022
                                                Inc.
Michelle           9521 Stanley Ln Tamarac      Vital                 Employment Agreement, dated
Gardner M          FL 33321                     Pharmaceuticals,      October 11, 2021
                                                Inc.
Miguel Aguilar     27480 Cherry Creek Dr        Vital                 Employment Agreement, dated
                   Valencia CA 91354            Pharmaceuticals,      January 15, 2019
                                                Inc.
Miguel Barajas     16428 Ruby Lake Weston       Vital                 Employment Agreement, dated
Wenceslao          FL 33331                     Pharmaceuticals,      September 23, 2019
                                                Inc.
Miguelina          3323 Northwest 79th Way      Vital                 Employment Agreement, dated
Santana A          Hollywood FL 33024           Pharmaceuticals,      July 30, 2020
                                                Inc.
Milad Abramov      420 Queens Rd Unit 10        Vital                 Employment Agreement, dated
                   Charlotte NC 28207           Pharmaceuticals,      April 01, 2019
                                                Inc.
Moises Campos      1700 Mindanao Dr 907         Vital                 Employment Agreement, dated
Batista            Jacksonville FL 32246        Pharmaceuticals,      June 22, 2020
                                                Inc.
Monica Lara        8438 North 54th Dr           Vital                 Employment Agreement, dated
Marie              Glendale AZ 85302            Pharmaceuticals,      December 23, 2019
                                                Inc.




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 Counterparty
                    Counterparty Address             Debtor                 Description
     Name
Monica            11570 Gorham Dr Cooper     Vital                  Employment Agreement, dated
Schlosser         City FL 33026              Pharmaceuticals,       August 14, 2017
                                             Inc.
Morgan Spencer    7810 N 14th Place #1028    Vital                  Employment Agreement, dated
Gage              Phoenix AZ 85020           Pharmaceuticals,       October 28, 2021
                                             Inc.
Morseen           5891 NW 16th Court         Vital                  Employee Loan Agreement,
Lindsay           Sunrise FL 33313           Pharmaceuticals,       dated March 15, 2017
                                             Inc.
Muinda Royal      7820 NW 45th St Lauderhill Vital                  Employment Agreement, dated
                  FL 33351                   Pharmaceuticals,       June 25, 2018
                                             Inc.
Myrlande Boni     3820 Hunt Rd Unit 204      Vital                  Employment Agreement, dated
Ulysse            Tampa FL 33614             Pharmaceuticals,       December 02, 2019
                                             Inc.
Nairobi Erby      8107 North 31St Dr Apt     Vital                  Employment Agreement, dated
                  8107 Phoenix AZ 85051      Pharmaceuticals,       September 30, 2019
                                             Inc.
Nancy Torres      6701 Johnson St 209        Vital                  Employment Agreement, dated
                  Hollywood FL 33024         Pharmaceuticals,       April 06, 2020
                                             Inc.
Natalia Carreno   65 Southwest 12th Ave Apt Vital                   Employment Agreement, dated
                  508 Deerfield Beach FL     Pharmaceuticals,       March 04, 2014
                  33442                      Inc.
Natalie Cabrera   5482 West 20th Ave         Vital                  Employment Agreement, dated
Ann               Hialeah FL 33016           Pharmaceuticals,       September 12, 2022
                                             Inc.
Natalie Estevez   5440 NW 182nd St Miami     Vital                  Employment Agreement, dated
L                 Gardens FL 33055           Pharmaceuticals,       March 19, 2018
                                             Inc.
Nathaniel         485 RidgestoNE Dr          Vital                  Employment Agreement, dated
Russell S         Franklin TN 37064          Pharmaceuticals,       February 01, 2021
                                             Inc.
Nayla Norton      2532 Pointe Marie Dr       Vital                  Employment Agreement, dated
Nicole            Henderson NV 89044         Pharmaceuticals,       April 15, 2019
                                             Inc.
Nefertia Jones    570 Northwest 102nd Ave    Vital                  Employment Agreement, dated
                  Pembroke Pines FL 33026    Pharmaceuticals,       February 11, 2019
                                             Inc.
Neftaly Guevara   9968 Arleta Ave Los        Vital                  Employment Agreement, dated
Efrain            Angeles CA 91331           Pharmaceuticals,       September 20, 2021
                                             Inc.
Neiko Paolino J   1115 Davenport Bridge Ln   Vital                  Employment Agreement, dated
                  Unit 308 Brandon FL 33511 Pharmaceuticals,        August 02, 2018
                                             Inc.
Nelson Jimenez    5169 NW Wisk Fern Cir      Vital                  Employment Agreement, dated
                  Port Saint Lucie FL 34986  Pharmaceuticals,       March 02, 2018
                                             Inc.




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 Counterparty
                    Counterparty Address               Debtor                 Description
     Name
Nelson Morinvil   820 SW 10th St 2 Pompano      Vital                 Employment Agreement, dated
                  Beach FL 33060                Pharmaceuticals,      January 30, 2020
                                                Inc.
Nerilien Joseph   4914 6th St West Lehigh       Vital                 Employment Agreement, dated
Leslie            Acres FL 33973                Pharmaceuticals,      July 26, 2021
                                                Inc.
Nicholas          111 Hamilton St               Vital                 Employment Agreement, dated
Bridgwood         Belchertown MA 1007           Pharmaceuticals,      January 24, 2022
Miles                                           Inc.
Nicholas          509 Lynne Dr Grand Prairie    Vital                 Employment Agreement, dated
Chavez Andrew     TX 75052                      Pharmaceuticals,      June 15, 2021
                                                Inc.
Nicholas Dolan    4231 Craighill Ln Charlotte   Vital                 Employment Agreement, dated
Ryan              NC 28278                      Pharmaceuticals,      December 16, 2021
                                                Inc.
Nicholas          40 Greybarn Ln Apt 203        Vital                 Employment Agreement, dated
Hopkins B         Amityville NY 11701           Pharmaceuticals,      March 10, 2008
                                                Inc.
Nicholas Knight   1520 Northwest 125th Ave      Vital                 Employment Agreement, dated
Andre Juan        Apt 10201 Sunrise FL          Pharmaceuticals,      June 15, 2020
                  33323                         Inc.
Nicholas          25725 Lakeland Dr Loxley      Vital                 Employment Agreement, dated
Meinhardt L       AL 36551                      Pharmaceuticals,      June 09, 2022
                                                Inc.
Nicholas Molde    114 W Bluejay Way             Vital                 Employment Agreement, dated
                  Ontario CA 91762              Pharmaceuticals,      February 01, 2019
                                                Inc.
Nicholas          1814 San Antonio Way          Vital                 Employment Agreement, dated
Santoro Ronald    #105 Rockledge FL 32955       Pharmaceuticals,      February 17, 2020
                                                Inc.
Nicole Wynne      6565 South SyracuSE Way       Vital                 Employment Agreement, dated
Elizabeth         Unit 2211 Centennial CO       Pharmaceuticals,      September 13, 2021
                  80111                         Inc.
Nidia Oliva       10040 NW 9th St Cir Apt       Vital                 Employment Agreement, dated
Luisa             204 Miami FL 33172            Pharmaceuticals,      January 31, 2022
                                                Inc.
Nila Azuero       1900 Southwest 8th St Apt     Vital                 Employment Agreement, dated
Patricia          E908 Miami FL 33135           Pharmaceuticals,      January 06, 2020
                                                Inc.
Nilmarie          18550 NW 22nd Ct              Vital                 Employment Agreement, dated
Segarra           Pembroke Pines FL 33029       Pharmaceuticals,      June 06, 2022
                                                Inc.
Ninrod Esteban    6039 Miles Ave Huntington     Vital                 Employment Agreement, dated
Obed              Park CA 90255                 Pharmaceuticals,      November 16, 2020
                                                Inc.
Noelia Lopez      1625 East Silverbirch Ave     Vital                 Employment Agreement, dated
Rosales           Buckeye AZ 85326              Pharmaceuticals,      June 13, 2022
                                                Inc.




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 Counterparty
                    Counterparty Address             Debtor               Description
    Name
Noraida Herrera   11201 SW 55St Box 376        Vital              Employment Agreement, dated
                  Miramar FL 33025             Pharmaceuticals,   April 30, 2019
                                               Inc.
Nubia Pineros     13110 Southwest 44th St      Vital              Employment Agreement, dated
Patricia          Miramar FL 33027             Pharmaceuticals,   September 16, 2019
                                               Inc.
Nyah Aguayo       432 Capitol St Salinas CA    Vital              Employment Agreement, dated
Alyssa            93901                        Pharmaceuticals,   August 15, 2022
                                               Inc.
Octavious         1726 Southwest Buttercup     Vital              Employment Agreement, dated
Moring            Avenu Port St Lucie FL       Pharmaceuticals,   September 14, 2020
Dexsthon          34953                        Inc.
Odell Coles       5608 Chiefly Ct Charlotte    Vital              Employment Agreement, dated
Thomas            NC 28212                     Pharmaceuticals,   November 18, 2019
                                               Inc.
Olivia Juarez     14245 South 48th St PMB      Vital              Employment Agreement, dated
Andrea            124 Phoenix AZ 85044         Pharmaceuticals,   March 31, 2020
                                               Inc.
Omar Favela A     117 Heritage Dr Crowley      Vital              Employment Agreement, dated
                  TX 76036                     Pharmaceuticals,   August 22, 2022
                                               Inc.
Omar Rodriguez    10052 Barnett Loop Port      Vital              Employment Agreement, dated
                  Richey FL 34668              Pharmaceuticals,   July 06, 2020
                                               Inc.
Oona Lawrence     4103 Monticello Gardens      Vital              Employment Agreement, dated
Aleecia           Place Apt 301A Tampa FL      Pharmaceuticals,   June 01, 2020
                  33613                        Inc.
Orion McCants     912 Coade StoNE Dr           Vital              Employment Agreement, dated
Ernest            Seffner FL 33584             Pharmaceuticals,   March 29, 2021
                                               Inc.
Orlando Pulido    500 NE 2nd St 122 Dania      Vital              Employment Agreement, dated
                  Beach FL 33004               Pharmaceuticals,   October 26, 2020
                                               Inc.
Oscar Bravo D     7280 Stirling Rd Apt 205     Vital              Employment Agreement, dated
                  Hollywood FL 33024           Pharmaceuticals,   December 17, 2018
                                               Inc.
Oscar Santiago    25302 Beechwood Dr Land      Vital              Employment Agreement, dated
                  O' Lakes FL 34639            Pharmaceuticals,   June 24, 2019
                                               Inc.
Oscar Valdaliso   5053 NW 195th Ter Miami      Vital              Employment Agreement, dated
A                 Gardens FL 33055             Pharmaceuticals,   June 13, 2022
                                               Inc.
Oscar Visoso      30827 W Flower St            Vital              Employment Agreement, dated
Jesus             Buckeye AZ 85396             Pharmaceuticals,   October 09, 2000
                                               Inc.
Pablo             1441 SE 20th Rd              Vital              Employment Agreement, dated
Tomasielli H      Homestead FL 33035           Pharmaceuticals,   August 17, 2021
                                               Inc.




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 Counterparty
                     Counterparty Address             Debtor               Description
     Name
Paige Obrecht      6172 Mary Ln Dr San          Vital              Employment Agreement, dated
                   Diego CA 92115               Pharmaceuticals,   November 02, 2020
                                                Inc.
Paola Herrera      7875 Northwest 107th Ave     Vital              Employment Agreement, dated
Napolitano         Bldg 4 Doral FL 33178        Pharmaceuticals,   September 08, 2020
Estefania                                       Inc.
Parks McBride      555 Northeast 8th St Fort    Vital              Employment Agreement, dated
Ryan               Lauderdale FL 33304          Pharmaceuticals,   March 09, 2022
                                                Inc.
Patrice Dewar      273 Duval Ct Weston FL       Vital              Employment Agreement, dated
Helen              33326                        Pharmaceuticals,   August 29, 2022
                                                Inc.
Patricia Levano    3510 Silver Lace Ln 48       Vital              Employment Agreement, dated
Neyra Rossana      Boynton Beach FL 33436       Pharmaceuticals,   August 10, 2020
                                                Inc.
Patricia Velez-    1619 Renee St Lancaster      Vital              Employment Agreement, dated
Ornelas Maribel    CA 93535                     Pharmaceuticals,   May 26, 2020
                                                Inc.
Patrick Gueret     633 Summerlake Dr East       Vital              Employment Agreement, dated
                   Mobile AL 36608              Pharmaceuticals,   September 12, 2022
                                                Inc.
Patrick Hastings   4338 East Hartford Ave       Vital              Employment Agreement, dated
Dean               Phoenix AZ 85032             Pharmaceuticals,   December 16, 2019
                                                Inc.
Patrick Kovach     3311 Southridge Dr Unit B    Vital              Employment Agreement, dated
James              Acworth GA 30101             Pharmaceuticals,   July 30, 2018
                                                Inc.
Patrick        42 Crestwood Rd                  Vital              Employment Agreement, dated
McDonald Allen Rockaway NJ 7866                 Pharmaceuticals,   April 22, 2019
                                                Inc.
Patrick            4367 55th Ave Bettendorf     Vital              Employment Agreement, dated
McMahon            IA 52722                     Pharmaceuticals,   October 14, 2019
                                                Inc.
Patrick            16019 West Linden St         Vital              Employment Agreement, dated
Rutherford         Goodyear AZ 85338            Pharmaceuticals,   October 04, 2021
Allen                                           Inc.
Patrick Vilus      3673 High PiNE Dr Coral      Vital              Employment Agreement, dated
                   Springs FL 33065             Pharmaceuticals,   August 14, 2017
                                                Inc.
Paul Bojorquez     17798 West Calavar Rd        Vital              Employment Agreement, dated
Felix E            Surprise AZ 85388            Pharmaceuticals,   April 05, 2021
                                                Inc.
Paul Borrelli M    107 Northwest 133rd          Vital              Employment Agreement, dated
                   Terrace Bldg 51 201          Pharmaceuticals,   December 09, 2019
                   Plantation FL 33325          Inc.
Paul Small         17051 NE 35th Ave 307        Vital              Employment Agreement, dated
Robert             North Miami Beach FL         Pharmaceuticals,   November 15, 2021
                   33160                        Inc.




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 Counterparty
                    Counterparty Address              Debtor               Description
     Name
Paul Soto         7301 North Mahr Ct            Vital              Employment Agreement, dated
Stephen           Spokane WA 99208              Pharmaceuticals,   July 25, 2022
                                                Inc.
Paul Specter      9821 Shallow Creek Dr         Vital              Employment Agreement, dated
Daniel            Waco TX 76708                 Pharmaceuticals,   June 28, 2021
                                                Inc.
Paula Baysinger   317 8th Ave Columbia TN       Vital              Employment Agreement, dated
Ida               38401                         Pharmaceuticals,   August 08, 2022
                                                Inc.
Pedro Gonzalez    2505 Bloods Grove Cir         Vital              Employment Agreement, dated
                  Delray Beach FL 33445         Pharmaceuticals,   August 26, 2019
                                                Inc.
Pedro Nolasco     11117 Leadwell St Los         Vital              Employment Agreement, dated
                  Angeles CA 91352              Pharmaceuticals,   February 24, 2020
                                                Inc.
Pedro Romero R    1910 SW 97th Terrace          Vital              Employment Agreement, dated
                  Miramar FL 33025              Pharmaceuticals,   February 28, 2022
                                                Inc.
Peter Leonard N   1508 Lakeview Dr Royal        Vital              Employment Agreement, dated
                  Palm Beach FL 33411           Pharmaceuticals,   November 02, 2020
                                                Inc.
Peter             193 Jerome Ave Staten         Vital              Employment Agreement, dated
Roccosalvo        Island NY 10305               Pharmaceuticals,   March 14, 2022
Anthony                                         Inc.
Philip DeLuca     948 Arbor Hill Cir            Vital              Employment Agreement, dated
                  Minneola FL 34715             Pharmaceuticals,   July 25, 2018
                                                Inc.
Philip Rosas      5614 Tranquility Oaks Dr      Vital              Employment Agreement, dated
Andres            Apt 106 Tampa FL 33624        Pharmaceuticals,   September 14, 2020
                                                Inc.
Phillip Humaran   11023 North Kendall Dr        Vital              Employment Agreement, dated
                  Apt M203 Miami FL 33176       Pharmaceuticals,   July 11, 2007
                                                Inc.
Pierre Balian     4145 Pearl St Lake Elsinore   Vital              Employment Agreement, dated
                  CA 92530                      Pharmaceuticals,   August 15, 2022
                                                Inc.
Quang Nguyen      211 9th St Marina CA          Vital              Employment Agreement, dated
T                 93933                         Pharmaceuticals,   January 21, 2019
                                                Inc.
Quentin Wilson    1025 W Knox Ave Unit D        Vital              Employment Agreement, dated
J                 Spokane WA 99205              Pharmaceuticals,   December 10, 2018
                                                Inc.
Quinton Davis     501 Hidden Dale Dr Fort       Vital              Employment Agreement, dated
Lashawn           Worth TX 76140                Pharmaceuticals,   February 07, 2022
                                                Inc.
Quinton Smith     5 Vineyard Haven Dr           Vital              Employment Agreement, dated
Robert            Pooler GA 31322               Pharmaceuticals,   June 07, 2021
                                                Inc.




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 Counterparty
                   Counterparty Address           Debtor                Description
     Name
Rachel Jackson   318 thomas Dorsey Dr Apt   Vital               Employment Agreement, dated
Malissa          9 Villa Rica GA 30180      Pharmaceuticals,    November 02, 2020
                                            Inc.
Rakeeb Mehter   8124 Cantabria Falls Dr     Vital               Employment Agreement, dated
Ahmead          Boynton Beach FL 33473      Pharmaceuticals,    August 06, 2019
                                            Inc.
Randy Brinkley 2600 Whippoorwill Ln         Vital               Employment Agreement, dated
Edwin           White Hall AR 71602         Pharmaceuticals,    November 09, 2021
                                            Inc.
Raymond         12171 Beach Blvd Apt 806 Vital                  Employment Agreement, dated
Lazinsky H      Jacksonville FL 32246       Pharmaceuticals,    March 08, 2021
                                            Inc.
Raymond         25260 Old Farm St Moreno Vital                  Employment Agreement, dated
Ramirez         Valley CA 92553             Pharmaceuticals,    June 28, 2021
                                            Inc.
Regino          5505 NW 7th St W 308        Vital               Employment Agreement, dated
Gonzalez Fabelo Miami FL 33126              Pharmaceuticals,    August 16, 2021
                                            Inc.
Renato          13969 Southwest 155th       Vital               Employment Agreement, dated
Gonzalez Maza Terrace Miami FL 33177        Pharmaceuticals,    January 04, 2021
Miguel                                      Inc.
Rene Otero      4530 Blush Ct Lorain OH     Vital               Employment Agreement, dated
                44053                       Pharmaceuticals,    July 27, 2020
                                            Inc.
Reyes Perez     4138 Maris Ave Pico Rivera Vital                Employment Agreement, dated
                CA 90660                    Pharmaceuticals,    March 16, 2016
                                            Inc.
Ricardo         10044 Burrock Dr Santee     Vital               Employment Agreement, dated
Almeida Lobato CA 92071                     Pharmaceuticals,    March 21, 2022
                                            Inc.
Ricardo Flores  25866 West Dunlap Rd        Vital               Employment Agreement, dated
                Buckeye AZ 85326            Pharmaceuticals,    November 29, 2021
                                            Inc.
Ricardo Molieri 14467 Southwest 139th Ave Vital                 Employment Agreement, dated
Enrique         Cir West Miami FL 33186     Pharmaceuticals,    January 24, 2022
                                            Inc.
Ricardo Ortiz   1120 Ayer Dr Gilroy CA      Vital               Employment Agreement, dated
                95020                       Pharmaceuticals,    March 08, 2021
                                            Inc.
Richard Clark   5 Scarlet Oak Ct Lake Saint Vital               Employment Agreement, dated
Thomas          Louis MO 63367              Pharmaceuticals,    August 29, 2022
                                            Inc.
Richard Davis L 3725 Briar Ln Orange Park Vital                 Employment Agreement, dated
                FL 32065                    Pharmaceuticals,    November 08, 2021
                                            Inc.
Richard         2439 1/2 8th Ave N Uppr St Vital                Employment Agreement, dated
Florance John   Petersburg FL 33713         Pharmaceuticals,    March 09, 2020
                                            Inc.




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 Counterparty
                    Counterparty Address            Debtor               Description
     Name
Richard Heisler   7225 Hamiltonhills Dr       Vital              Employment Agreement, dated
Vernon            Cincinnati OH 45244         Pharmaceuticals,   March 12, 2020
                                              Inc.
Richard           2540 Country Hills Rd 222   Vital              Employment Agreement, dated
Martinez E        Brea CA 92821               Pharmaceuticals,   March 09, 2020
                                              Inc.
Richard           9018 Suntree Ln Gulfport    Vital              Employment Agreement, dated
McGuire           MS 39503                    Pharmaceuticals,   February 04, 2019
Matthew                                       Inc.
Richard Moreno    804 West 6th St Pomona      Vital              Employment Agreement, dated
                  CA 91766                    Pharmaceuticals,   July 06, 2021
                                              Inc.
Richard Orta      230 East DunNE Ave Apt      Vital              Employment Agreement, dated
John              221 Morgan Hill CA 95037    Pharmaceuticals,   November 22, 2021
                                              Inc.
Richard Ramos     5150 N 99th Ave #3119       Vital              Employment Agreement, dated
C                 Glendale AZ 85305           Pharmaceuticals,   August 10, 2020
                                              Inc.
Richard           6099 Overseas Hwy Lot 15    Vital              Employment Agreement, dated
Rodriguez         E Marathon FL 33050         Pharmaceuticals,   March 14, 2022
                                              Inc.
Richard           840 SW 80th Ave North       Vital              Employment Agreement, dated
Sutherland A      Lauderdale FL 33068         Pharmaceuticals,   February 08, 2016
                                              Inc.
Richard Toledo    10401 N Blvd Tampa FL       Vital              Employment Agreement, dated
E                 33613                       Pharmaceuticals,   February 25, 2019
                                              Inc.
Richard Wells     1767 Foggy Day Dr           Vital              Employment Agreement, dated
Dylan             Middleburg FL 32068         Pharmaceuticals,   June 07, 2021
                                              Inc.
Richard           9915 Mayfield Livonia MI    Vital              Employment Agreement, dated
Zalmanowski S     48150                       Pharmaceuticals,   July 27, 2020
                                              Inc.
Ricky Millender   7940 W Watkins St Phoenix   Vital              Employment Agreement, dated
Lamar             AZ 85043                    Pharmaceuticals,   January 25, 2021
                                              Inc.
Rico Robinson     13120 WeatherstoNE Dr       Vital              Employment Agreement, dated
Ray               Spring Hill FL 34609        Pharmaceuticals,   January 27, 2020
                                              Inc.
Rigoberto         9920 W Camelback Rd Apt     Vital              Employment Agreement, dated
Quiroz Jimenez    1048 Phoenix AZ 85037       Pharmaceuticals,   March 16, 2020
                                              Inc.
Rikki Romero      10634 East Knowles Ave      Vital              Employment Agreement, dated
Timothy           Mesa AZ 85209               Pharmaceuticals,   August 29, 2022
                                              Inc.
Rita Rendon       9821 West Fern Ln           Vital              Employment Agreement, dated
Serafina          Miramar FL 33025            Pharmaceuticals,   January 13, 2020
                                              Inc.




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 Counterparty
                    Counterparty Address           Debtor                Description
     Name
Rita Varano A     2320 T St Richmond VA      Vital               Employment Agreement, dated
                  23223                      Pharmaceuticals,    July 06, 2021
                                             Inc.
Robert Burnett    85 Chrysanthemum Dr        Vital               Employment Agreement, dated
William           Ormond Beach FL 32174      Pharmaceuticals,    March 09, 2020
                                             Inc.
Robert Campos     4577 E 6th Los Angeles CA Vital                Employment Agreement, dated
                  90022                      Pharmaceuticals,    July 26, 2021
                                             Inc.
Robert Gary R     708 Myrtle Ave Green Cove Vital                Employment Agreement, dated
                  Springs FL 32043           Pharmaceuticals,    February 17, 2022
                                             Inc.
Robert Gocklin    401 Illinois Ave St Cloud  Vital               Employment Agreement, dated
Thomas            FL 34769                   Pharmaceuticals,    December 09, 2019
                                             Inc.
Robert Goode      1553 Little Rock Blvd      Vital               Employment Agreement, dated
III Joseph        Charleston SC 29412        Pharmaceuticals,    September 27, 2021
                                             Inc.
Robert Johnson    272 Brookspring Rd         Vital               Employment Agreement, dated
Paul              Columbia SC 29223          Pharmaceuticals,    November 16, 2020
                                             Inc.
Robert Kennedy    405 Forest Knoll Dr Apt 5  Vital               Employment Agreement, dated
Lewis             Roseville CA 95678         Pharmaceuticals,    March 04, 2019
                                             Inc.
Robert Kennedy    6010 Drexel Ln Apt 11-08   Vital               Employment Agreement, dated
Lowell            Fort Myers FL 33919        Pharmaceuticals,    September 09, 2019
                                             Inc.
Robert Miller     5446 Latham Manor Dr       Vital               Employment Agreement, dated
Gary              Gainesville GA 30506       Pharmaceuticals,    July 11, 2022
                                             Inc.
Robert Richards   6123 113th Terrace East    Vital               Employment Agreement, dated
Jasen             Parrish FL 34219           Pharmaceuticals,    August 22, 2022
                                             Inc.
Robert Ruiz       220 SW 116th Av Unit 15-   Vital               Employment Agreement, dated
Antonio           308 Pembroke Pines FL      Pharmaceuticals,    January 02, 2020
                  33025                      Inc.
Robert Sullivan   4916 Olaughlin Ct          Vital               Employment Agreement, dated
James             Southwest Mableton GA      Pharmaceuticals,    January 13, 2020
                  30126                      Inc.
Roberto           10546 Oxnard St Los        Vital               Employment Agreement, dated
Ceniceros         Angeles CA 91606           Pharmaceuticals,    January 31, 2022
Carlos                                       Inc.
Roberto           16194 North Desert Sage St Vital               Employment Agreement, dated
Enriquez          Surprise AZ 85378          Pharmaceuticals,    April 06, 2020
                                             Inc.
Roberto           157 Tracy Cir Haines City  Vital               Employment Agreement, dated
Lamboy            FL 33844                   Pharmaceuticals,    November 30, 2020
                                             Inc.




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 Counterparty
                   Counterparty Address              Debtor               Description
    Name
Roberto Perez    10218 Lev Ave Arleta CA       Vital              Employment Agreement, dated
                 91331                         Pharmaceuticals,   June 14, 2021
                                               Inc.
Rodney Brown     5550 Twin Oak Dr              Vital              Employment Agreement, dated
James            Douglasville GA 30135         Pharmaceuticals,   January 31, 2022
                                               Inc.
Rodney           1083 South 224th Ln           Vital              Employment Agreement, dated
McComb Verl      Buckeye AZ 85326              Pharmaceuticals,   March 02, 2020
                                               Inc.
Rodney Roberts   2597 Carol Cir Douglasville   Vital              Employment Agreement, dated
Ludell           GA 30135                      Pharmaceuticals,   March 28, 2022
                                               Inc.
Rodney Rooplal   1337 Brandy Lake View Cir     Vital              Employment Agreement, dated
                 Winter Garden FL 34787        Pharmaceuticals,   August 09, 2021
                                               Inc.
Rodolfo Gaytan   40075 West Robbins Dr         Vital              Employment Agreement, dated
Donosa           Maricopa AZ 85138             Pharmaceuticals,   March 18, 2019
                                               Inc.
Rodrigo          511 Southeast 5th Ave Apt     Vital              Employment Agreement, dated
Rodriguez        2415 Fort Lauderdale FL       Pharmaceuticals,   June 28, 2021
Gonzalez         33301                         Inc.
Alonso
Roger Jean-      6325 Seminole Terrace         Vital              Employment Agreement, dated
Louis            Margate FL 33063              Pharmaceuticals,   April 19, 2021
                                               Inc.
Roger Zaldivar   510 NW 7th Ave Cape           Vital              Employment Agreement, dated
                 Coral FL 33993                Pharmaceuticals,   February 08, 2021
                                               Inc.
Roland M.        2110 Artesia Blvd #B137       Vital              Employment
Esparza          Redondo Beach, CA 90278       Pharmaceuticals,   Acknowledgement Agreement,
                 (310) 502-1037                Inc.               dated March 05, 2012
Rosalio Montez   419 Sandy Shores Dr Glenn     Vital              Employment Agreement, dated
Rene-Paul        Heights TX 75154              Pharmaceuticals,   June 29, 2020
                                               Inc.
Roy Bryn A       3420 Goldenhills St Deltona   Vital              Employment Agreement, dated
                 FL 32738                      Pharmaceuticals,   April 19, 2021
                                               Inc.
Roy Roberts      4323 East Gatewood Rd         Vital              Employment Agreement, dated
Michael          Phoenix AZ 85050              Pharmaceuticals,   May 02, 2022
                                               Inc.
Ruben Franco     7622 West College Dr          Vital              Employment Agreement, dated
JR               Phoenix AZ 85033              Pharmaceuticals,   June 15, 2020
                                               Inc.
Ruben            20173 West Tonto St           Vital              Employment Agreement, dated
Hernandez        Buckeye AZ 85326              Pharmaceuticals,   February 05, 2020
                                               Inc.
Ruben Salazar    818 S Flower St Inglewood     Vital              Employment Agreement, dated
                 CA 90301                      Pharmaceuticals,   May 28, 2019
                                               Inc.


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 Counterparty
                   Counterparty Address             Debtor                Description
    Name
Ruben Santana    1016 North 191St Ave         Vital              Employment Agreement, dated
                 Buckeye AZ 85326             Pharmaceuticals,   February 24, 2020
                                              Inc.
Ruben            9338 Autumn Storm San        Vital              Employment Agreement, dated
Villalobos Jr    Antonio TX 78249             Pharmaceuticals,   March 30, 2020
Arturo                                        Inc.
Russ Phillip     700 Enterprise Dr. Oak       Vital              Release and Agreement, dated
                 Brook IL 60523               Pharmaceuticals,   May 06, 2008
                                              Inc.
Rustam Saitov    410 Southeast 16th Ct Apt    Vital              Employment Agreement, dated
M                311 Fort Lauderdale FL       Pharmaceuticals,   August 15, 2022
                 33316                        Inc.
Ryan Broadbent   9745 East Empress Ave        Vital              Employment Agreement, dated
Marshall         Mesa AZ 85208                Pharmaceuticals,   January 06, 2020
                                              Inc.
Ryan Cobb        1361 Sky Ridge Ct San        Vital              Employment Agreement, dated
Hawkins          Marcos CA 92078              Pharmaceuticals,   October 15, 2018
                                              Inc.
Ryan             30 Beauregard Dr Spencer     Vital              Employment Agreement, dated
Garczynski       NC 28159                     Pharmaceuticals,   December 27, 2018
Cameron                                       Inc.
Ryan Owoc        11807 SW 47 Ct Cooper        Vital              Employment Agreement, dated
                 City FL 33330                Pharmaceuticals,   August 24, 2020
                                              Inc.
Ryan Rutherford 1837 N 209th Ave Buckeye      Vital              Employment Agreement, dated
Scott           AZ 85396                      Pharmaceuticals,   June 29, 2020
                                              Inc.
Ryan Thornlow    5575 Barney Dr Dublin OH     Vital              Employment Agreement, dated
Joseph           43016                        Pharmaceuticals,   November 16, 2009
                                              Inc.
Ryan Wellbrock   5902 Lomond Dr San Diego     Vital              Employment Agreement, dated
Coulter          CA 92120                     Pharmaceuticals,   April 24, 2020
                                              Inc.
Rylan Lashua     13021 Firth Ct Apt A-25-B    Vital              Employment Agreement, dated
Thomas           Tampa FL 33612               Pharmaceuticals,   December 09, 2019
                                              Inc.
Sabrina          15855 Southwest 143rd        Vital              Employment Agreement, dated
Diamond-Ortiz    Path Miami FL 33177          Pharmaceuticals,   November 16, 2015
Victoria                                      Inc.
Salvador Vela    902 Gembler Rd Apt 1207      Vital              Employment Agreement, dated
III              San Antonio TX 78219         Pharmaceuticals,   July 25, 2022
                                              Inc.
Samantha         856 Coach HouSE Rd           Vital              Employment Agreement, dated
Deutch Ellen     Henderson NV 89002           Pharmaceuticals,   September 20, 2021
                                              Inc.
Samantha         108 Reserve Cir Apt 108      Vital              Employment Agreement, dated
Villegas Donette Oviedo FL 32765              Pharmaceuticals,   January 31, 2022
                                              Inc.




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 Counterparty
                     Counterparty Address             Debtor               Description
    Name
Samuel Jimenez     6244 1/2 Wilcox Ave Bell     Vital              Employment Agreement, dated
                   CA 90201                     Pharmaceuticals,   November 30, 2021
                                                Inc.
Samuel Parrish     9324 Stanmoor Ln             Vital              Employment Agreement, dated
Robert             Jacksonville FL 32244        Pharmaceuticals,   February 08, 2021
                                                Inc.
Samuel             3008 West Las Palmaritas     Vital              Employment Agreement, dated
Reichley           Dr Phoenix AZ 85051          Pharmaceuticals,   September 19, 2018
Griffith                                        Inc.
Samuel             4511 SW 33rd Dr West         Vital              Employment Agreement, dated
Rodriguez          Park FL 33023                Pharmaceuticals,   July 28, 2022
                                                Inc.
Sarah Houx         2 North Slope Ln Pomona      Vital              Employment Agreement, dated
Marie              CA 91766                     Pharmaceuticals,   July 26, 2021
                                                Inc.
Sarah Kacena       10025 Boca Vue Dr Apt        Vital              Employment Agreement, dated
Maria              208 Boca Raton FL 33428      Pharmaceuticals,   August 23, 2021
                                                Inc.
Scott Kacherian    24 Lebel Way Rowley MA       Vital              Employment Agreement, dated
Thomas             1969                         Pharmaceuticals,   March 14, 2022
                                                Inc.
Sean Davis A       158 Birdfield Ct St          Vital              Employment Agreement, dated
                   Augustine FL 32092           Pharmaceuticals,   January 18, 2021
                                                Inc.
Sean Delveaux      10139 Baronne Cir Dallas     Vital              Employment Agreement, dated
Charles            TX 75218                     Pharmaceuticals,   March 25, 2019
                                                Inc.
Sean Drake         3183 Gus Robinson Rd         Vital              Employment Agreement, dated
Christopher        Powder Springs GA 30127      Pharmaceuticals,   June 03, 2019
                                                Inc.
Sean Eubanks C     2207 Southwest 1St Ct Fort   Vital              Employment Agreement, dated
                   Lauderdale FL 33312          Pharmaceuticals,   September 11, 2019
                                                Inc.
Sean Harrum        8520 W Palm Ln 1004          Vital              Employment Agreement, dated
Michael            Phoenix AZ 85037             Pharmaceuticals,   February 10, 2020
                                                Inc.
Sean Moritz        200 Carlisle Dr Miami        Vital              Employment Agreement, dated
Patrick            Springs FL 33166             Pharmaceuticals,   July 01, 2019
                                                Inc.
Sebastian Florez   350 Lakeview Dr 101          Vital              Employment Agreement, dated
                   Weston FL 33326              Pharmaceuticals,   February 11, 2019
                                                Inc.
Selin Mathai T     11912 NW 12th St             Vital              Employment Agreement, dated
                   Pembroke Pines FL 33026      Pharmaceuticals,   November 23, 2020
                                                Inc.
Sergio Rojo        3514 West Chambers St        Vital              Employment Agreement, dated
Alejandro          Phoenix AZ 85041             Pharmaceuticals,   March 14, 2022
Arzate                                          Inc.




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 Counterparty
                    Counterparty Address             Debtor               Description
     Name
Seth Strasburg    708 N 153rd Ave Goodyear     Vital              Employment Agreement, dated
Ammon             AZ 85338                     Pharmaceuticals,   June 07, 2022
                                               Inc.
Shae Jenkins      707 East Eason Ave           Vital              Employment Agreement, dated
Lamont            Buckeye AZ 85326             Pharmaceuticals,   March 01, 2019
                                               Inc.
Shahina Rashid    11911 SW 49 Ct Cooper        Vital              Employment Agreement, dated
                  City FL 33330                Pharmaceuticals,   September 05, 2019
                                               Inc.
Shane Darrow      5984 Kingslake Dr Hilliard   Vital              Employment Agreement, dated
Graham            OH 43026                     Pharmaceuticals,   June 07, 2021
                                               Inc.
Shannon Troglia   1670 W Gunstock Loop         Vital              Employment Agreement, dated
Kyle              Chandler AZ 85286            Pharmaceuticals,   October 21, 2019
                                               Inc.
Shatoya           707 West Alverdez Ave        Vital              Employment Agreement, dated
Moreland N        Clewiston FL 33440           Pharmaceuticals,   July 08, 2019
                                               Inc.
Shaun Capilitan   122 Delaware St Apt 1301     Vital              Employment Agreement, dated
Phillip Java      Kansas City MO 64105         Pharmaceuticals,   February 07, 2022
                                               Inc.
Shaun Leftwich    3320 Roundabout Dr           Vital              Employment Agreement, dated
M                 Middleburg FL 32068          Pharmaceuticals,   August 03, 2020
                                               Inc.
Shawn Storey      3244 Northwest 84th Ave      Vital              Employment Agreement, dated
Patrick           Apt 410 Sunrise FL 33351     Pharmaceuticals,   March 28, 2017
                                               Inc.
Shawn Walker      PO Box 853 Newberry FL       Vital              Employment Agreement, dated
Allen             32669                        Pharmaceuticals,   February 07, 2022
                                               Inc.
Shelbi Meek       2710 Grand Ave Unit 63       Vital              Employment Agreement, dated
Leneigh           San Diego CA 92109           Pharmaceuticals,   November 30, 2020
                                               Inc.
Shenijua          1805 Sundance Dr St Cloud    Vital              Employment Agreement, dated
Johnson Nicole    FL 34771                     Pharmaceuticals,   November 30, 2018
                                               Inc.
Shereen Grant     7415 NW 33 St # 1101         Vital              Employment Agreement, dated
Frances           Hollywood FL 33024           Pharmaceuticals,   April 25, 2022
                                               Inc.
Shweta Gahlot     13712 Blueberry Hill Dr      Vital              Employment Agreement, dated
                  Little Elm TX 75068          Pharmaceuticals,   March 30, 2005
                                               Inc.
Sikander Khan     1320 Southwest 116th Way     Vital              Employment Agreement, dated
                  Davie FL 33325               Pharmaceuticals,   May 13, 2019
                                               Inc.
Silas Aguiar      888 Brickell Key Dr Apt      Vital              Employment Agreement, dated
Santos            2400 Miami FL 33131          Pharmaceuticals,   January 04, 2021
                                               Inc.




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 Counterparty
                    Counterparty Address              Debtor               Description
     Name
Silvina Sonin     330 Southwest 2nd Ave Apt     Vital              Employment Agreement, dated
De La Plaza       15 Hallandale Beach FL        Pharmaceuticals,   June 27, 2022
Andrea            33009                         Inc.
Sommer Aguilar    140 N Lincoln St Redlands     Vital              Employment Agreement, dated
Shalyn            CA 92374                      Pharmaceuticals,   March 14, 2022
                                                Inc.
Stephanie Ash     558 East Stonewall St Apt     Vital              Employment Agreement, dated
Parker            386 Charlotte NC 28202        Pharmaceuticals,   August 22, 2022
                                                Inc.
Stephanie         478 Bay Ln Key Biscayne       Vital              Employment Agreement, dated
Khouri S          FL 33149                      Pharmaceuticals,   April 13, 2020
                                                Inc.
Stephanie         920 North Orange Grove        Vital              Employment Agreement, dated
Medina Moran      Ave Colton CA 92323           Pharmaceuticals,   November 25, 2019
                                                Inc.
Stephen Cohen J   1202 Red Bud Ln Canton        Vital              Employment Agreement, dated
                  GA 30114                      Pharmaceuticals,   October 23, 2019
                                                Inc.
Stephen           490 19th St Southwest         Vital              Employment Agreement, dated
Madaras           Naples FL 34117               Pharmaceuticals,   April 03, 2019
Howard                                          Inc.
Stephen Quinton   21115 E Estrella Rd Apt       Vital              Employment Agreement, dated
Earl              2124 Queen Creek AZ           Pharmaceuticals,   February 22, 2021
                  85142-5593                    Inc.
Stephen Santoro   11929 Northeast Prescott St   Vital              Employment Agreement, dated
Joseph            Portland OR 97220             Pharmaceuticals,   December 14, 2020
                                                Inc.
Stephen Street    4305 North 10th St Tampa      Vital              Employment Agreement, dated
Franklin          FL 33603                      Pharmaceuticals,   May 04, 2020
                                                Inc.
Stephon Sykes     2403 West LoNE Cactus Dr      Vital              Employment Agreement, dated
II Livias         Apt 179 Phoenix AZ 85027      Pharmaceuticals,   August 23, 2021
                                                Inc.
Steve Brooks      11609 West Hill Dr            Vital              Employment Agreement, dated
Brandt            Avondale AZ 85323             Pharmaceuticals,   July 26, 2021
                                                Inc.
Steve Curtis      2604 WaterstoNE Dr            Vital              Employment Agreement, dated
Lawrence          Orange Park FL 32073          Pharmaceuticals,   September 12, 2022
                                                Inc.
Steven Addison    2403 Oakview Dr               Vital              Employment Agreement, dated
Earl              Jacksonville FL 32246         Pharmaceuticals,   January 08, 2019
                                                Inc.
Steven Darabos    122 Ricewood Ln Moncks        Vital              Employment Agreement, dated
                  Corner SC 29461               Pharmaceuticals,   April 06, 2020
                                                Inc.
Steven Guerrero   13415 Cranston Ave Sylmar     Vital              Employment Agreement, dated
Martin            CA 91342                      Pharmaceuticals,   January 03, 2022
                                                Inc.




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 Counterparty
                    Counterparty Address            Debtor               Description
     Name
Steven Kelly      21 Obispo Rancho Santa      Vital              Employment Agreement, dated
Michael           Margarita CA 92688          Pharmaceuticals,   May 18, 2020
                                              Inc.
Steven Kriz J     16312 Brookefield Dr        Vital              Employment Agreement, dated
                  Edmond OK 73013             Pharmaceuticals,   September 13, 2021
                                              Inc.
Steven Kunz F     1466 East Glacier Place     Vital              Employment Agreement, dated
                  Chandler AZ 85249           Pharmaceuticals,   April 22, 2019
                                              Inc.
Steven Narvaez    265 Stonehouse Rd           Vital              Employment Agreement, dated
Gerard            Trumbull CT 6611            Pharmaceuticals,   January 07, 2019
                                              Inc.
Steven Sanchez    7421 Indigo Ln Fontana CA Vital                Employment Agreement, dated
                  92336                       Pharmaceuticals,   December 28, 2021
                                              Inc.
Steven Soto Jr    13625 South 48th St Apt     Vital              Employment Agreement, dated
                  2146 Phoenix AZ 85044       Pharmaceuticals,   February 22, 2021
                                              Inc.
Steven Suarez     2100 North 145th Ave Apt    Vital              Employment Agreement, dated
                  1115 Goodyear AZ 85395      Pharmaceuticals,   December 02, 2019
                                              Inc.
Stevie Ryan       1505 Monument Hill Rd       Vital              Employment Agreement, dated
Marie             Apt 3040 Charlotte NC       Pharmaceuticals,   June 03, 2019
                  28213                       Inc.
Sujata Santiago   16831 NW 21St Apt 204       Vital              Employment Agreement, dated
U                 Pembroke Pines FL 33028     Pharmaceuticals,   April 24, 2017
                                              Inc.
Summer Wyatt      9372 West Cordes Rd         Vital              Employment Agreement, dated
Marie             Tolleson AZ 85353           Pharmaceuticals,   October 02, 2017
                                              Inc.
Sunil Garib G     6770 NW 22nd Ct Margate Vital                  Employment Agreement, dated
                  FL 33063                    Pharmaceuticals,   January 17, 2022
                                              Inc.
Suphia Khatun     5456 NW 184 St Opalocka     Vital              Employment Agreement, dated
                  FL 33055                    Pharmaceuticals,   December 09, 2019
                                              Inc.
Susan Jones       1255 Fairlake Trace Apt     Vital              Employment Agreement, dated
Lynn              311 Weston FL 33326         Pharmaceuticals,   March 16, 2005
                                              Inc.
Suzanne Kohler    7880 North 8000 West Lehi Vital                Employment Agreement, dated
Elizabeth         UT 84043                    Pharmaceuticals,   January 27, 2020
                                              Inc.
Taft Mays A       2748 S Cupertino Dr Gilbert Vital              Employment Agreement, dated
                  AZ 85295                    Pharmaceuticals,   December 13, 2021
                                              Inc.
Tairi Ortiz       8960 NW 8th St Pembroke     Vital              Employment Agreement, dated
                  Pines FL 33024-6410         Pharmaceuticals,   February 01, 2021
                                              Inc.




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 Counterparty
                    Counterparty Address            Debtor               Description
    Name
Tanner Allford    11802 SW 16th St            Vital              Employment Agreement, dated
Robert            Pembroke Pines FL 33025     Pharmaceuticals,   January 10, 2022
                                              Inc.
Tanya Pagan       3191 North Oasis Dr         Vital              Employment Agreement, dated
Pierobon          Boynton Beach FL 33426      Pharmaceuticals,   July 18, 2022
                                              Inc.
Tavian Grubbs     2680 Hammondville Rd        Vital              Employment Agreement, dated
Shanod            Pompano Beach FL 33069      Pharmaceuticals,   March 09, 2020
                                              Inc.
Tayler            5115 63rd St San Diego CA   Vital              Employment Agreement, dated
Berblinger Jane   92115                       Pharmaceuticals,   May 30, 2017
                                              Inc.
Ted Burnette W    600 1E Ladera Ln Anaheim    Vital              Employment Agreement, dated
                  CA 92807                    Pharmaceuticals,   April 01, 2022
                                              Inc.
Tera Stroud M     108 Crystalwood Ct Nw       Vital              Employment Agreement, dated
                  Concord NC 28027            Pharmaceuticals,   February 18, 2019
                                              Inc.
Teresa Perez      12870 Southwest 117th St    Vital              Employment Agreement, dated
Nicole            Miami FL 33186              Pharmaceuticals,   August 13, 2019
                                              Inc.
Terry Colding     2702 Wilder Park Dr Plant   Vital              Employment Agreement, dated
Eugene            City FL 33566               Pharmaceuticals,   April 22, 2019
                                              Inc.
Terymer           14441 Lexington Pl Davie    Vital              Employment Agreement, dated
Collazo           FL 33325                    Pharmaceuticals,   May 13, 2019
                                              Inc.
Tevin Jackson     2205 S 84th Ave Tolleson    Vital              Employment Agreement, dated
Mitchell Jonn     AZ 85353                    Pharmaceuticals,   December 07, 2020
                                              Inc.
Thomas Chavez     3314 West WindroSE Dr       Vital              Employment Agreement, dated
                  Phoenix AZ 85029            Pharmaceuticals,   October 03, 2017
                                              Inc.
Thomas Del        985 Colonial Dr Mount       Vital              Employment Agreement, dated
Duca J            Pleasant SC 29464           Pharmaceuticals,   May 24, 2021
                                              Inc.
Thomas Foss       5609 South 30th Glen        Vital              Employment Agreement, dated
Allen             Phoenix AZ 85041            Pharmaceuticals,   December 30, 2019
                                              Inc.
Thomas            7410 Panama St Miramar      Vital              Employment Agreement, dated
Garrigan L        FL 33023                    Pharmaceuticals,   July 26, 2021
                                              Inc.
Thomas Hebert     2575 Tupelo Ave Mims FL     Vital              Employment Agreement, dated
                  32754                       Pharmaceuticals,   September 13, 2021
                                              Inc.
Thomas            1232 Belhaven Ln Ponte      Vital              Employment Agreement, dated
Llewellyn R       Vedra FL 32081              Pharmaceuticals,   November 29, 2021
                                              Inc.




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 Counterparty
                   Counterparty Address            Debtor                Description
    Name
Thomas           1909 Blue Sage Ct Brandon   Vital               Employment Agreement, dated
Marincovich      FL 33511                    Pharmaceuticals,    February 21, 2022
                                             Inc.
Thomas           7937 Roswell Rd Apt A       Vital               Employment Agreement, dated
McAlister II     Sandy Springs GA 30350      Pharmaceuticals,    August 08, 2022
Preston                                      Inc.
Thomas Perez     10236 West Preston Ln       Vital               Employment Agreement, dated
Anthony          Tolleson AZ 85353           Pharmaceuticals,    February 13, 2017
                                             Inc.
Thomas           1616 Aspen Meadows Dr       Vital               Employment Agreement, dated
Principe Santino Henderson NV 89014          Pharmaceuticals,    December 08, 2021
                                             Inc.
Tia McCall       PO Box 266824 Weston FL Vital                   Employment Agreement, dated
Nakesha          33326                       Pharmaceuticals,    February 01, 2021
                                             Inc.
Tiffany Hallich  16439 NW 16th St            Vital               Employment Agreement, dated
Nicole           Pembroke Pines FL 33028     Pharmaceuticals,    December 23, 2019
                                             Inc.
Timothy Amko     7383 Southwest 9th Ct       Vital               Employment Agreement, dated
Paul             Plantation FL 33317         Pharmaceuticals,    June 14, 2021
                                             Inc.
Timothy Hodges 6968 Clarkridge Dr Apt 302 Vital                  Employment Agreement, dated
Jacob            Dallas TX 75236             Pharmaceuticals,    August 07, 2017
                                             Inc.
Timothy          6325 Chadmore Ln Sw         Vital               Employment Agreement, dated
Kotowski Jay     Ocean Isle Beach NC 28469 Pharmaceuticals,      May 16, 2022
                                             Inc.
Tina Carter      7913 Footman Way Raleigh Vital                  Employment Agreement, dated
Michelle         NC 27615                    Pharmaceuticals,    October 04, 2021
                                             Inc.
Tino Sangster St 306 Forrest Crest Ct Ocoee Vital                Employment Agreement, dated
George           FL 34761                    Pharmaceuticals,    November 02, 2020
                                             Inc.
Tomasz           104 Hillvue Dr Seven Fields Vital               Employment Agreement, dated
Leszczynski T    PA 16046                    Pharmaceuticals,    July 19, 2021
                                             Inc.
Tommy Ruelas     7242 West College Dr        Vital               Employment Agreement, dated
Michael Richard Phoenix AZ 85033             Pharmaceuticals,    July 12, 2021
                                             Inc.
Toney Freeman 655 S. Preston Court           Vital               Employment Agreement, dated
                 Alpharetta GA 30022         Pharmaceuticals,    April 23, 2003
                                             Inc.
Torrey Kyles A 4720 Baileys Lake Rd Nw       Vital               Employment Agreement, dated
                 Apt 104 Concord NC 28027 Pharmaceuticals,       January 20, 2020
                                             Inc.
Travis Deal      5115 63rd St San Diego CA Vital                 Employment Agreement, dated
Allen            92115                       Pharmaceuticals,    February 13, 2019
                                             Inc.




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 Counterparty
                      Counterparty Address             Debtor               Description
     Name
Travis Hendrix      7078 Post Rd Winston GA      Vital              Employment Agreement, dated
Scot                30187                        Pharmaceuticals,   August 08, 2022
                                                 Inc.
Trevor Guthrie      7816 Southside Blvd 187      Vital              Employment Agreement, dated
                    Jacksonville FL 32256        Pharmaceuticals,   May 26, 2020
                                                 Inc.
Tristen             23675 Southwest 120th Ave    Vital              Employment Agreement, dated
Ferguson Robert     Homestead FL 33032           Pharmaceuticals,   October 29, 2021
                                                 Inc.
Tristian Scott L    1123 Junipero St 3 Long      Vital              Employment Agreement, dated
                    Beach CA 90804               Pharmaceuticals,   November 30, 2021
                                                 Inc.
Troy Boone          6313 Spring HouSE Place      Vital              Employment Agreement, dated
Matthew             Bridgeville PA 15017         Pharmaceuticals,   January 31, 2022
                                                 Inc.
Troy Seydel S       3145 Poppy St West           Vital              Employment Agreement, dated
                    Sacramento CA 95691          Pharmaceuticals,   August 08, 2022
                                                 Inc.
Ty Meissner         18149 Rachael Dr Sandy       Vital              Employment Agreement, dated
Jason               OR 97055                     Pharmaceuticals,   March 11, 2019
                                                 Inc.
Tyler Bullerwell    8678 Falling Blue Place      Vital              Employment Agreement, dated
Austin              Riverview FL 33578           Pharmaceuticals,   June 14, 2021
                                                 Inc.
Tyler Nobis         30 W Carter Dr 7-206         Vital              Employment Agreement, dated
Dwayne              Tempe AZ 85282               Pharmaceuticals,   November 29, 2021
                                                 Inc.
Tyson Harper        12803 Orpington St           Vital              Employment Agreement, dated
Leigh               Orlando FL 32826             Pharmaceuticals,   March 28, 2022
                                                 Inc.
Valentina Mata      14608 Murfield Ct            Vital              Employment Agreement, dated
V                   Charlotte NC 28278           Pharmaceuticals,   March 07, 2022
                                                 Inc.
Vanessa             405 Kayla St Troy TX         Vital              Employment Agreement, dated
Coatney Ann         76579                        Pharmaceuticals,   October 26, 2020
                                                 Inc.
Vanessa De La       2560 Southwest 140th Ave     Vital              Employment Agreement, dated
Torre Elizabeth     Miami FL 33175               Pharmaceuticals,   January 20, 2020
                                                 Inc.
Victor La           7642 East Boise St Mesa      Vital              Employment Agreement, dated
Tempa J             AZ 85207                     Pharmaceuticals,   March 08, 2021
                                                 Inc.
Victoria Austin     209 West Riverbend Dr        Vital              Employment Agreement, dated
Yurievna            Sunrise FL 33326             Pharmaceuticals,   October 04, 2021
                                                 Inc.
Victoria Ballanti   3924 Osprey Ct Weston FL     Vital              Employment Agreement, dated
                    33331                        Pharmaceuticals,   July 06, 2020
                                                 Inc.




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 Counterparty
                     Counterparty Address           Debtor                Description
    Name
Vincent Joseph     608 Washington Avenue      Vital               Independent Contractor
Russo              Kenilworth NJ 07003        Pharmaceuticals,    Agreement, dated May 01,
                                              Inc.                2014
Vincent Milano     2490 Martin Ave Bellmore   Vital               Employment Agreement, dated
Michael            NY 11710                   Pharmaceuticals,    January 03, 2022
                                              Inc.
Virgil Osborn      2616 Sands Rd Lakeland FL Vital                Employment Agreement, dated
III Leroy          33810                      Pharmaceuticals,    January 27, 2020
                                              Inc.
Viviana Muci       10710 NW 66th St 105       Vital               Employment Agreement, dated
Torres Eugenia     Doral FL 33178-4552        Pharmaceuticals,    June 20, 2022
                                              Inc.
Vyctoria           10418 Wagner Way           Vital               Employment Agreement, dated
Sanchez M          Riverside CA 92505         Pharmaceuticals,    June 03, 2019
                                              Inc.
Wesley Baker       14722 Baytown Ct           Vital               Employment Agreement, dated
Paul               Huntersville NC 28078      Pharmaceuticals,    October 28, 2019
                                              Inc.
Wesley Barnes      4255 Pebble Ridge Cir Apt  Vital               Employment Agreement, dated
                   102 Colorado Springs CO    Pharmaceuticals,    November 02, 2020
                   80906                      Inc.
Wesley Haring      1200 Scotia Dr Apt 401     Vital               Employment Agreement, dated
James              Hypoluxo FL 33462          Pharmaceuticals,    December 18, 2017
                                              Inc.
Wesley Witter      8249 West Dreyfus Dr       Vital               Employment Agreement, dated
Jr. Dale           Peoria AZ 85381            Pharmaceuticals,    March 01, 2021
                                              Inc.
Westley            10431 Cochran Ave          Vital               Employment Agreement, dated
Misilagi Paul      Riverside CA 92505         Pharmaceuticals,    March 16, 2020
                                              Inc.
Wiam Oussir        2142 Van Buren St Apt 504 Vital                Employment Agreement, dated
                   Hollywood FL 33020         Pharmaceuticals,    May 21, 2020
                                              Inc.
William            5754 High Ridge Loop       Vital               Employment Agreement, dated
Bauman Clyde       Lakeland FL 33812          Pharmaceuticals,    November 08, 2021
                                              Inc.
William Bethel     597 Southwest Ray Ave      Vital               Employment Agreement, dated
M                  Port St Lucie FL 34983     Pharmaceuticals,    January 14, 2019
                                              Inc.
William            4418 Shrewbury Pl Land O' Vital                Employment Agreement, dated
Dunwoody M         Lakes FL 34638             Pharmaceuticals,    August 03, 2020
                                              Inc.
William            106 Hillcrest Way Crandall Vital               Employment Agreement, dated
Housley III Clay   TX 75114                   Pharmaceuticals,    June 01, 2021
                                              Inc.
William Malnar     5325 Austin Rd Lake        Vital               Employment Agreement, dated
Anthony            Cormorant MS 38641         Pharmaceuticals,    September 25, 2019
                                              Inc.




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 Counterparty
                   Counterparty Address            Debtor                Description
     Name
William Mize     90 Austin Cir Oakland TN    Vital               Employment Agreement, dated
Christopher      38060                       Pharmaceuticals,    August 22, 2022
                                             Inc.
William Suiter   9160 Pomelo Rd East Ft      Vital               Employment Agreement, dated
A                Myers FL 33967              Pharmaceuticals,    March 07, 2022
                                             Inc.
Willie Powell Jr 19310 Southwest 54th St     Vital               Employment Agreement, dated
B                Miramar FL 33029            Pharmaceuticals,    January 02, 2019
                                             Inc.
Winston          9520 Northwest 9th Ct       Vital               Employment Agreement, dated
Williams Egbert Plantation FL 33324          Pharmaceuticals,    June 08, 2020
                                             Inc.
Xavier Guerrero 824 Lewis St Pomona CA       Vital               Employment Agreement, dated
                 91768                       Pharmaceuticals,    September 05, 2019
                                             Inc.
Xiaoxi Liao      104 NW 133rd Terrace Apt Vital                  Employment Agreement, dated
                 201 Plantation FL 33325     Pharmaceuticals,    September 05, 2013
                                             Inc.
Yadelin Luzardo 6651 Falconsgate Ave         Vital               Employment Agreement, dated
                 Davie FL 33331              Pharmaceuticals,    June 20, 2022
                                             Inc.
Yan Munoz        9405 East Gobbler Dr Floral Vital               Employment Agreement, dated
Santiago K       City FL 34436               Pharmaceuticals,    April 12, 2021
                                             Inc.
Yanilis Polito-  4200 Sheridan St Apt 201    Vital               Employment Agreement, dated
Guzman           Hollywood FL 33021          Pharmaceuticals,    March 24, 2021
                                             Inc.
Yarianis Castro 1269 West 26th Place Apt 3 Vital                 Employment Agreement, dated
                 Hialeah FL 33010            Pharmaceuticals,    January 03, 2022
                                             Inc.
Yaylin Duran     5583 NW 200th Ln Miami      Vital               Employment Agreement, dated
                 FL 33055                    Pharmaceuticals,    October 14, 2019
                                             Inc.
Ydalia Lubin     10237 Northwest 7th St      Vital               Employment Agreement, dated
Rosalie          Coral Springs FL 33071      Pharmaceuticals,    November 11, 2019
                                             Inc.
Yenelipse        7301 W 29th Way Hialeah     Vital               Employment Agreement, dated
Torres           Gardens FL 33018            Pharmaceuticals,    June 28, 2021
                                             Inc.
Yesenia          Hillside Meadow Place       Vital               Employment Agreement, dated
Gonzalez Yeslin Brandon FL 33610             Pharmaceuticals,    January 02, 2019
                                             Inc.
Yessica Irizarry 9826 NW 26th St Sunrise     Vital               Employment Agreement, dated
Nicole           FL 33322                    Pharmaceuticals,    January 25, 2021
                                             Inc.
Yneiris          1223 Fairlake Trace Apt     Vital               Employment Agreement, dated
Maggiolo         816 Weston FL 33326         Pharmaceuticals,    May 04, 2018
Carrera De Los                               Inc.
A


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 Counterparty
                   Counterparty Address           Debtor                Description
    Name
Yubelkis Colon   8411 Northwest 24th Ct     Vital               Employment Agreement, dated
                 Sunrise FL 33322           Pharmaceuticals,    December 30, 2019
                                            Inc.
Yvens Darius     1127 Lake Terry Dr Apt E   Vital               Employment Agreement, dated
                 West Palm Beach FL 33411 Pharmaceuticals,      February 14, 2022
                                            Inc.
Yvette M         7702 Roundrock Rd Dallas   Vital               Employment Agreement, dated
Atondo           TX 75248                   Pharmaceuticals,    July 11, 2022
                                            Inc.
Zachary J Lollis 1600 N Park Dr Weston FL Vital                 Employment Agreement, dated
                 33326-3278                 Pharmaceuticals,    May 18, 2020
                                            Inc.
Zachary Lindsey 1848 Openwoods Rd           Vital               Employment Agreement, dated
                 Middleburg FL 32068        Pharmaceuticals,    November 19, 2019
                                            Inc.
Zachary          23405 W Mohave St          Vital               Employment Agreement, dated
McDaniel         Buckeye AZ 85326           Pharmaceuticals,    March 02, 2020
                                            Inc.
Zachary Owoc     196 Hanging Moss Dr        Vital               Employment Agreement, dated
John             Oviedo FL 32765            Pharmaceuticals,    June 15, 2021
                                            Inc.
Zachary Reyes    4625 45th Ave Se Apt C3    Vital               Employment Agreement, dated
Charles          Lacey WA 98503-5909        Pharmaceuticals,    May 03, 2021
                                            Inc.
Zhihui Zheng     252 Aspen Way Davie FL     Vital               Employment Agreement, dated
                 33325                      Pharmaceuticals,    June 06, 2022
                                            Inc.
Zitlaly Esparza  16632 Rorimer St La Puente Vital               Employment Agreement, dated
Berenice         CA 91744                   Pharmaceuticals,    December 01, 2021
                                            Inc.
Zurama (Sury)    8301 NW 15th Ct Coral      Vital               Employment Agreement
Rodriguez        Springs FL 33071-6212      Pharmaceuticals,
                                            Inc.




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                       EXHIBIT C
                     Rejected Leases
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                                          Exhibit “C”

                                        Rejected Leases

 Counterparty
                        Counterparty Address           Property Address            Debtor
    Name
                      200 S Orange Avenue, Suite
                                                       1600 North Park
                        1375, Orlando, FL 32801,                             Vital Pharmaceuticals,
 1600FLL, LLC                                           Dr, Suite 100
                         Attn: Alexandra Missan,                            Inc., d/b/a Bang Energy
                                                       Weston, FL 33326
                            Property Manager
                        301 South College Street,
                                                      6100-T Glen Afton
 CK Afton Ridge         Suite 2800, Charlotte, NC                            Vital Pharmaceuticals,
                                                      Blvd, Concord, NC
    II, LLC           28202, Attn: Emily Thomson                            Inc., d/b/a Bang Energy
                                                            28027
                           c/o Childress Klein
                       5950 Berkshire Lane, Suite
                      900, Dallas, TX 75225, Attn:     160 W Everman
 Everman Trade                                                               Vital Pharmaceuticals,
                         Attn: Property Manager/        Freeway, Fort
   Center, LP                                                               Inc., d/b/a Bang Energy
                          Everman Trade Center         Worth, TX 76134
                     c/o Holt Lunsford Commercial
                       Two North Riverside Plaza,
                         Suite 2350, Chicago, IL        11130 Sherman
Icon Owner Pool 1
                       60606, Attn: Jimmy Chung           Way, North         Vital Pharmaceuticals,
 LA Non-Business
                        c/o GLP US Management           Hollywood, CA       Inc., d/b/a Bang Energy
    Parks LLC
                       LLC, Reginal Director c/o            91352
                       GLP US Management LLC
                        17777 Center Court Drive
Prologis Targeted    North, Suite 100, Cerritos CA     10100 Aviation
                                                                             Vital Pharmaceuticals,
 U.S. Logistics        90703, Attn: Kari Hughes -     Blvd, Los Angeles,
                                                                            Inc., d/b/a Bang Energy
    Fund LP            Property Manager, General          CA 90045
                                 Counsel
                       11620 Wilshire Blvd, Suite
                         1000, Loas Angeles, CA
                                                      3042 Inland Empire
Rexford Industrial     90025, Attn: Bryan Jacobs,                            Vital Pharmaceuticals,
                                                      Blvd, Bldg A -3-50,
     Realty          General Counsel; Laura Mask                            Inc., d/b/a Bang Energy
                                                      Ontario, CA 91764
                        Vice President, Assistant
                             General Counsel




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